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CHASE &

June 01, 2016 throtigh June 30, 2016

Account Number: i

ATM & Debit Card Totals

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total ATM Withdrawals & Debits $0.00

Total Card Purchases $120,391.40

Total Card Deposits & Credits $20,847.74

|ELECTRONIC WITHDRAWALS)
DATE DESCRIPTION AMOUNT
06/01 06/01 Oniine Transfer To Chk ...1863 Transaction#: 5430155071 $1,000.00
06/01 06/01 Online Wire Transfer Via: Communily Longview/111914917 A/C: Tim Moore Longview 1,200.00
TX 75604 US Ref: Rent For January 2015 Imad: 0601B81Qgc06C012488 Tr: 4547700153Es
06/01 06/01 Payment To Chase Card Ending IN 4179 114.00
06/01 06/01 Payment To Chase Card Ending IN 6611 25.00
06/01 06/01 Online Payment 5433076645 To Auto Loan 6962 1,252.72
06/01 06/01 Online Transfer To Chk ...0598 Transaction#: 5433087180 4,000.00
06/01 TvtCapital Tvt Capita B308731 CCD ID: 1010855279 649.00
06/01 Forward Financin Fi 888-244-9099#98 CCD 1D: Rpp2952677 392.71
06/01 —Privatepmtsvcing Pedpayment PPD ID: 6273471385 155.82
06/01 Synchrony Bank Cc Pymt 601919123429963 Tel |D: 9856794001 59.00
06/01 Privatepmtsveing Podpayment PPD ID: 6273471385 44.18
06/02 06/02 Online Transfer To Chk ...1363 Transaction#: 5434175867 100.00
06/02 06/02 Online Transfer To Chk ,..0598 Transaction#: 5434213030 1,000.00
06/02 ADP Eepay/Garnwe Eepay/Garn 2700658 1698539U CCD ID: 9333006057 10,653.65
06/02 ADP Tax/401K  Tax/40iK Rn39U 060323A01 CCD ID: 1223006057 4,495.78
06/02 _Nationstar Nationstar 0607335940 Tel ID: 9200503036 1,597.39
06/02 CTXLegacy VentuWebPmis Z00Qn Web ID: 9084434801 1,233.00
06/02 CapilalOne — Phone Pymt 615339879090805 CCD ID: 95417195987 108.8%
06/03 06/03 Online Transfer To Chk ... 1363 Transaction#: 5437653404. 100.00
06/03 Republic Underwr Ins Prem PPD ID: 1751221537 1,610.39
06/03 TvtCapital Tvt Capita B308731 CCD ID: 1010855279 649.00
06/03 Forward Financin Ff 888-244-9099#10 CCD 1D; RApp2952677 392.74
06/03 Comenity Pay Sm Phone Pymt P16154017716741 Tel ID: 1133163498 309.00
06/03. ADP Payroll Fees ADP - Fees 2RA39U 0239102 CCD ID: 9659605001 158,54
06/03 __ Privatepmtsvcing Ppdpayment PPD ID: 6273471385 155.82
06/03 _ Privatepmtsvcing Podpayment PPD ID: 6273471385 44.18
o6/06 TvtCapital vt Capita B308731 CCD ID: 1010855279 649.00
06/065 Ally Ally Paymi 00592141606101! Web ID; 9833122002 477.03
06/06 Forward Financin Ff 888-244-39099#10 CCD ID: Rpp2952677 392.71
06/06 Privatepmtsvcing Ppdpayment PPD ID: 6273471385 155.82
06/06 ‘Privatepmtsvcing Ppdpayment PFD ID: 6273471385 44.18
06/07 06/07 Online Transfer To Chk ...0598 Transaction#: 5447122931 100.00
06/07 Tvt Capital Tvt Capita B308731 CCD ID: 1010855279 649.00
06/07 _ Forward Financin Ff 888-244-9099 CCD ID: Rpp2952677 392.71
06/07 Forward Financin Ff 888-244-9099#10 CCD ID: Rop2952677 392.71
06/07 _—~Privatepmisvcing Ppdpayment PPD ID: 6273471385 155.82
06/07 Barclaycard US Retry Pymt 376764343 Web ID: 2510407970 100.00
08/07 ‘First National FnO606Tel 091400520016481 Tel ID: 1460449422 63.00
08/07 ‘First Savings Fs0606Tel 091406830006685 Tel ID: 4480453416 60.00
06/07 _‘~Privatepmtsvcing Podpayment PPD ID: 6273471385 44.18
06/08 06/08 Wire Transfer Via: Dbtco Americas Nyc/021001033 A/C; ADP Ref: Rn/39U Imad: 579,32
0608B1Qqgc08C005713 Trn: 3901000160Es

os/08 TviCapital Tvt Capita 8308731 CCD ID: 1010855279 649 00
06/08 Forward Financin Ff 888-244-9089#10 CCD ID: Rpp2952677 392.71
06/08 __Privatepmisvcing Ppdpayment PPD ID: 6273471385 155.82
06/08 Bankcard Service Agent Pmt 000000719012520 Web ID: 5650230001 68,08

 

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CHASES
June 01, 2016 through June 30, 2016
Account Number: 8
|ELECTRONIC WITHDRAWALS) (eantinusd)
DATE DESCRIPTION AMOUNT
06/09 06/09 Online Transfer To Chk ...0598 Transaction#: 5450293196 100,00
06/09 06/09 Online Transfer To Chk ...0598 Transaction#: 5451131214 600.00
06/09 _06/09 Online Transfer To Chk ...0598 Transaction#: 5451166425 300.00
06/0S_ _ADP Eepay/Garnwe Eepay/Garn 70204357699939U CCD ID: 9333006057 7,636.73
06/09 ADP Tax/401K Tax/401K An389U 061024A01 CCD ID: 1223006057 3,140.15
06/09 Small Business Icpayment PPD ID: 1131414876 2,114.49
06/09 TyvtCapital  Tvt Capita B308731 CCD ID: 1010855279 649.00
06/09 ADP Eepay/Garmwe Eepay/Garn 70204357700039U CCD ID: $333006057 294.24
06/09 _ Privalepmtsvcing Podpayment PPD ID: 6273471385 44.18
06/10 06/10 Online Payment 5452469640 To Auto Loan 6962 1,752.72
06/10 06/10 Online Transfer To Chk ..0598 Transaction#: 5452631727 1,000.00
06/10 06/10 Online Transfer To Chk ...0598 Transaction#: 5454421754 2,500.00
06/10 06/10 Online Transfer To Chk ...0598 Transaction#: 5454422754 1,000, 00
O6/10 Tvt Capital  Tvt Capita B308731 CCD ID: 10108552739 649.00
06/10 Model Finance CO Loan Pmt PPD ID: 1952292743 411.25
06/10 Forward Financin Ff 888-244-9099#10 CCD ID: Rpp2952677 392.71
06/10  Datcu ACH Trnsfr PPD |D: 07508133739 173.72
06/10 _Privatepmtsvcing Ppdpayment PPD ID: 6273471385 155.82
06/10 ADP Payroll Fees ADP - Fees 2R39U 0559714 CCD ID: 9659605001 153.30
06/10 _ Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
06/13 06/11 Online Transfer To Chk ...1363 Transaction#: 5455252940 100.00
06/13 06/13 Online Transter To Chk ...0598 Transaction#: 5458577669 3,000.00
06/13. Tvt Capital —Tvt Capita B308731 CCD ID: 1010855279 829.00
Q6/13 _ Direct Capital C EDI Pymnits Dec-1250371 CCD ID: 1020468001 549.20
06/13 Forward Financin Ff 888-244-9099#10 CCD ID: Rop2952677 392.71
06/13 Privatepmtsvcing Ppdpayment PPD ID: 6273471385 155.82
06/13 _Privatepmitsvcing Ppdpayment PPD ID: 6273471385 44.18
06/14 Tvt Capital _Tvt Capita B308731 CCD ID: 1010855279 829.00
06/14 Forward Financin Fi 888-244-9099 CCD ID: Rpp2952677 392.71
06/14 — Forward Financin Ff 888-244-9099#10 CCD ID: Rpp2952677 392.71
06/14 _ Privatepmtsvcing Ppdpayment PPD ID: 6273471385 155,82
06/14  Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
O6/15 06/15 Online Transfer To Chk ,..0598 Transaction#: 5462700269 2,000.00
06/15 06/15 Online Transfer To Chk , 1863 Transaction#: 5462701607 100.00
O6/15 Tvt Capital Tvt Capita B308731 CCD ID: 1010855279 829.00
06/15 Forward Financin Ff 888-244-9099#10 CCD ID: Rpp2952677 392.71
06/15 Irs Usataxpymt PPD |D: 3387702000 350.00
06/15 Privatepmtsvcing Ppdpayment PPD ID: 6273471385 155.82
06/16 ADP Eepay/Garnwc Eepay/Garn 39506222702539U CCD ID: 9333006057 11,107.69
06/16 ADP Tax/401K  Tax/401K An39U 061725A01 CCD ID: 1223006057 5,052.43
06/16 Tvi Capital Tvt Capita 8308731 CCD ID; 1010855279 829.00
06/16 _ Forward Financin Ff 888-244-9099#10 CCD ID: Rpp2952677 392.71
06/16 ADP Eepay/Garnwe Eepay/Gam 768061 10612839U CCD ID: 9555555505 319,22
06/16 ADP Eepay/Garnwe Eepay/Garn 39506222702638U CCD |D: 9338006057 294.24
06/16 ADP Eepay/Garnwe Eopay/Gam 71104383705839U CCD ID: 9555555505 224,98
06/16 Privatepmisvcing Ppdpayment PPD ID: 6273471385 155.82
06/16 Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
06/17 Carrier Enterpri 0251428000 13434150 CCD 1D: 2611608955 3,000.00
06/17  Tvt Capital  Tvt Capita B3808731 CCD ID; 1010855279 829.00
06/17 Forward Financin Ff 888-244-9099#1 1 CCD ID: Rpp2952677 392.71
06/17 _ Privatepmtsvcing Ppdpayment PPD ID: 6273471385 155.82
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CHASES

June 01, 2016 6
Account Number: 28

 

[ELECTRONIC WITHDRAWALS| _(ontinued)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
06/17 _ ADP Payroll Fees ADP - Fees 2R39U 0824650 CCD |D. 9659605001 142.31
06/17 _ Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
06/20 _ 06/19 Online Payment 5471635256 To Auto Loan 6962 1,500.00
06/20 06/19 Online Transfer To Chk ...1363 Transaction#: 5472421523 300.00
06/20 06/19 Online Transfer To Chk ...1363 Transaction#: 5472449774 2,500.00
06/20 06/20 International Wire Transfer A/C; Pt Bank Negara Indonesia (Persero) Jakarta Kota 1,050.00
Indonesia Trn: 4137000172Es
06/20 TvtCapital Tvt Capita B308731 CCD iD; 1010855279 829.00
06/20 — Forward Financin Ff 888-244-9099#1 1 CCD ID: Rpp2952677 392.71
06/20 __ Privatepmtsvcing Ppdpayment PPD ID; 6273471385 155.82
06/20 __ Privatepmtsvcing Podpayment PPD ID: 6273471385 44.18
06/21 Utica Natlonal Ins Prem PPD ID: 1150478880 1,419.00
06/21 TwtCapital Tvt Capita B308731 CCD ID: 1010855279 829.00
06/21 _Privatepmtsvaing Ppdpayment PPD ID: 6273471385 544.18
06/21 AFS Acceptance L Auto Loan PPD ID: 1743201007 528 B'
06/21 Forward Financin Ff 888-244-9099#11 CCD ID: Rpp2952677 392.71
06/21 Privatepmtsvcing Pndpayment PPD ID: 6273471385 155.82
06/21 Privaltepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
06/22 06/22 Online Payment 5476793955 To Auto Loan 6962 2,752.72
06/22 06/22 Online Payment 5476851090 To Aulo Loan 6962 1,285.31
06/22 _ 06/22 Online Transfer To Chk ...0598 Transaclion#: 5478718090 4,000.00
a6/22  TwtCapital Tvl Capita B308731 CCD ID: 1010855279 829.00
06/22 Forward Financin Ff 888-244-9099#11 CCD ID: Rpp2952677 392.71
06/22 _ Privatepmtsvcing Ppdpayrment PPD ID: 6273471385 155.82
06/22 _ Privateprnisvcing Ppdpayment PPD ID: 6273471385 44.18
06/23 _ ADP Eepay/Gamwe Espay/Garn 21004537565039U CCD ID: 9333006057 10,963.62
06/23 ADP Tax/401K  Tax/401K Rn39U 062426A01 CCD ID: 1223006057 5,724.43
06/23 TviCapital Tvi Capita B308731 CCD ID: 1010855279 829.00
06/23 Forward Financin Ff 888-244-9099#11 CCD ID: Rpp2952677 392.71
06/23 ADP Eepay/Garnwe Eepay/Garn 66303594494339U CCD ID: 9555555505 387.74
06/23 Protectionone Payment PPD ID: 3931064573 297.80
06/23 ADP Eepay/Gatnwe Eepay/Garn 21004537565139U CCD ID: 9333006057 294.21
06/23 __ Privatepmisvcing Pedpaymeni PPD ID: 6273471385 155.82
06/23 _-Privatepmtsvcing Ppdpayment PPD 1D: 6273471385 44.18
06/24 06/24 Payment To Chase Card Ending IN 6611 478.58
06/24 Wex Inc Fleet Debi 0458009114893 CCD ID: 0841425616 4,615.09
06/24 Discover E-Payment 1743 Web ID: 2510020270 1,293.25
06/24 Tvi Capital Tvt Capita B308731 CCD ID: 1010855279 829.00
06/24 Nationwide Refi EDI Pymnis PPD ID: 1814177102 763.42
06/24 Forward Financin Ff 888-244-5099%1 1 CCD 1D; App2952677 392.71
06/24 _ Privatepmisvcing Podpayment PPD ID: 6273471385 155.82
06/24 ADP Payroll Fees ADP - Fees 2RA38U 2440723 CCD ID: 9659605001 148.06
06/24 __ Privatepmisvcing Ppdpaymeni PPD ID: 6273471385 44.18
O6/27 06/27 Online Transfer To Chk ...0598 Transaction# 5488486845 100.00
O6/27 _06/27 Online Transier To Chk ,..0598 Transaction#: 5488656621 500,00
06/27  TvtCapital Tvt Capita B308731 CCD ID: 1010855279 829.00
06/27 Forward Financin Ff 888-244-9099#1 1 CCD 1D: Rpp2952677 392.71
06/27 _ Privatepmisvcing Ppdpayment PPD ID: 6273471385 155.82
06/27 Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
06/28 Suntrust Ln 656 Ic Payment PPD ID. 1592606930 1,204.95
06/28  Tvt Capital Tvt Capita B308731 CCD ID: 1010855279 829.00
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CHASES

dune 01, 2016 th 6
Account Number: 28

 

[ELECTRONIC WITHDRAWALS] (continues)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
06/28 _ Forward Financin Ff 888-244-9099#11 CCDID: Rpp2952677 392.74
06/28 _Privatepmtsvcing Ppdpayment PPD ID: 6273471585 155,82
06/28 _ Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
06/29  TvtCapital Tvt Capita B308731 CCD |D: 1010855279 829.00
06/29 Forward Financin Ff 888-244-9099#1 1 CCD ID: Rpp2952677 392.71
06/29 _Privatepmtsvcing Ppdpayment PPD ID: 6273471385 155.82
06/29  Privatepmtsvcing Podpayment PPD ID: 6273471385 44.48
06/30 ADP Eepay/Garnwe Eepay/Garn 33504030693139U CCD ID: 9333006057 13,426.66
06/30 ADP Tax/401K  Tax/401K Rn39U 070127A01 CCD ID: 12232006057 7,470.58
06/30 Tvt Capital Tvt Capita B308731 CCD |D: 1010855279 829.00
06/30 ADP Eepay/Garnwe Eepay/Garn 33504030693239U CCD ID: 9333006057 533.75
06/30 ADP Eepay/Garnwe Eepay/Garn 64806129330639U CCD |D: 9555555505 532.61
06/30 Forward Financin Ff 888-244-9099#1 1 GOD ID: Rpp2952677 392.71
06/30 _ Privatepmtsvcing Ppdpayment PPD ID: 6273471385 155.82
06/30 __ Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
Total Electronic Withdrawals $167,941.03
FEES
DATE DESCRIPTION AMOUNT
06/03 Service Charges For The Month of May $554.60
Total Fees $554.60
DAILY ENDING BALANCE
DATE AMOUNT DATE _____ AMOUNT DATE AMOUNT
06/04 $18,561.44 06/413 60,149.14 06/22 45,492.60
06/62 -3,578 42 06/14 54,079.02 06/23 31,223.96
06/03 11,465.77 06/15 49,902.90 06/24 51,815.39
06/08 8,304.93 06/16 28,293.28 06/27 46,980.07
06/07 8,907.38 06/47 48,450.48 06/28 42,906.36
06/08 7,452.62 06/20 54,125.21 06/29 42,189.70
06/09 -3,592.88 06/21 42,059.78 06/30 18,961.59
06/10 8,667.35
| SERVICE CHARGE SUMMARY |
Monthly Service Fee $95.00
Other Service Charges $591.60
Total Service Charges $686.60 Will be assessed on 7/6/16

You were assessed a monihly service tee on your Chase Platinum Business Checking account because you did no!
maintain the required relationship balance.

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CHASE &

June 01, 2016 through June 30, 2016
Account Number: .

 

| SERVICE CHARGE DETAIL|

 

DESCRIPTION VOLUME ALLOWED CHARGED PRICE/ UNIT TOTAL
Monthly Service Fee

Monthly Service Fee | $95.00 $95.00
Accident Forgiveness

Insufficient Funds/Overdraft Item Retd 8 1 2 $34.00 $63.00
Insufficient Funds/Overdraft Item Paid 8 1 7 $34,00 $238.00
Other Service Charges:

Electronic Credits

Electronic lterns Deposited 108 Unlimited 0 §0.40 $0.00
Electronic Credits 35 Unlimited 0 $0.40 $0.00
Credits

Non-Electronic Transactions 1,089 500 589 $0.40 $235.60
Branch Deposit - Immediate Verification $800 $25,000 So $0.0025 50.00

Miscellaneous Fees

International Wire Fee 1 1 0 $50.00 $0.00
Domestic Wire Fee ! { 0 $35.00 $0.00
Online Domestic Wire Fee ! 2 0 $10.00 $0.00
dpm Cashed Checks | oO 1 $0.00 $0.00
Cash Management Services

Quick Deposit Multi Feed Maint 1 0 { $50.00 $50.00
Subtotal Other Service Charges (Will be assessed on 7/6/16) $686.60
ACCOUNT 000000565026528

 

Monthly Service Fee

Monthly Service Fee {
Accident Forgiveness

Insufficiant Funds/Overdraft liem Retd 3
Insufficient Funds/Overdratt Item Paid g
Other Service Charges:

Electronic Credits

Electronic |tems Deposited 108
Electronic Credits 35
Credits

Non-Electronic Transactions {,08S
Branch Deposit - Immediate Verification $800

Miscellaneous Fees
International Wire Fee
Domestic Wire Fee

Cniine Domestic Wire Fee
Jpm Cashed Checks

Cash Management Services
Quick Deposit Multi Feed Maint |

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Callor write us at the phone number or address
on the front of this statement (non-personal accounts contact Customer Service) If you think your statement or receipt is incorrect or if you need
more Information about a transfer listed on the statement or receipt. We must hear from you no later than 60 days afier we sent you the FIRST
Statement on which the problem or error appeared. Be prepared to give us the following information:

e Your name and account number

« The collar amount of the suspeaied errer

e =«Adescription of the error or transfer you are unsure ot, why ycu believe iis an error, or why you need rnore information
We will investigate your complaint and will correct any error promptly, If we lake more than 10 business days or 20 business days lor new
accounts) to do this, we will Gredit your acount for the amount you think Is In error So that you will have use of the money during the lime it takes
us to complete our investigation -

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such efror appears,

ou must notify the bank in wriling mo latarihan 30 days after Ihe sfalement was made avaliable to you, For more nomplele details, see lhe
‘ount Rules and Regulations or other applicable account agreement that governs your account,

JPMorgan Chase Bank, N.A, Member FDIC
LENDER

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KAPITUS EX. 12 - 005

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CHASE &

June 01, 2016 through June 30, 2016
Account Number: 523

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CHASE “ July 01, 2016 through July 29, 2016

JPMorgan Chase Bank, N.A.
P O Box 659754
San Antonio, TX 78265 - 9754

Account Number: 325

 

CUSTOMER SERVICE INFORMATION

 

Web site: www.Chase.com
VevelalEsaUDosvelelasslstanldcleafoalbradslestelesaclletll Service Center: 1-877-425-8100
00005261 DRE 201 210 21616 NNNNNNNNNNN = 1000000000 D2 0000 Deat and Hard of Hearing: 1-800-242-7383
LICENSE TO CHILL HEATING AND AIR INC. Para Espanol 1-888-622-4273
DBA JUST CHILLIN HEATING AND AIR International Calls: 1-713-262-1679

1150 BLUE MOUND RD W STE 201
HASLET TX 76052-3865

We will update your account agreement, including eliminating fees and changing Overdraft
Protection

We're making some changes to the terms and conditions of your account and want to provide a summary of what you can
expect

You can get the latest Deposit Account Agreement on chase.com, at a branch or by request when you caill us. The parts of
the Deposit Account Agreement that are changing will be in the Change in Terms section.

* On July 29, we updated the contact information for Arbitration in the General Account Terms of the Deposit
Account Agreement (Section 1, Part 12, Arbitration).

* On August 20, our Overdraft Protection service will change and we have rewritten the General Account Terms
of the Deposit Account Agreement (Section C, Part 4, Overdraft Protection agreement) to reflect that. The
most significant changes are the three things we previously told you:

o Only a Chase business savings account or business line of credit will be able to provide Overdraft
Protection to a business checking account. A credit card cannot be used.

o Wewill transfer the exact amount needed to cover the transaction instead of multiples of $50.

o Wewillno longer charge the $10 Overdraft Protection Transfer fee.

* On August 22, we will eliminate Domestic and Intemational Collection fees, which we charge for deposited
items that require special processing for us to collect the maney !rom the paying bank.

 

 

 

 

 

 

If you have questions, please call us at the number on this staiernent. ~ P A
CHECKING SUMMARY |_“22¢ Platinum Business Checking s cep x
INSTANCES AMOUNT a’ oo
Beginning Balance $18,961.59 _
Deposits and Additions 56 393,861.76 °
Checks Paid 60 - 72,584.03
ATM & Debii Card Withdrawals 282 - 109,207.44
Electronic Withdrawals 141 - 157,843.83
Other Withdrawals | - 870.00
Fees \ - 686.60
Ending Balance 541 $71,631.45
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KAPITUS EX. 12 - 007

 

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CHASE &

July 04, 2016 through July 29, 2016
Account Number: 28

Your Chase Platinum Business Checking account provides:
e No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
e 500 debits and non-electronic deposils (those made via check or cash in branches) per statement cycle
e $25,000 in cash deposits per statement cycle

e Unlimited return deposited iterns with no fee

There are additional fee waivers and benefits associated with your account — please refer to your Deposit Account
Agreement for more information.

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DEPOSITS AND ADDITIONS
DATE DESCRIPTION AMOUNT 5
07/01 Deposit 824145216 $10,054.98 ~
07/01 Deposit 824145217 2,585.00 “2
07/04 Remote Online Deposit 4 1,135,00° 7
07/04 Servicemaster Payables 02011251 CCD ID: 9071644000 53,223.84.
07/01 Square Ine 160701S2 1204119586591 CCD1D:; Wimsquare1 3,897.9
07/05 Card Purchase Return 07/01 Baker Distributing #670 Fort Worth TX Card 0135
07/05 Card Purchase Return 07/01 Baker Distributing #670 Fort Worth TX Card 0135
07/05 Card Purchase Return 07/01 Baker Distributing #670 Fort Worth TX Card 0135 . i
07/05 Deposit 834153888 12,590.00
07/05 Square |no 160702S2 1204119900950 CCD ID: Wimsquare1 2,845.37
07/05 Square Inc 160705S2_ 1204120315277 CCD ID: Wimsquaret 943.01
o7/05 Square Inc 160704S2 1204120225575 CCD ID: Wimsguare1 921.45
07/06 Square Inc 160708S2 1204120614027 CCD ID: Wimsquare1 2,132.20
07/07 Square Inc 160707S2 1204120932458 CCD ID: Wimsquarel 5,680.42:
07/08 Deposit 824145218 9,730.00
07/08 Remote Online Deposit 4 1,405.0
07/08 Servicemaster Payables 02015779 CCD ID: 9071644000 42,440.30
07/08 Square Inc 160708S2 1204121256710 CCDID: Wimsquare1 1,544.94.
O7/11 Card Purchase Return 07/08 Baker Distributing #670 Fort Worth TX Card 0135 a ‘
O7/11 Card Purchase Return 07/08 Baker Distributing #670 For Worth TX Card 0135 < :
o7/11 Square Inc 160709S2 1204121573906 CCD ID: Wimsquare1 1,965.09,
O7/41 Square Ine 160711S2 1204121900699 CCD ID: Wimsquare1 1,381.90
o7/i2 Square Inc 160712S2 1204122073531 CCD ID: Wimsquare1 5,272.49
07/13 Deposit 829328159 15,375.00
o7/13 Square Inc 160713S2 1204122375098 CCD ID: Wimsquare1 1,613.20
o7/14 Deposit 829328121 3,691 87
o7/i4 Square Inc 16071452 1204122692239 CCD ID: Wimsquare1 1,433.23
07/15 Deposit 829928329 2,800.00 we
O7/15 Servicemaster Payables 02020275 CCD ID: 9071644000 31,905.74 -
O7/15 Square Inc 160715S2 1204123018580 CCD ID: Wimsquare! 2,233.71
07/18 Card Purchase Return 07/16 Paypal *Joanns Ebay 4029357733 CA Card 0135 ‘79.85
07/18 Square Inc 160716S2_ L204123334047 CCDID: Wimsquare! 1,428.01 Y
o7/18 Square Inc 160718S2 1204123658956 CCD ID: Wfmsquaret 803.78
07/19 ATM Check Deposit 07/19 1429 N Saginaw Blvd Saginaw TX Card 0135 12,110.00 er
07/19 ATM Check Deposit 07/19 1429 N Saginaw Blvd Saginaw TX Card 0135 2,115.00 a
O7/19 Square Inc 160719S2 L204123834062 CCD1D! Wimsquare| 2,885.43
07/20 ATM Check Deposit _ 07/20 1429 N Saginaw Blvd Saginaw TX Card 0135 10,240.00
07/20 Square Inc 160720S2 1204124143519 CCDID: Wimsquaral 364,47 ae
07/21 Square Inc 160721S2 1204124459733 CCD ID: Wimsquare1 2,879.14
07/22 Card Purchase Return 07/21 Baker Distributing #670 Fort Worth TX Card 0135 :
07/22 Card Purchase Return 07/21 Baker Distributing #670 Fort Worth TX Card 0135 4682 Sf
o7/22 Servicemaster Payables 02027166 CCD ID: 9071644000 21,263, 68 ~
07/22 Square Ino 160722S2 1204124786412 CCD ID: Wimsquaret 1,625.66
07/25 ATM Check Deposit 07/25 1429 N Saginaw Blvd Saginaw TX Card 0135 10,690.00 Ze
Page 2 ot 16

KAPITUS EX. 12 - 008

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CHASE §

July 01, 2016 through July 29, 2016
Account Number: 28

 

DEPOSITS AND ADDITIONS| _(2"ue2?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
07/25 ATM Check Deposit 07/25 1429 N Saginaw Blvd Saginaw TX Card 0135 4,820.00 -
07/25 ATM Check Deposit 07/25 1429 N Saginaw Blvd Saginaw TX Card 0135 2,360.00.
07/25 Square Inc _ 160728S2 1204125103113 CCD ID: Wimsquare1 3,612.60 nt
07/25 Squareine _ 160725S2 1204125430831 CCD ID: Wimsquaret — 08
07/26 Card Purchase Return 07/21 Ce Haltom City Fort Worth TX Card 0135
07/26 Square |Inc _ 160726S2_L204125603082_CCD ID: Wimsquaret 2,741.00 Tg
07/27 Square Ine _ 160727S2_ 1204125903205 CCD ID: Wimsguaret 1,109.52 “en
07/28 Square Inc _ 160727P2 1204125906279 CCD ID: 0000248517 39,431.07
07/28 Square Inc _ 160728S2_ 1204126220669 CCD ID: Wimsquare1 1,915.86
07/29 Deposit 829610654 15,090.00 es
07/29 Servicemaster Payables 02032488 CCD |D: 9071644000 31,941.56 ee
_07/29 Square Inc _160729S2 1204126546759 CCD ID: Wimsguare1 _ 2,101.79:
Total Deposits and Additions $393,861.76
CHECKS PAID
DATE
CHECK NO. DESCRIPTION PAID AMOUNT
24 Cm ya, Ltd -Fe operts, 07/22 $3,000.00:
6526 *“ 07/0SKkuss el k/i//iains — weckoud - Pasrgct 07/05 184.70.
6530 *A O' Me ly : 07/01 130.03
6532 "A 07/02 Ftleiandrn Fisaaide — Awtl 07/05 437.21 4.
6533 A 07/01 Wurter whe wa— parasol 07/01 924.81
6535 "“pedv® Rendon ~Sub-work * 07/01 3700.00
6537 *A4 07/01 Lasdon [Ar idoas s 07/01 200.00 “
6538 4“ Jorae Canigue When dir rum )-|-lb ~Paurgsll 07/05 1,261 ig
6539 Adow Stuvdtion - lulu Peat aolpaoo - 07/08 2,775.00
6540 AC) lees , 07/13 172.00 we,
6541 ALA amn ELS 07/11 200.00 oo
6542 A Pevt) Remenn ~£-27—-— 7S 07/08 3,030.00 Sf
6543 4 Aletha Mere se ie 07/11 300,00 So
6544 Af)! ie ex fl Las ” 07/13 56.50
6545 4 Pedeo Hesiciim - Lest) « o7/15 2,150.00
6546 APedyn Kencdiom — las felis 07/15 500, 00,
6547 A Pedy Rendon —Leszteills 07/22 3,350. 00
6548 AU'hes fy 07/25 29.21 oe
6549 “Tex Shay Tow — be silams tract few 07/27 160.00
6550 *O' Keutle —Truck Farin 07/27 465 V
6551 " DiverssGved Pur Chew ~- AAD 07/29 25,200.00 ~
10390 “AjYichge/ Guaiavdo Dow Aste 07/01 479.51
10391 “Thawas £ Soha son 2 07/01 714.18
10303 “A W/ll us B Oster 07/01 1,175.75
10394 * (hese K Fay lovSKiy 07/05 1,459.95
10395 “GresUlAaal Sal anwd 07/01 402.16
10396 “Salen O Strpne 07/06 900.34
10397 “fhadi E Teag/e 07/01 1,018.20
10398 “Maya Corbin 07/18 324.81
10999 Ale jaudye —lszalde O74 514.56
10400 4 tg viegel Galeria 2291 Apri} La | caeel Pome = Ve 250 07/08 127.85
10401 4 07/08 fuatitr Sohn ost 07/08 324.81
10402 ATH Oy 2.8 F Yoha son 07/08 714.18
rst adobe Sera a pce ee ; = __obl4o——“et%s
O69 —-O Rett, —__— ——e Ss —— maid ©6/ Hw _ Page 9:01 18 SF peter a

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CHASES
July 01, 2016 through July 29, 2016
Account Number: 28
CHECKS PAID |_(continued?
DATE

CHECK NO. | DESCRIPTION PAID AMOUNT
10403 - Lobe 5S Denes 07/08 951.76
10404 A LEI} if) aun K OSter 07/08 1,098.41
10405 “Céaddaal Salans 07/08 402.16
10406 A palin 3 first € é o7/12 664.61
10407 A//,ow Tugale 07/08 1,136.07
10408 A) Bye (farbin O7/18 324.81
10409 A Alev ancly : El sakie 07/18 514.56
10410 ” O7/15 Ausn ter “Mohn so O7/15 324.81
10411 “A |i ny #4 E Jolin San 07/18 714.18
10412 * Babbre Sones o7/18 951.76
10413 A LISlly dye BR OStw, O7/15 769.66
10414 A(evauan; SAland 07/22 344.15
10415 4 OTS Tala» /? <#om C 07/15 681.46
10416 Choy & lygale 07/18 630.94
10417 4 Marg PeVhin ~ 6a" Destin De Sele, Te verse 07/27 324.81
10418 AAJ 18 me? 0 Eliaslde —Fai Brojgdas Boe Hpwth re 7 bus 07/22 514.56
10419 Apache y Sohn: Shs 14 49 Tevele brush Tel. Hasler Te 7 6 05e 07/22 324.81
10420 A f hhove7as — Sohn son. : 07/22 631.83
10421 [Dobbie 5 Denes 07/22 874.44
10422 A fa) Il; tun R Ostee 07/25 634.31
10423 * Goovy evi; Solare 07/22 286.13
10424 4 07/22 Doha 2 Sone 07/22 731,96
10425 “(had EF Tugale 07/26 883.50
10428 *A Tis om as E*S \ ee Por <er79 07/29 714.18
10429 olhie S Nem &< 07/29 951.76
10480 ” ae 2 Oster 07/29 905.03
10431_” 07/29 Joba fh Sime 07/29 895.83
Total Checks Paid $72,584.03

If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.

* Allof your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
one of your previous statements.

4 An image of this check may be available for you to view on Chase.com.

 

[ATM & DEBIT CARD WITHDRAWALS|

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
07/01 Card Purchase 06/30 Baker Distributing #670 Fort Worth TX Card 0135 $57.03 Y
07/01 Card Purchase 06/30 Baker Distributing #670 Fort Worth TX Card 0135 2,233.19
07/01 Card Purchase 06/30 Baker Distributing #670 Fort Worth TX Card 0135 909,31 eg
07/01 Card Purchase 06/30 Baker Distributing #670 Fort Worth TX Card 0135 99.99 if
07/01 Card Purchase 06/30 Baker Distributing #670 Fort Worth TX Card 0135 34.03 cD
07/01 Card Purchase 06/30 Baker Distributing #670 Fort Worth TX Card 0135 165.85
07/01 Card Purchase 06/30 Baker Distributing #670 Fort Worth TX Card 0135 123.75 ff
07/01 Card Purchase 06/30 Baker Distributing #670 Fort Worth TX Card 0135 374.51
07/01 Card Purchase 06/30 Baker Distributing #670 Fort Worth TX Card 0135 508.92 Al
07/05 Card Purchase 06/30 The Home Depot #6814 FT Worth TX Card 0135 24.81
07/05 Card Purchase 07/01 Auto Notes Watauga TX Card 0135 275.00
07/05 Card Purchase 07/01 Auto Notes Watauga TX Card 0135 275.00 uy
07/05 _ Card Purchase 07/01 Auto Notes Watauga TX Card 0135 275.00

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July 01, 2016 th
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[ATM & DEBIT CARD WITHDRAWALS} _(contiouec)

 

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DATE DESCRIPTION AMOUNT oe
07/05 Card Purchase 07/01 America Hith 855707065 855-7070651 FL Card 0542 39.97 YS =e
07/05 Card Purchase 07/01 America Hlth 855707065 855-7070651 FL Card 0542 41.97

07/05 Card Purchase 07/01 Hawk Movers LLC Haslet TX Card 0135 279. 00

07/05 Card Purchase 07/01 Baker Distributing #670 Fort Worth TX Card 0135 344.45 <
O7/05 Card Purchase 07/01 Baker Distributing #670 Fort Worth TX Card 0135 64 02 ——

07/05 Card Purchase 07/01 Baker Distributing #670 Fort Worth TX Card 0135 403 ey

07/05 Card Purchase 07/01 Eagle Mountain Marina Fort Worth TX Card 0135 455 ae,

07/05 Card Purchase 07/01 Eagle Mountain Marina Fort Worth TX Card 0135 455.00

O7/0S Card Purchase 07/01 Eagle Mountain Marina Fort Worth TX Card 0135 634.44*

O7/05 Card Purchase 07/02 Samaniha Springs Bott 817-379-9949 TX Card 0135 5A.
07/05 Card Purchase 07/01 Baker Distributing #670 Fort Worth TX Card 0135 562.73 SY
07/05 Card Purchase 07/01 Baker Distributing #670 Fort Worth TX Card 0135 §70.38 “
07/05 Card Purchase 07/01 Baker Distributing #670 For Worth TX Card 0135 415.74 ~~
07/05 Card Purchase 07/01 Baker Distributing #670 Fort Worth TX Card 0135 502 64-~~
O7/0S Card Purchase 07/01 Baker Distributing #670 Fort Worth TX Card 0135 780.81 Va
Q7/05 Card Purchase 07/01 Baker Distributing #670 Fort Worth TX Card 0135 558. 9a
07/05 Card Purchase 07/01 Baker Distributing #670 Fort Worth TX Card 0135 487.40 wv
07/05 Card Purchase 07/01 Baker Distributing #670 Fort Worth TX Card 0135 386.74. ~
07/05 Card Purchase 07/01 Baker Distributing #670 Fort Worth TX Card 0135 634.77
07/05 Card Purchase 07/01 Baker Distributing #670 Fort Worth TX Card 0135 599.65 \~
07/05 Card Purchase 07/01 Tarrant County Motor Fort Worth TX Card 0135 25.00.”
07/05 Card Purchase 07/01 Tarrant Cnty Motor Fee Fort Worth TX Card 0135 2,50 wi
07/05 Card Purchase 07/01 Baker Distributing #670 Fort Worth TX Card 0135 870,22 ty
07/05 Card Purchase 07/01 Baker Distributing #670 Fort Worth TX Card 0135 370.22

07/05 Card Purchase 07/01 Reagan.Com 312-489-8348 IL Card 0135 40.00" So
07/05. Card Purchase 07/01 Ca Haltom City 81 7-8384300 TX Card 0135 139.21

07/05 Card Purchase 07/01 Baker Distributing #223 Lewisville TX Card 0135 $9.99 LS.
07/05 Card Purchase 07/01 Health Care Horizons 855-5565052 NY Card 0542 18476
07/05 Card Purchase 07/02 Cintas 492 800-2468271 TX Card 0135 142.70
07/05 Card Purchase 07/02 Cintas 492 800-2468271 TX Card 0135 142.704,
07/05 Card Purchase 07/02 Cintas 492 800-2468271 TX Card 0135 142.70 O
07/05 Card Purchase 07/02 Baker Distributing #670 Fort Worth TX Card 0135 150.36 re
07/05 Card Purchase 07/02 Lewisville Mitsubishi Lewisville TX Card 0135 3,000,00 ta
07/05 Gard Purchase 07/04 Tricolor Auto Acceptance 2142697777 TX Card 0135 387.00

07/06 Card Purchase 07/05 Auto Notes Walauga TX Card 0135 420.00 f,
07/06 Card Purchase 07/05 Auto Notes Watauga TX Card 0135 395.00

07/05 Gard Purchase 07/05 Baker Distributing #670 Fort Worth TX Card 0135 IZ 7
07/05 Card Purchase 07/05 Ce Haltom City 817-8384300 TX Card 0135 305,20 ve
07/05 Card Purchase 07/05 Love S Country00002816 FT Worth TX Card 0542 44.60 WA
07/06 Card Purchase 07/05 Baker Distributing #670 Fort Worth TX Card 0135 432.76 *
07/06 Card Purchase 07/05 Baker Distributing #670 Fort Worth TX Card 0135 4,435,041 ar 6s
07/06 Card Purchase 07/05 Baker Distributing #670 Fort Worth TX Card 0135 532.39 ye
07/06 Card Purchase 07/05 Baker Distributing #670 Fon Worth TX Card 0135 461.43 aA
07/06 Card Purchase 07/05 Baker Distributing #670 Fort Worth TX Card 0135 687.61 os
07/06 Card Purchase 07/05 Baker Distributing #670 Fort Worth TX Card 0135 798,80 4
O7/06 _Card Purchase 07/05 Fleetmatics USA, LLC 781-5774642 MA Card 0135 ee
07/06 Card Purchase 07/05 Goodman 328 Richlandhills TX Card 0135 637 ein
O7/06 Card Purchase 07/05 Goodman 828 Richlandhills TX Card 0542 299.53 oe
O7/07 Card Purchase 07/06 Paypal “Wildvettes! 402-935-7733 CA Card 0135 199,99 if
Q7/07 Card Purchase 07/06 Baker Distributing #670 Fort Worth TX Card 0135 117,84 Lf
07/07 Card Purchase 07/06 Baker Distributing #670 Fort Worth TX Card 0135 252.14

 

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CHASE Co July 01,2016 through July 29, 2016
Account Number: 28
|ATM & DEBIT CARD WITHDRAWALS, (continued)
DATE DESCRIPTION AMOUNT J
07/07 Card Purchase 07/06 Baker Distributing #670 Fort Worth TX Card 0135 282.49
07/07 Card Purchase 07/06 Baker Distributing #670 Fort Worth TX Card 0135 111.47 Sf
07/07 Card Purchase 07/06 Baker Distributing #870 Fort Worth TX Card 0135 160. tet
07/07 Card Purchase 07/06 Baker Distributing #670 Fort Worth TX Card 0135 183.99
O7/07 Card Purchase 07/06 Baker Distributing #670 Fort Worth TX Card 0135 570.38 fo
O7/07 Gard Purchase 07/06 Baker Distributing #670 Fort Worth TX Card 0135 See A
O7/07 Card Purchase 07/06 Baker Distributing #670 Fort Worth TX Card 0135 570.38 “/
07/07 Card Purchase 07/06 Goodman Distribution Forl Worth TX Card 0135 337.22 he
O7/O7 Card Purchase 07/06 Goodman Distribution Fort Worlh TX Card 0135 470.89"
O7/07 Card Purchase 07/06 Ce Haltorn City 817-8384300 TX Card 0135 116.95 a
07/07 Card Purchase 07/06 Paypal *Corvettemod 402-935-7733 TX Card 0135 216.48
07/07 Card Purchase 07/06 Ce Haltom City Fort Worth TX Card 0135 84.98 vy
07/08 Card Purchase 07/07 Lennox Industries 972-497-6730 TX Card 0542 64.08 ~
07/08 Catd Purchase 07/07 Baker Distributing #670 Fort Worth TX Card 0135 69.77 ws
07/08 Card Purchase 07/07 Ce Haltom City Fort Worth TX Card 0135 746.70
07/08 Card Purchase 07/07 Century A/C Supply 281-776-1925 TX Card 0135 111.30 4
07/08 Card Purchase 07/07 G&B Financing 817-367-6702 TX Card 0135 431.83
07/11 Card Purchase 07/08 Dt *Duluth Trading CO 877-382-2345 WI Card 0135 103.49 e
07/11 Card Purchase 07/07 \nsco Distributing Cen 210-6908400 TX Card 0135 3,935.38 “A
07/11 Card Purchase 07/08 Baker Distributing #670 Fort Worth TX Card 0135 161,12
O7/11 Card Purchase 07/08 Baker Distributing #670 Fort Worth TX Card 0135 80.35 wv
07/11 Card Purchase 07/08 Baker Distributing #670 Fort Worth TX Card 0135 432.43
07/11 Card Purchase 07/08 Baker Distributing #670 Fort Worth TX Gard 0135 430, Ines
07/11 Card Purchase 07/08 Baker Distributing #670 Fort Worth TX Card 0135 764. ie
07/11 Card Purchase 07/08 Baker Distributing #670 Fort Worth TX Card 0135 764.64 ~
07/11 Card Purchase 07/08 Baker Distributing #670 Fort Worth TX Card 0135 310.66 agi
07/11 Card Purchase 07/08 Baker Distributing #670 Fort Worth TX Card 0135 409.21 of.
07/11 Card Purchase 07/08 Baker Distributing #670 Fort Worth TX Card 0135 1.80 it
07/41 Card Purchase 07/08 Baker Distriouting #670 Fort Worth TX Card 0135 697.13 gt
07/11 Card Purchase 07/08 Baker Distriouting #670 Fort Worih TX Card 0135 282.07 fe
07/11 Card Purchase 07/09 Baker Distributing #670 Fort Worth TX Card 0135 83.21 MS,
07/11 Card Purchase 07/09 Paypal *Dreamingree D 402-935-7733 CA Card 0135 1,440.90) V/A
07/11 Card Purchase 07/11 Aca Care Financial 877-228-8773 OR Card 0542 38.39 ee
07/11 _ Card Purchase 07/10 Paypal *Corvettemod 402-935-7733 TX Card 0135 238.12 Sf
07/11 Recurring Card Purchase 07/10 AT&T "Bill Payment 800-331-0500 TX Card 0135 1,470.13 ee
07/11 Recurring Card Purchase 07/09 Charter Comm 888-438-2427 TX Card 0135 666.33
O7/12 Card Purchase 07/11 Baker Distributing #670 Fort Worth TX Card 0135 131.26 ts
07/12 Card Purchase 07/11 Baker Distributing #670 Fort Worth TX Card 0135 217.01 “4
07/12 Gard Purchase 07/11 Baker Distributing #670 Fort Worth TX Card 0135 §52.39 is
07/12 Card Purchase 07/11 Baker Distributing #670 Fort Worth TX Card 0135 659.25 of
07/12 Card Purchase 07/11 Nest Labs 855-469-6378 CA Card 0135 37.31 ae
07/12 Card Purchase 07/11 Baker Distributing #670 Fort Worth TX Card 0542 21.29
07/12 Card Purchase 07/11 Paypal *Airstar 402-935-7733 CA Card 0135 665,00 ~%
07/12 Card Purchase 07/11 Sheifield Financial Ll 336-7661388 NC Card 0135 385. 14 -
O7/12 Recurring Card Purchase 07/12 Sxm*Siriusxm.Com/Acct 888-635-5144 NY Card 0135 19.83 of
07/13 Card Purchase 07/12 Baker Distributing #670 Fort Worth TX Card 0135 128.00 “
07/13 Card Purchase 07/12 Baker Distributing #670 For Worth TX Card 0135 1,584.98
07/13 Card Purchase 07/12 Baker Distributing #670 Fort Worth TX Card 0135 764.64 v4
07/13 Card Purchase 07/12 Baker Distributing #670 Fort Worth TX Card 0135 532.395
07/13 Card Purchase 07/12 Baker Distributing #670 Fort Worth TX Card 0135 ST8.Taw’ 4
O7/13 Card Purchase 07/12 Baker Distributing #670 Fort Worth TX Card 0135 440.03"

 

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CHASE &)

July 01, 2016 th
Account Number:

 

 

ATM & DEBIT CARD WITHDRAWALS| (continues

 

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DATE DESCRIPTION ANOUNT

O7/13 Card Purchase 07/12 Baker Distributing #670 Fort Worth TX Card 0135 146.61

07/14 — Card Purchase 07/12 The Home Depot #8814 FT Worth TX Card 0135 27.85 ae
07/14 Card Purchase 07/12 Totalcard888257 1080 605-3397920 SD Card 0135 264. ey
07/14 Card Purchase 07/14 Nita Cust Sve Online 972-818-6882 TX Card 0135 125.04

07/14 Card Purchase 07/14 Nita Cust Sve Online 972-818-6882 TX Card 0135 32.08 Ae
07/14 Card Purchase 07/13 Baker Distributing #670 Fort Worth TX Card 0135 58.08

07/14 Card Purchase 07/13 Baker Distributing #670 Fort Worth TX Card 0135 59.54 es
07/14 Card Purchase 07/13 Baker Distributing #670 Fort Worth TX Card 0135 .

O7/i4 Card Purchase 07/13 Ce Haltom City 817-8384300 TX Gard 0135 296.66

07/14 Card Purchase 07/14 Cfw Water Online 817-392-8230 TX Card 0135 152.60 Sf
07/14 Card Purchase 07/14 Cfw Water Online 817-392-8230 TX Card 0135 129.00

O7/14 Card Purchase 07/13 Reliant Energy 866-222-7100 TX Card 0135 271,70 Jv
07/14 Card Purchase 07/13 Baker Distributing #670 For Worth TX Card 0125 432,76 AY
07/14 Card Purchase 07/13 Baker Distributing #670 Fort Worth TX Card 0542 21.29 we
07/14 Card Purchase 07/13 Baker Distributing #670 Fort Worth TX Card 0135 374. 52<
07/14 Card Purchase 07/13 Baker Distributing #870 Fort Worth TX Card 0135 532. 39,
07/14 Card Purchase 07/13 Baker Distributing #670 Fort Worth TX Card 0135 550.58 fe
07/14 Card Purchase 07/13 Baker Distributing #670 Fort Worth TX Card 0135 106,01 ft
07/14 Card Purchase 07/13 Paypal "Emce Mobiles 402-935-7733 CA Card 0135 9.93 fe
07/45 Card Purchase 07/13 Paypal *Wsa Auto 402-935-7733 CA Card 0135 459.99 Ve
07/15 Card Purchase 07/13 Paypal *Munckdesign 402-935-7733 CA Card 0135 29.99 “7
07/15 Card Purchase 07/13 Paypal “Daltecailtd 402-935-7733 GA Card 0135 70,83

07/15 Card Purchase 07/14 Baker Distributing #670 Fort Worth TX Card 0135 200.09 '
07/15 Card Purchase 07/14 United Refrig Br #A5 Arlington TX Card 0135 95.67 VA
07/15 Card Purchase 07/14 Baker Distributing #670 Fort Worth TX Card 0135 790.95

07/15 Card Purchase 07/14 Goodman Distribution Fort Worth TX Card 0135 46.87

O7/15 Card Purchase 07/14 Conns.Com 800-280-1514 TX Card 0135 { 10.74
07/15 Card Purchase 07/14 Conns.Com 800-280-1514 TX Card 0135 B12 a4
07/15 Card Purchase 07/14 Conns.Com 800-280-1514 TX Card 0135 52.30 io
07/15 Card Purchase 07/14 Conns.Com 800-280-1514 TX Card 0135 487.16

07/15 Card Purchase 07/14 Paypal *Tricityac 402-935-7733 CA Card 0135 115,50 4
07/15 Card Purchase 07/14 Paypal *Emc Mobiles 402-935-7733 CA Card 0135 39.72 fo
07/18 Card Purchase 07/14 Paypal *Moitsurplus 402-935-7733 CA Card 0135 ag
07/18 Card Purchase 07/14 Paypal *Sprayway123 402-935-7733 CA Card 0135 255 Mf
07/18 Card Purchase 07/14 Paypal “Ediblearran 402-935-7733 CT Card 0135 106.07

07/18 Card Purchase 07/15 Amazon Mktplace Pmts Amzn.Com/Bill WA Card 0135 24.99 x,
07/18 Card Purchase 07/15 Amazon Mktplace Pmts Amzn.Com/Bill WA Card 0135 24.99 SY
07/18 Card Purchase 07/15 Amazon Mktplace Pmts Amzn.Com/Bill WA Card 0135 24.99 \~
07/18 Card Purchase 07/16 Amazon Mkiplace Pmis Amzn.Com/Bill WA Card 0135 24.99.~
07/18 Card Purchase 07/16 Amazon Mkiplace Pmts Amzn.Com/Bill WA Card 0135 24.99. ~~
07/18 Card Purchase 07/15 Amazon Mkiplace Pmts Amzn.Com/Bill WA Card 0135 24.99, %,
07/18 Card Purchase 07/15 Amazon Mktplace Pmts Amzn.Com/Bill WA Card 0135 24,99

07/18 Card Purchase 07/45 Amazon Mkiplace Pmts Amzn.Com/Bill WA Card 0135 24.99\/7_
07/18 Card Purchase 07/15 Auto Notes Watauga TX Card 0135 275.00

07/18 Card Purchase 07/15 Auto Notes Watauga TX Card 0135 275.00 “fr
07/18 Card Purchase 07/15 Auto Notes Watauga TX Card 0135 275,00

07/18 Card Purchase 07/15 Rent To Qwn Container L Denton TX Card 0135 225.52

07/18 Card Purchase 07/15 Baker Distributing #670 Fort Worth TX Card 0135 123,44

07/18 Card Purchase 07/15 Baker Distributing #670 Fort Worth TX Card 0135 565 464
07/18 Card Purchase 07/15 The Home Depot #6814 FT Worth TX Card 0135 36.77 ee
07/18 Card Purchase 07/15 Baker Distributing #670 Fort Worth TX Card 0135 524.04 ~

 

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CHASES

July 01, 2016
Account Number; 28

 

 

ATM & DEBIT CARD WITHDRAWALS | (continue)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT oft
O7/18 Card Purchase 07/15 Baker Distributing #670 Fort Worth TX Card 0135 570,38

07/18 __ Card Purchase 07/15 Baker Distributing #670 Fort Worth TX Card 0195 570.38 7
O78 Card Purchase 07/15 Baker Distributing #670 Fort Worth TX Card 0135 570.38 53
07/18 Card Purchase 07/15 Baker Distributing #670 Fort Worth TX Card 0135 40,47 ,
07/18 Card Purchase 07/16 Amazon Mktplace Pmts Amzn.Com/Bill WA Card 0135 24.99 i
07/18 Card Purchase 07/15 Insco Distributing Cen 210-6908400 TX Card 0135 5,000.00 vs
O7/18 Card Purchase 07/15 Oreilly Auto 00010660 Saginaw TX Card 0542 75.27 /
O7/18 Card Purchase 07/16 Amazon Mktplace Pmis Amzn.Com/Bill WA Card 0135 74.97

O7/18 Card Purchase 07/15 Paypal *Jtenterpris 402-935-7733 CA Card 0135 108.00 Fo
07/18 Card Purchase 07/15 Paypal *Joanns Ebay 402-935-7733 CA Card 0135 267.95 Y
07/18 Card Purchase 07/16 Amazon Mkiplace Pmis Amzn.Com/Bill WA Card 0135 24.99 WA
O7/18 Card Purchase 07/16 Baker Distributing #670 Fort Worth TX Card 0135 1,447.85 ee
O7/18 Card Purchase 07/18 Amazon Mktplace Pmts Amzn.Com/Bill WA Card 0135 49.98

07/18 Card Purchase With Pin 07/18 The Home Depot #8814 FT Worth TX Card 0135 850.22

07/18 Recurring Card Purchase 07/15 Desco. LLC 800-226-7529 FL Card 0135 150.00 JS,
07/18 Recurring Card Purchase 07/17 Sxm*Sitiusxm.Com/Acct 888-635-5144 NY Cara 0135 19.48 Wy
07/19 Card Purchase 07/19 Amazon Mktplace Pmis Amzn.Com/Bill WA Card 0135 755 58

07/19 Card Purchase 07/18 Craigslist.Org 415-399-5200 CA Card 0135 45.00 ia
07/19 Card Purchase 07/18 Auto Notes Watauga TX Card 0135 495.00 “we
07/19 Card Purchase 07/18 Auto Notes Watauga TX Card 0135 500.00

07/19 Card Purchase 07/18 Tricolor Auto Acceptance 2142697777 TX Card 0135 387.00 Ze
07/19 Card Purchase 07/18 Baker Distributing #670 Fort Worth TX Card 0135 128.01 sft
07/19 Card Purchase 07/18 Baker Distributing #670 Forl Worth TX Card 0135 448,45

O7/19 Card Purchase 07/18 Ce Haltom Cily Fort Worth TX Card 0135 104.95 ;
07/19 Card Purchase 07/18 Baker Distributing #670 Fort Worth TX Card 0135 1,663.04 er
07/19 Card Purchase 07/18 Baker Distributing #670 Fort Worth TX Card 0135 451.00

07/193 Card Purchase 07/18 Baker Distributing #670 Fort Worth TX Card 0135 548 85. ae
07/19 Card Purchase 07/18 Baker Distributing #670 Fort Worth TX Card 0135 788.28

07/19 Card Purchase 07/18 Baker Distributing #670 Fort Worth TX Card 0135 679.65 YY
O7/i9 Card Purchase 07/18 Baker Distributing #670 Fort Worth TX Card 0135 679.65 7
07/19 Card Purchase 07/18 Goodman Distribution Forl Worth TX Card 0135 32.84

07/20 Card Purchase 07/18 The Home Depoi #6814 FT Worth TX Card 0135 50.14 afl
07/20 Card Purchase 07/19 Baker Distributing #670 Fort Worth TX Card 0135 94.05

07/21 Card Purchase 07/19 Town of Pantego 817-2743869 TX Card 0135 180.00 ve
07/21 _ Card Purchase 07/20 Cfw Development Dept Fon Worth TX Card 0135 42.42 “/
07/21 Card Purchase 07/20 Baker Distributing #670 Fort Worth TX Card 0135 48.60 of
07/21 Card Purchase 07/20 Goodman Distribution Fort Worth TX Card 0135 145.06 YK,
07/21 _ Card Purchase 07/20 Baker Distributing #670 Fort Worth TX Card 0135 441.12

o7/21_ Card Purchase 07/20 Baker Distributing #670 Fort Worth TX Card 0135 654.49

07/21 Card Purchase 07/20: Goodman 328 Richlandhills TX Card 0135 306. 35 i 6
07/21 Card Purchase 07/20 Baker Distributing #670 Fort Worth TX Card 0135 14.57 4
07/21 Card Purchase 07/20 Baker Distributing #670 Fort Worth TX Card 0135 625.02

07/21 Card Purchase 07/20 Baker Distributing #670 Fort Worth TX Card 0135 379. 67
o7/21___ Card Purchase 07/20 Baker Distributing #670 Fort Worth TX Card 0135 21.40-~—
07/21 Card Purchase 07/20 Baker Distriputing #670 Fort Worth TX Card 0135 299.31 rs
07/21 Card Purchase 07/20 Baker Distributing #670 Fort Worth TX Card 0135 879. 5a,
07/21 Card Purchase 07/20 Baker Distributing #670 Fort Worth TX Card 0135 461.43

07/21 Card Purchase 07/20 Baker Distributing #670 Fort Worth TX Card 0135 rea
07/21 Card Purchase 07/20 Goodman Distribution Fort Worth TX Card 0135 383.21

07/21 Card Purchase 07/20 Baker Distriouting #670 Fort Worth TX Card 0135 431.15 Me
07/21 Recurring Card Purchase 07/21 Txu*Bill Payment 800-242-9113 TX Card 0135 359.35

 

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KAPITUS EX. 12 - 014
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CHASE &

July 01, 2016 through July 29, 2016

Account Number:

 

[ATM & DEBIT CARD WITHDRAWALS] (comtiruec)

 

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DATE DESCRIPTION AMOUNT Ya

07/22 Card Purchase 07/21 Staples Direct 800-3333330 MA Card 0135 140.09

07/22 Card Purchase 07/21 Ciw Development Dept For Worth TX Card 0135 37.79 ==
07/22 Card Purchase 07/21 Baker Distributing #670 Fort Worth TX Card 0135 50.29 wa ——
07/22 Card Purchase 07/21 Baker Distributing #670 Fort Worth TX Card 0135 {22.73 ——
07/22 Card Purchase 07/21 Baker Distributing #870 Fort Worth TX Card 0135 590.99. ~~, ———
07/22 _ Card Purchase 07/21 Baker Distributing #670 Fort Worth TX Card 0135 652.37 ==
07/22 Card Purchase 07/22 Ciw Water Online 817-392-8230 TX Card 0135 823 <L, ——
07/22 Card Purchase 07/22 Nita Cust Svc Online 972-818-6882 TX Card 0135 5.10 a SS
07/22 Card Purchase 07/22 Verde Energy Pp Ecomm 713-255-2778 TX Card 0135 463,06 —
07/22 Gard Purchase 07/21 Fleetmatics USA, LLC 781-5774642 MA Card 0135 42.98 ——
07/22 Card Purchase 07/21 Baker Distributing #670 Fort Worth TX Card 0135 562.28 V7

07/22 Card Purchase 07/21 Goodman Distribution Fort Worth TX Card 0135 $22 67 ~

07/22 Card Purchase 07/21 Baker Distributing #670 Fort Worth TX Card 0135 99.99 S.

07/25 _ Card Purchase 07/22 Lennox Industries 972-497-6730 TX Card 0135 605.12 Via

07/25 Card Purchase 07/22 Txtag 888 468 9824 888-4689824 TX Card 0135 11.85 wy

07/25 Card Purchase 07/22 Baker Distributing #670 Fort Worth TX Card 0135 192,05

07/25 Card Purchase 07/22 Baker Distributing #670 Fort Worth TX Card 0135 110,15 a

07/25 Card Purchase 07/22 Staples Direct 800-3333330 MA Card 0135 32.46 te

07/25 Card Purchase 07/22 The Home Depot #6814 FT Worth TX Card 0135 447.22

07/25 Card Purchase 07/22 Baker Distributing #670 Fort Worth TX Card 0135 97,39

o7/25 Card Purchase 07/23 Baker Distributing #670 Fort Worth TX Card 0135 25.86 ey

07/26 _ Card Purchase 07/25 Lennox Industries 972-497-6730 TX Card 0542 140.614 Sf

O7/26 Card Purchase 07/25 Paypal *Banggood 4029357733 Card 0135 10.82

07/26 Card Purchase 07/25 Ce Haltorn City 817-8384300 TX Card 0135 87.69

07/26 Card Purchase 07/25 Baker Distributing #670 Fort Worth TX Card 0135 126.45 Os

07/26 Card Purchase 07/25 Baker Distributing #670 Fort Worth TX Card 0135 315.72

07/26 Card Purchase 07/25 Goodman Distribution Fort Worth TX Card 0135 410.04

07/25 Card Purchase 07/25 Baker Distributing #670 Fort Worth TX Card 0135 287 07 ao

07/26 Card Purchase 07/25 Baker Distributing #670 Fort Worth TX Card 0542 1457 ~~

97/26 Card Purchase 07/25 Baker Distributing #670 Fort Worth TX Card 0542 1,522.00 A

07/26 Card Purchase 07/25 Cfw Development Dept Fort Worth TX Card 0542 29.97

07/26 Card Purchase 07/25 Cfw Development Dept Fort Worth TX Card 0542 37 45°

07/26 Card Purchase 07/25 Baker Distriouting #670 Fort Worth TX Card 0542 37 BO |

07/26 Card Purchase 07/25 Baker Distributing #670 Fort Worth TX Card 0542 1,287 77

o7/27__ Card Purchase 07/26 Lennox Industries 972-487-6730 TX Card 0542 7435 /

O7/27 Card Purchase 07/26 Lennox Industries 972-497-6730 TX Card 0542 38.39 JS,

o7/27 Card Purchase 07/25 The Home Depot #6814 FT Worth TX Card 0542 512.52 IS,

07/27 Card Purchase 07/25 Paypal "Myerscomput 402-935-7733 CA Card 0135 89.51 4

O7/27 Card Purchase 07/26 Century A/C Supply 281-776-1925 TX Card 0542 29.38

07/27 _ Card Purchase 07/26 Baker Distributing #670 Fort Worth TX Card 0542 971.09

o7/27 Card Purchase 07/26 Baker Distributing #870 Fort Worth TX Card 0542 94.23

07/27 Card Purchase 07/26 Baker Distributing #670 Fort Worth TX Card 0135 4,329.95

07/27 Card Purchase 07/26 Baker Distributing #670 Fort Worth TX Card 0135 697,01

07/27 _ Card Purchase 07/26 Baker Distributing #670 Fort Worth TX Card 0542 1,559,99

07/27 Card Purchase 07/26 Baker Distributing #670 Fort Worth TX Card 0542 271.71—~

07/27 Card Purchase 07/26 Baker Distributing #670 Fort Worth TX Card 0542 41.58

O7/27 Card Purchase 07/26 Wm Supercenter #5316 Saginaw TX Card 1720 159.01 oe

07/28 Card Purchase 07/26 The Home Depot #6549 Lakeworth TX Card 1720 24.78

07/28 Card Purchase 07/27 Baker Distributing #8670 Fort Worth TX Card 0542 570,11 —~

O7/28 Card Purchase 07/27 Ce Haltom City Fort Worth TX Card 0542 50.12 “

07/28 Card Purchase 07/27 Goodman Distribution Fort Worth TX Card 0542 408.30

 

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CHASES

duly 01, 2016 through July 29, 2016
Account Number: aaa

 

[ATM & DEBIT CARD WITHDRAWALS| (ntinues)

 

DATE

DESCRIPTION

AMOUNT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

07/28 Card Purchase 07/27 Goodman 328 Richlandhills TX Card 0542 27.03 SA.
07/28 Card Purchase 07/27 Goodman 328 Richlandhills TX Gard 0542 64.16 §
07/28 Card Purchase 07/27 Reliant Energy 866-222-7100 TX Card 0542 382.03
07/28 Card Purchase 07/27 Paypal *Happydealss 402-935-7733 CA Card 0135 48.95
07/28 Card Purchase 07/28 Lennox Industries 972-497-6730 TX Card 0542 70.12 ae
o7/29 Card Purchase 07/27 Paypal ‘Nike Com 402-935-7733 OR Card 0135 176.61 wo
07/23 Card Purchase 07/28 Lowes #01582* Fort Worth TX Card 0542 119.46 ~~
07/29 Card Purchase 07/28 Goodman Distribution Fort Worth TX Card 0542 364.62 “y
O7/28 Card Purchase 07/28 Baker Distributing 4670 Fort Worth TX Card 0542 707.58 *
O7/29 Card Purchase 07/28 Baker Distributing #670 Fort Worth TX Card 0542 425, 42 wi
07/29 Card Purchase 07/28 Baker Distributing #670 Fort Worth TX Card 0135 777.88
07/29 Card Purchase 07/28 Baker Distributing #670 Fort Worth TX Card 0135 590.99 at
07/29 Card Purchase 07/28 Goodman Distribution Fort Worth TX Card 0135 23.05
07/29 Card Purchase 07/28 Minuteman Press 2143511529 TX Card 0135 1,003.78 a
Total ATM & Debit Card Withdrawals $109,207.44
ATM & DEBIT CARD SUMMARY
Dwayne P Bridges Card 0135
Total ATM Withdrawals & Debits $0.00
Total Card Purchases $98,050.34
Total Card Deposits & Credits $46,071.40
Travis L Humphrey Card 0542
Total ATM Withdrawals & Debits $0.00
Total Card Purchases $10,973.31
Total Card Deposits & Credits $0.00
Dana M Bridges Card 1720
Total ATM Withdrawals & Debits $0.00
Total Card Purchases $183.79
Total Card Deposits & Crediis $0.00
ATM & Debit Card Totals
Total ATM Withdrawals & Debits $0.00 __
Total Card Purchases $109,207.44
Total Card Deposits & Credits $46,071.40
[ELECTRONIC WITHDRAWALS|
DATE DESCRIPTION AMOUNT
07/01 Tvt Capital Tvt Capita B308731 CCD ID: 10108552739 $829,00
07/01 ~~ Forward Financin Ff 888-244-S099#12 CCD ID: Rop2952677 392.71
07/01 Privatepmtsvcing Ppdpayment PPD 1D: 6273471385 155.82
07/01 ADP PayrollFees ADP - Fees 2R39U 4056218 CCD ID: 9659605001 150.68
07/01 Privatepmtsvcing Ppdpayment PPD |D: 6273471385 44.18
07/05 07/02 Online Transfer To Chk .,. 1363 Transaction#. 5501858984 1,000.00
07/05 07/05 Online Wire Transfer Via: Community Longview/1 11914917 A/C: Tim Moore Longview 1,300.00 S
TX 75604 US Ref: Dwayne Bridges Imad: 0705B1Ogsc02C003296 Tm: 3788800187Es
07/05 07/05 Payment To Chase Card Ending IN 6611 321.71
07/05 07/05 Payment To Chase Card Ending IN 4179 114.00 if
07/05 Republic Underwr Ins Prem PPD ID; 1751221537 2,259.51
O7/05 TwiCapital Tvt Capita B308731 CCD ID: 1010855279 829.00
Paga 10 of 16

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July 01, 2016 t

Account Number:

 

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DATE DESCRIPTION AMOUNT
07/05 Aly Ally Paymt 00592141606101! Web ID: 9833122002 477.03
07/05 Forward Financin Ff 888-244-9099#12 CCD ID: Rpp2952677 392.71
07/05 Fsb Blaze Payment 518213000559014 Web ID: 3420747941 200,00
07/05 _ Privatepmisvcing Ppdpaymsnt PPD 1D; 6273471385 155.82
07/05 _Privatepmtsvcing Ppdpayment PPD ID; 6273471385 44.18
07/06. _Nationstar Nationstar 0607335940 __ Tel |D: 9200503036 1,597.39
O7/06 Tvt Capital Tvt Capita 8308731 CCD |D: 1010855279 829.00
07/06 Discover E-Payment 1743 Web ID; 2510020270 664.43
07/06 Forward Financin Ff 888-244-9099#12 CCD ID: Rpp2952677 392.71
07/08 Barclaycard US Creditcard 384295463 Web ID: 2510407970 200.00
07/06 Cabelas Visa Payments Web !D: 2470839081 195.00
07/06 Privatepmisvcing Ppdpayment PPD ID: 6273471385 155.82
07/08 First Savings Payment 543360119055303 Tel |D: 1470535472 143,00
07/06 Barclayeard US Creditcard 384302646 Web ID: 2510407970 89.56
07/06 _ Legacy Visa Pymt Payment 4239801 10676094 Tal 1B: 1470535472 62.00
07/06 _Privatepmtsvcing Ppdpayment PPD ID; 8273471385 44.18
07/07 07/07 Online Transfer To Chk ...0598 Transaction#: 5511727586 1,000.00
07/07 ADP Eepay/Garnwe Eepay/Gam 79506067699939U CCD ID: 9333006057 14,329.14
07/07. ADP Tax/401K Tax/401K Rn39U 070828A01 CCD |D: 1223006057 7,264, 98
o7/07 = Tvi Capital Tvt Capita B308731 CCD |D: 1010855279 829.00
07/07 ADP Eepay/Gamwe Eepay/Gam 92810016170739U CCD ID: 9555555505 488.19
07/07. ADP Eepay/Garnwe Eepay/Gatn 79506067700039U CCD ID: 9333006057 413.98
07/07 Forward Financin Ft 888-244-9099#12 CCD ID: Rpp2952677 392.71
07/07 Comenity Pay Sm Web Pymt P16188023982022 Web ID: 1133163498 298.00
07/07 _ Privatepmisveing Ppdpayment PPD ID: 6273471385 155,82
07/07 Direct Capital ED! Pymnts 001-0057687-000 CCD ID: 1020468001 124.64
07/07 _Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
07/08 Tvi Capital Tvt Capita B308731 CCD ID; 1010855279 829,00
07/08 Forward Financin Fi 888-244-9099#12 CCD ID: Rpp2952677 392.71
07/08 ADP Payroll Fees ADP - Fees 2R39U 6239952 CCD |D: 9659605001 158.54
07/08 _ Privatepmtsvcing Podpayment PPD ID: 6273471385 155.82
07/08 _Privateprnisvcing Ppdpayment PPD 1D: 6273471385 4418
07/11. 07/11 Online Transfer To Chk ...0598 Transaction#: 5519007646 2,000.00
07/11 SmallBusiness ltcpayment PPD ID: 1131414876 2,114.49
07/11 Tvi Capital — Tvt Capita B308731 CCD ID: 1010855279 829.00
07/11 | Model Finance CO Loan Pmt PPD ID: 1952292743 411.25
07/11 Forward Financin Ff 888-244-9099412 CCD ID: App2952677 392.71
O7/11Dateu ACH Trnsit PPD ID: 0750813379 173,72
07/11 Privatepmtsvcing Ppdpayment PPD ID: 6273471385 155.82
07/11 Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
a7/12 TviCapital Tvt Capita B308731 CCD ID: 1010855279 829.00
07/12 Forward Financin Fi 888-244-9099#12 CCD ID: Rpp2952677 392.71
07/12 Privatepmisvcing Ppdpayment PPD ID: 6273471385 155,82
07/12 _Privatepmtsvcing Pedpayment PPD ID: 6273471385 44.148
07/13 07/13 Online Transfer To Chk ..0598 Transaction#: 5523937646 1,000.00
07/13 Tvi Capital Tvt Capita B3808731 CCD ID; 1010855279 829.00
07/13 Forward Financin Fi 888-244-9099#12 CCD ID: Rpp2952677 392.71
07/13 Privatepmtsvcing Ppdpayment PPD |D: 6273471285 155.82
07/13 + Privatepmtsvcing Podpayment PPD ID: 6273471385 44.18
07/14 ADP Eepay/Garnwe Eepay/Garn 79606008364239U CCD |D: 9333006057 13,862.90
07/14 ADP Tax/40i1K Tax/401K An39U 071529A01 CCD ID: 1223006057 5,969.35
Puge 11 of 16

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July 01, 2016 through July 29, 2016

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Account Number: 8
ELECTRONIC WITHDRAWALS|_ continues)
DATE DESCRIPTION AMOUNT
07/14 Tvt Capital Tvt Capita B308731 CCD ID: 1010855279 829.00
07/14 ADP Eepay/Garnwe Eepay/Gam 79806008364339U CCD ID: 9333006057 413,98
07/14 — Forward Financin Ff 888-244-9099#12 CCD ID: Rpp2952677 392.71
07/14. ADP Eepay/Garnwe Eepay/Garn 48004013741839U CCD ID: 9555555505 373.71
07/14 — Privatepmisvcing Ppdpayment PPD ID: 6273471885 155.82
07/14 Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
07/15 07/15 Online Transfer To Chk ... 1363 Transaclioni#: 5527944787 100,00 io
07/15 _ Cartier Enterpri 0251428000 13925029 CCD ID: 2611608955 8,890.41
07/15 TviCapital Tvt Capita B308731 CCD |D: 1010855279 $29.00
07/15 Forward Financin Fi 888-244-9099#12 CCD ID: Rop2952677 392,71
O7/15 Irs Usataxpymt PPD ID: 3387702000 350,00
07/15 Direct Capital EDI Pymnts 001-0057687-001 CCD ID: 1020468001 312.67
07/15 ADP Payroll Fees ADP - Fees 2R39U 6533491 CCD ID: 9659605001 166.44
07/15 Privatepmtsveing Pedpayment PPD ID: 6273471385 155.82
07/15 _ Privatepmtsvcing Ppdpaymeni PPD ID: 6273471385 44.18
07/18 07/18 Online Transfer To Chk ...1363 Transaction#: 5534507999 100,00
07/18 07/18 Online Transfer To Chk ...0598 Transaction#: 5535339222 3,000.00
07/18 TyvtCapital  Tvt Capita B308731 CCD 1D; 1010855279 829.00
O7/18 Forward Financin Ff 888-244-9099413 CCD ID: Rpp2952677 392.71
O7/18 Privatepmtsvcing Ppdpayment PPD ID: 6273471385 155.82
07/18 _ Privatepmisvcing Ppdpayment PPD ID: 6273471385 44.18
o7/19 TvtCapilal Tvt Capita B308731 CCD ID: 1010855279 829.00
07/19 Forward Financin Ff 888-244-9099#13 CCD ID: Rpp2952677 392.71
07/19 Privatepmisvcing Ppdpayment PPD ID: 6273471385 155.82
07/19  Privateprisvcing Ppdpayment PPD ID: 6273471385 44.18
07/20 07/20 Online Transfer To Chk ,..0598 Transaction#: 5539535738 1,000.00
07/20 Tvt Capital Tvt Capita B308731 CCD ID: 1010855279 829.00
07/20 _AFS Acceptance L Auto Loan PPD ID: 1743201007 528.81
07/20 Forward Financin Ft 888-244-9099#13 CCD ID Rpp2952677 392.71
07/20 _Privatepmtsvcing Ppdpayment PPD ID: 6273471385 155.82
07/20 Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
07/21 ADP Eepay/Gamwe Eepay/Garn 40752647879239U CCD ID: 9333006057 13,265.48
07/21 ADP Tax/401K Tax/401K Rn39U 072230A01 CCD ID: 1223006057 5,744.12
07/21 Synchrony Bank Co Pymt 601919123429963 Tel ID: 9856794001 1,422.11
o7/2i  TvtCapital Tvi Capita BS08731 CCD ID; 1010855279 829.00
07/21 ADP Eepay/Garnwe Eepay/Garn 40752647879339U CCD ID: 9333006057 413.98
07/21 _ Forward Finanoin Ff 888-244-9099#13 CCD ID: Rpp2952677 392.71
07/21 ADP Eepay/Garnwe Eepay/Garn 55806055969839U CCD ID: 9555555505 344.54
07/21 Privatepmtsveing Ppdpayment PPD ID: 6273471385 455,82
07/21 ‘ Privalepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
o7/22 Carrier Enterpri 0251428000 14040470 CCD ID; 2611608955 2,645.49 SS
07/22 TvtCapital Tvt Capita B308731 CCD ID: 1010855279 829.00
07/22 _ Forward Financin Ff 888-244-9099#13 CCD ID: Rpp2952677 392.71
07/22 ADP Payroll Fees ADP - Fees 2R39U 8157314 CCD ID; 9659505001 174.45
07/22 _ Privatepmisvcing Ppdpayment PPO ID: 6273471385 155.82
07/22 _Privatepmtsvcing Ppdpayrmeni PPD ID: 6273471385 44.18
07/25 07/25 Online Transfer To Chk ...1363 Transaction#: 5548659403 150.00
07/25  TvtCapital Tvt Capita 6308731 CCD ID: 1010855279 829.00
07/25 — Forward Financin Ff 888-244-9099#13 CCD ID: Rpp2952677 392.71
07/25  Protectionone Payment PPD ID; 3931064579 297.80
07/25 _Privatepmtsvcing Ppdpayment PPD ID; 6273471385 155.82

 

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[ELECTRONIC WITHDRAWALS |_(contnuee)

 

July 01, 2016 t
Account Number:

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
07/25‘ Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
07/26  Wex Inc Fleet Debi 0453009114893 CCD ID; 0841425616 7,011.80
07/26 TwiCapital  Tvi Capita B308731 COD ID: 1010855273 829.00
07/26 Nationwide Reft EDI Pymnis PPD ID: 1314177102 422.86
07/26 Forward Financin Ff 888-244-9099#13 CCD ID: Rpp2952677 392.71
07/26 —Privatepmtsvcing Ppdpayment PPD ID; 6273471385 155.82
07/26 _Privatepmtsveing Ppdpayment PPD ID: 6273471385 44.18
07/27 Ally Ally Paymt 00592446244601! Web ID: 9833122002 2,000.00
07/27 Suntrust Ln 656 Ic Payment PPD ID: 1592606930 1,204.95
07/27 Tvt Capital Tvt Capita B308731 CCD ID: 1010855273 829.00
07/27 Forward Financin Ff 888-244-9099#1 3 CCD 1D: Rpp2952677 392.71
07/27 ~—Privatepmisvcing Ppdpayment PPD ID: 6273471385 155.82
07/27 __ Privaiepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
07/28 07/28 Online Transfer To Chk ..0598 Transaction#: 5554350390 1,000.00

 

07/28 07/28 Online Wire Transfer Via: Community Longview/111914917 A/C: Tim Moore Longview 1,200,00
TX 75604 US Ret: Dwayne Bridges Imad: 072861 Qgc04C000908 Trn: 330300021 DEs

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

07/28 ADP Eepay/Garnwe Eepay/Garn 57803884077939U CCD ID: 9333006057 12,579.50
07/28 ADP Tax/401K Tax/401K Rn39U 072931A01 CCD ID! 1223006057 4,888.95
07/28 TvtCapital Tvt Capita B308731 CCD ID: 1010855279 829.00
07/28 ADP Eepay/Gamwe Eepay/Garn 57803884078039U CCD ID: 9333006057 552.44
07/28 Forward Financin Fi 888-244-9099#13 CCD ID: Rpp2952677 392.71
07/28 ADP Eepay/Garnwe Eepay/Gam 67203479057 1389U CCD |D: 9555555505 297.89
07/28 _Privatepmisvcing Podpayment PPD ID, 6273471385 155.82
07/28 _ Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
07/28 TwiCapital Tvt Capita B308731 CCD ID: 1010855279 829.00
07/28 Forward Financin Ff 888-244-9099#13 CCD ID: Rpp2952677 392.71
07/29 ADP Payroll Fees ADP - Fees 2R39U 9966150 CCD ID: 9659605001 163.79
07/28 _ Privatepmtsvcing Podpayment PPD ID: 6273471385 155.82
07/23  Privatepmtsvcing Podpayment PPD |D: 6273471385 44.18
Total Electronic Withdrawals $157,843.83
OTHER WITHDRAWALS
DATE DESCRIPTION AMOUNT
07/28 Deposited Item Returned NSF 1St 099012104 # of $870.00
Itamms0000 1 Ck#:0000001 135 Dep Amt0000482000 Dep
Date072516Ck Amt0000087000
Total Other Withdrawals $870.00
FEES
DATE DESCRIPTION AMOUNT
07/06 Service Charges For The Month of June $686.60
Total Fees $686.60
DAILY ENDING BALANCE
DATE __ AMOUNT DATE = AMOUNT DATE AMOUNT
O7/04 $76,414.77 07/07 31,993.76 o7/12 58,058.79
07/05 70,035.12 07/08 78,549.83 07/13 68,424.41
07/06 55,932.67 07/11 57,561.10 07/14 47 936.58
Pagé 13 of 16

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July 01, 2046 through July 29, 2016

 

 

 

 

 

 

Account Number: 8

DAILY ENDING BALANCE |_cominveo)

DATE _ AMOUNT DATE AMOUNT DATE / AMOUNT
07/15 66,396.65 07/21 36,690.42 07/27 40,050.75
07/18 47,893.00 07/22 42,663.08 07/28 57,011.71
o7/19 55,874.42 07/25 60,605.63 07/29 71,631.45
07/20 63,384.18 07/26 50,006.07
| SERVICE CHARGE SUMMARY |

Monthly Service Fee $95.00

Other Service Charges $206.60

Total Service Charges

$301.80 Will be assessed on 8/3/16

You were assessed a monthly service fee on your Chase Platinum Business Checking account because you did not

maintain the required relationship balance.

| SERVICE CHARGE DETAIL|

DESCRIPTION VOLUME
Monthly Service Fee

Monthly Service Fee 1
No Hassle Fees

Retum Item 1
Other Service Charges:

Electronic Credits

Electronic Items Deposited 140
Electronic Crecits 37
Credits

Non-Electronic Transactions B92
Miscellaneous Fees

Online Domestic Wire Fee 2
Jpm Cashed Checks

Cash Management Services
Quick Deposit Multi Feed Maint |
Subtotal Other Service Charges (Will be assessed on 8/3/16)

 

 

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ACCOUNT 000000565026526

Monthly Service Fee

Monthly Service Fee t
No Hassle Fees

Return Item !
Other Service Charges:

Electronic Credits

Electronic Items Deposited 140
Elsctronic Credits 37
Credits

Non-Electronic Transactions as2
Miscellaneous Fees

Online Domestic Wire Fee 2
Jpm Cashed Checks 1
Cash Management Services

Quick Deposit Multi Feed Maint 1

ALLOWED CHARGED

PRICE/ UNIT TOTAL

$95.00 $95.00

Unlimited 0 $12.00 $0.00

Unlimited 0 $0.40 $0,00
Unlimited 0

$0.40 $0.00
500 392 $0.40 $156.80

4 Qo $10.00 $0.00
0 1 $0.00 $0.00

0 i $50.00 $50.00
$301,380

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CHASE &

July 01, 2046 through July 29, 2016
Account Number: Es:

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call or write us at the phone number or address
on the front of this statement (non-personal accounts contact Customer Service) if you think your statement or receiptis incorrect or ij you need

more information about a transfer listed on the slatement or receipt. | We must hear from you no later than 60 days after we sent you the FIRST
statement on which the problem or error appeared. Be prepared to give us the following information:

e Yourname and account number

« The dollaramount of the suspected error

* A description of the error or transfer you are unsure of, why you believe it ls an error, or why you need more intormation.
We will investigate your complaint and will correct any error pearuaty lf We take more than 10 business days (or 20 business days for new
accounts) fo do Ihis, we will Gredil your account for the amount you think is In error so that you will have use of the money during the lime it takes
us to complete our investigation .

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if yaur statement is
incorrector il you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,

‘ou must notify the bank in writing no leler than 80 days aiter tho statement was made available io you. For more complete details, see the
ccount Rules and Regulations or other applicable account agreement that governs your account.

tI JPMorgan Chase Bank, N.A. Member FDIC

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CHASE & July 01, 2016 th

rough July 29, 2016
Account Number: 28

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CHASE oO July 30, 2016 through August 31, 20°76

JPMorgan Chase Bank, N.A.
P © Box 659754
San Antonio, TX 78265 - 9754

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CUSTOMER SERVICE INFORMATION

 

Web site: www,Chase.com
VecolalDsaVbvvvelelecesaslLabeadsadDercleDealstennelfastall Service Center: 1-877-425-8100
00006029 DRE 201 210 24716 NNNNNNNNNNN 1 000000000 D2 0900 Deaf and Hard of Hearing: 1-800-242-7383
LICENSE TO CHILL HEATING AND AIR INC, Para Espanol: 1-888-622-4273
DBA JUST CHILLIN HEATING AND AIR Intemational Calls: 1-713-262-1673

1150 BLUE MOUND RD W STE 201
HASLET TX 76052-3865

You'll no longer pay a fee for the Chase QuickDeposit ™ Single Feed Check Scanner

Good news! As a Chase Platinum Business Checking client, you'll no tonger pay a monthly maintenance fee when you
have a Single Feed Check Scanner to make deposits through Chase QuickDeposit.

li you:
* Only have a Chase Platinum Business Checking account(s) , you don'l need to take any action, We will
automaiically stop charging this fee.

* Have more than one Chase business checking account type , make sure that your Chase Platinum Business
Checking account is set up as your primary account on chase.com. To do this:
1, Signin to cnase.com.
2, Select the Customer Center tab on the right.
8, Select Change primary account in the My Information section.
4 Follow the prompts:

You can also continue to use the Chase QuickDeposit feature on the Chase Mobile® app at no additional cost.

If you have questions, please call us at the number on this statement

CHECKING SUMM ARY Chase Platinum Business Checking Yr,

 

 

 

 

 

INSTANCES AMOUNT
Beginning Balance $71,631.45
Deposits and Additions 78 260,917.44"
Checks Paid 45 -62,402.48 | =
ATM & Debit Card Withdrawals 241 - 99,285.33  ~
Electronic Withdrawals 129 - 146,824.57
Other Withdrawals 3 ~ 225.00
Fees 1 - 301.80
Ending Balance 497 $23,509.71

Your Chase Platinum Business Checking account provides:

¢ No transaction feas for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
* 500 debits and non-electronic deposits (those mace via check or cash in branches) per stalement cycle
¢ $25,000 in cash deposits per statement cycle

e Unlimited return deposited items with no fee

There are additional fee waivers and benefits associated with your account — please reler to your Deposit Account
Agreement for more Information.

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CHASE oO July 30, 2016 thr ust 31, 2016
Account Number: EE ss2°
DEPOSITS AND ADDITIONS
DATE DESCRIPTION AMOUNT
08/01 ATM Check Deposit —_ 08/01 1429 N Saginaw Blvd Saginaw TX Card 0542 $9,293.00 =f
08/04 ATM Check Deposit 08/01 1429 N Saginaw Blvd Saginaw TX Card 0542 225.00
08/01 Square Inc 16078082 1204126863492 CCD ID: Wimsquarel 2,706.42
08/01 Square Inc 460801S2 1204127191834 CCD ID: Wimsquaret 733.09
08/02 ATM Check Deposit 08/02 1429 N Saginaw Blvd Saginaw TX Card 0135 5,120.00 ~
08/02 Deposit 833262691 195.00.”
08/02 Square Inc 16080282 1204127491683 CCD ID: Wimsquare1 2,564.91 we
08/03 Remote Online Deposit 4 7,525.00 ~
08/03 Remote Online Deposit 4 250,00 a
08/03 Remote Online Deposit 4 150.00 ”
08/03 Square Inc {6080382 1204127809754 CCD ID: Wimsquaret 1,544.50 wy
08/04 Remote Online Deposit 4 7,770.00 ee
08/04 Square Inc 16080452 1204128127571 CCD ID: Wimsquaret 2,694.88 fe
08/05 Remote Online Deposit 4 3,750.00
08/05 Remote Online Deposil 4 500.00 JS
08/05 Servicemaster Payables 02038293 CCD ID: 9071644000 20,242 96 “a
08/05 Square Inc 160805S2 1204128453579 CCD !D: Wimsquare 2,232.48
08/08 Remote Online Deposit 4 4,660.00 yy
08/08 Remote Online Deposit 4 1,795.00 <a
08/08 Square Inc 160808S2 1204128769900 CCD 1D: Wimsquere1 1,684.49 “oe,
08/08 Square Inc 460808S2 1204129099131 CCD ID. Wimsquaret 838.95 VA,
08/09 Remote Online Deposit 4 7,185.00
08/03 Square Inc 160809S2 1204129271013 CCD ID: Wimsquarel 1,027.48
08/10 Remote Online Deposit 4 3,825.00
08/10 Square |nc 460810S2 1204129588215 CCD ID: Wimsquare1 1,266.79
08/11 Remote Online Deposit 4 3,095.00
08/41 Remote Online Deposit 4 125,00
08/14 Square Inc 160811S2 1204129905284 CCD ID: Wimsquarel 1,679.95
08/12 Deposit 842452446 6,405.00
08/12 Remote Online Deposit 4 1,440,00
08/12 Servicemaster Payables 02044508 CCD ID: 9071644000 29,106.06
08/12 Square Inc 160812S2 1204130232131 CCDID: Wimsquarel 2,146.62
08/15 Remoie Online Deposit a 2,440.00
08/15 Remote Online Deposit 4 4,155.00
08/15 Square Inc 160815S2 1204130876334 CCD ID: Wimsquarei 1,378.74
08/15 Square Inc 160813S2 1204130549195 CCD ID; Wimsquare! 1,043.99
08/16 Card Purchase Return 08/15 Baker Distributing #670 Fort Worth TX Card 0135 572
08/16 Card Purchase Return 08/15 Baker Distributing #670 Fort Worth TX Card 0135 38.28
08/16 Gard Purchase Return 08/15 Baker Distributing #670 Fort Worth TX Card 0135 ‘807.29
08/16 Card Purchase Retum 08/15 Baker Distributing #670 Fort Worth TX Card 0135 5099
08/16 Card Purchase Retum 08/15 Baker Distributing #670 Fort Worth TX Gard 0135 3.01
08/16 Card Purchase Return 08/15 Baker Distributing #670 Fort Worth TX Card 0135 2.04
08/16 Remote Online Deposil 4 2,195.00
08/16 Square Inc 160816S2 1204131050423 CCD ID: Wimsquarel 435.43
08/17 Card Purchase Return 08/16 Lennox Industries $724976730 TX Card 0135 93.76
08/17 Remote Online Deposit a 2,990, 00
08/17 Square Inc 160817S2 1204131368102 CCD ID: Wimsquarel 1,427.85
08/18 Remote Online Deposit 4 475.00
08/18 Remote Online Deposit a 400,00
08/18 Square Inc 160818S2 1204131586197 CCD ID: Wimsquarel 916.97
08/19 Remote Online Deposit a 3,450.00
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July 30, 2016 thr 16
Account Number: 28

 

DEPOSITS AND ADDITIONS|_©o7mue2)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
  
 

 

 

 

 

 

 

 

 

 

 

 
  

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
08/19 Deposit 837 138094 2,125.00
08/19 Servicemaster Payables 02049405 CCD ID: 8071644000 44,193.82
08/19 Square Inc 160819S2 1204132012415 CCDID: Wimsquarel 755.14
08/22 Remote Online Deposit 4 1,775.00
08/22 Square Inc 160820S2 1204132327792 CCD 1D: Wfmsquarel 2,904.51
08/22 Square Inc 160822S2 1204132657643 CCDID: Wimsquaret 84.69 SS
08/23 Card Purchase Return 08/18 Ce Haltom City Fort Worth TX Card 0135 e288 | =
08/23 Remote Online Deposit 4 1,170.00 ——>
08/23 Square Inc __ 160823S2 1204132829686 CCD ID: Wimsquare1 250.96 ——
08/24 Remote Online Deposit 4 2,245.00 =
08/24 Remote Online Deposit 4 395,00
08/24 Square Inc 160824S2 1204133131259 CCDID: Wimsquarel 2,710.98
08/25 Card Purchase Return 08/24 Goodman Distribution Fort Worth TX Card 0135
08/25 Remote Online Deposit 4 1,920.00
08/25 Square Inc 160825S2 1204133449404 CCD ID: Wimsquare1 1,765.50
08/26 Card Purchase Return 08/25 Baker Distributing #670 Fort Worth TX Card 0135 ‘ 35.
08/26 Remote Online Deposit 4 1,780.00
08/26 Deposit 836419450 910,00
08/26 Servicemaster Payables 02054328 CCD iD: 9071644000 26,894.52
08/26 Square Inc 160826S2 L204133774155 CCDID: Wimsquare’ 3,026.24
08/29 Deposit 837138299 3,425.00
08/29 Square Inc 160827S2 1204134091678 CCDID: Wimsquarei 1,617.71
08/29 Square Inc 160829S2 1204134428099 CCD ID: Wimsquarei 293,03
08/30 Remote Online Deposit 4 1,870.00
08/30 Square Inc 160830S2 1204184601010 CCDID: Wimsquare1 125.48
08/31 Card Purchase Return 08/80 Baker Distributing #670 Fort Worth TX Card 0135 q
08/31 Square Inc 160831S2_ 1204134918667 CCD ID: Wimsquaret 276.26
Total Deposits and Additions $260,917.44
CHECKS PAID
DATE
CHECK NO. DESCRIPTION PAID AMOUNT
O ACanelas Visa/MRIDS FirematBonk —drat+ 08/09 $392.00
6552 *4 Péedvo Rendon = ~iuste is 08/01 3,250.00
6554 ** Sewn ( o 949 TAR 08/05 1,224.60
6555 * lary sini, Cle 992 THR — feuct fost 08/19 304.00
6557 ** Rows Stuy ‘ator ~ Rent a0 OF So} iste? sunt 08/03 217500 \
6558 * Fedrvo Rendon — Lustal/s 08/19 2,550.00
6560 “*ted ro Kes vim —Lustalls 08/05 1,275.00
6561 * O'Reéllin.~invoine ® RP IOLL “47309 5 - Tundra 08/22 162.79
6562 “Pedyo Rendon —Lus fails 08/08 700.00
6563 4 08/11 J*) ava Cer bin 08/14 100.00
6564” 08/23 Ede tires Wtmen daci 2~Grnish Cebng raga 08/28 700.00 |
6565 4 08/06 £ Beaten Pal oon Serl3 tlity ~ © keine is 08/08 875.00 |
6506 “lel Knight - ce fund oF service on Fata! 08/19 75.00
6567 “Fil aan enidibl Renate Hovein Civic. 08/10 650.00
6568 * Peden Kenclom — Enste is 08/12 3,450 00
6569 _4 08/12 ESraim Aimendaciz. ~ Ceci Abeer 08/12 1,400.00
6570 4 J/*) ely gel Cex 08/18 100.00
6571 4 Baron Perden 2st al Hohn 08/12 600,00
pf tt A Zé “POF JOS in ~
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CHECKS PAID| “onic?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CHECK NO, DESCRIPTION pi AMOUNT
6572 “(Dobbie DR Denes Payrol/ oa/2g 184.70
6573 “Thames F Johnie —p ds ipll 08/29 184.70
6574 A Pedy, Renin ~- Subb-inssralls 08/26 2,175.00
e575 “Viivevsreied Pur Cheve * $95 08/26 24,000.00
10426 **M aya Corbin 08/01 169,03
10427 4 Mefelends Elizalde _ 08/04 357.09
10432 *A Mavs Cor lain 08/08 324.81
10483 “Thamas £ Sohbacm 08/08 714.18
10484 “Mabbie > Jemes 08/08 951.76
10485 Awviliam [fie Oster 08/05 905.03
10436 4 08/05 “Jahtie © Sion 08/05 900.34
10437 AW\aua Carbin 08/23 136.09
10438 “Cuwthia 5 Esperanza 08/15 502.87
10439 A) Meenas 2 Sohn cor 08/15 714.18
10440 ADobble S Sori2s 08/15 796.53
10441 AlJsilian j& Doster 08/12 866.35
10442 A 08/12 tehe O Stans 08/12 1,001,36
10443 4“ ( uathia o E. Lar wa 08/22 502.87
10444 ““Thaowas E Séhew corn 08/19 714.18
10445 4 Debbye “3 “Serna ’ 03/19 951.76
10446 A jor [ liye (2 OS PE 08/19 866.36
10447 4 08/19 Naka © Stemié 08/19 849.83
10448 * Cugth ia a Es oegma = 8) a La hi te Ke ut 5 t. 4 we We FAIDY 08/29 502.87
10449 A TheamasE Sohweas r 08/29 461.75
10450 A Aahbpie 3 Sones 08/29 714.18
10451 A/Ostli Qu & OSter 08/30 672.98
10452 “4 0826 Soha O Stone 03/26 698.29
Total Checks Paid $62,402.48

Hl you see a description in the Checks Paid section, it means that we received only electronic information about the check,
not the original or an image of the check. As a result, we're not able to return the check to you or show you ani image.

* All of eet recent checks may not be on this statement, either because they havent cleared yet or they were listed on
one of your previous statements.

A An image of this check may be available for you to view on Chase.com.

[ATM & DEBIT CARD WITHDRAWALS| _

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
08/01 Card Purchase 07/27 Better Business Bureau 855-6218556 TX Card 0542 $576.00
08/01 Card Purchase 07/29 Lennox Industries 972-497-6730 TX Card 0135 57.05
08/01 _ Card Purchase 07/28 Insco Distributing Cen 210-6908400 TX Card 0135 7,195.05
08/01 Card Purchase 07/29 Auto Notes Watauga TX Card 0135 275.00
08/01 Card Purchase 07/29 Auto Notes Watauga TX Card 0135 275.00
08/01 ___ Card Purchase 07/29 Auto Notes Watauga TX Card 0135 275.00
08/01 Card Purchase 07/29 Baker Distributing #670 Fort Worth TX Card 0135 549,04
08/01 Card Purchase 07/29 Baker Distributing #670 Fort Worth TX Card 0135 935.74
08/01 Card Purchase 07/29 Baker Distributing #670 Fort Worth TX Card 0135 1,909.85
08/01 Card Purchase 07/29 Baker Distributing #670 Fort Worth TX Card 0135 613.97
08/01 Card Purchase 07/29 Baker Distributing #670 Fort Worth TX Card 0135 518.38
08/01 Card Purchase 07/30 Baker Distributing #670 Fort Worth TX Card 0135 40.29
08/02 Card Purchase 08/01 Lennox Industries 972-497-6730 TX Card 0135 57.64
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DATE DESCRIPTION AMOUNT
08/02 Card Purchase 08/01 Tricolor Auto Accapiane 2142697777 TX Card 0135 387.00
08/02 Card Purchase 08/01 Health Grp 855-7070551 FL Card 0542 39.97
08/02 Card Purchase 08/01 Health Grp 855-7070651 FL Card 0542 41.97
08/02 Card Purchase 08/01 Goodman Distribution Fort Worth TX Card 0135 61.70
08/02 Card Purchase 08/01 Baker Distributing #670 Fort Worth TX Card 0135 497.43
08/02 Card Purchase 08/01 Baker Distributing #670 Fort Worth TX Card 0542 477.49
08/02 Card Purchase 08/01 Health Care Horizons 855-5565052 NY Card 0542 484.76
08/03 Card Purchase 08/01 1317 Insco Fort Worth 817-8345542 TX Card 0135 172.81
08/03 Card Purchase 08/02 Baker Distributing #670 Fort Worth TX Card 01 35 107.40
08/03 Card Purchase 08/02 Baker Distributing #670 Fort Worth TX Card 0135 93.38
08/03 Card Purchase 08/02 Baker Distributing #670 Fort Worth TX Card 0135 54.14
08/03 Card Purchase 08/02 Baker Distributing #670 Fort Worth TX Card 0135 29.16
08/08. Card Purchase 08/03 Cfw Water Online 817-392-8230 TX Card 0135 177.08
08/03. Card Purchase 08/03 Ntta Cust Sve Online 972-818-6882 TX Card 0135 14.48
08/03 Card Purchase With Pin 08/03 The Home Depot #0524 Lewisville TX Card 0135 151.98
08/04 Card Purchase 08/03 Samantha Springs Bott 817-379-9949 TX Card 0135 26.31
08/04 Card Purchase 08/03 Baker Distriouting #670 Fort Worth TX Card 0135 548.85
08/04 Card Purchase 08/03 Baker Distributing #670 Fort Worth TX Card 0135 502.47
08/04 Card Purchase 08/08 Baker Distributing #670 Fort Worth TX Card 0135 617.26
08/04 Card Purchase 08/03 Baker Distributing #670 Fort Worth TX Card 01395 531.61
08/04 Card Purchase 08/03 Baker Distributing #670 Fort Worth TX Card 0135 983,04
08/04 Card Purchase 08/03 Baker Distributing #670 Fort Worth TX Card 0135 17.97
08/04 Card Purchase 08/03 Harbor One Marina Fort Worth TX Card 0135 434.72
08/04 Card Purchase 08/03 Baker Distributing #570 Fort Worth TX Card 0542 5,000.00
08/04 Card Purchase 08/03 Wm Supercenter #2980 Fort Worth TX Card 1720 67.16
08/04 Card Purchase 08/03 Baker Distributing #223 Lewisville TX Gard 0135 201.56
08/04 Card Purchase 08/03 Baker Distributing #670 Fort Worth TX Card 0135 39.99
08/04 Card Purchase 08/03 Wm Supercenter #5247 Roanoke TX Card 1720 58.08
08/05 Card Purchase 08/04 Lennox Industries 972-497-6730 TX Card 0135 330.16
08/05 Card Purchase 08/04 Ce Haltom City 817-8384300 TX Card 0135 225.74
08/05 _ Card Purchase 08/04 Baker Distributing #670 For. Worth TX Gard 0135 776.86
08/05 Card Purchase 08/04 Baker Distributing #223 Lewisville TX Card 0135 508.30
08/05 Card Purchase 08/04 Baker Distributing #670 Fort Worth TX Card 0135 43.75
08/05 Card Purchase 08/04 Fleetmatics USA, LLC 781-5774642 MA Card 0135 746.20
08/05 Card Purchase 08/04 Baker Distributing #670 Fort Worth TX Card 0135 328.19
08/05 Card Purchase 08/04 Baker Distributing #670 Fort Worth TX Card 0135 1,060.85
08/08 Card Purchase 08/04 1317 Insco Fort Worth 817-8345542 TX Card 0135 29.13
08/08 Card Purchase 08/05 Lennox Industries 972-497-6730 TX Card 0542 128.82
08/08 Card Purchase 08/04 Firstpremier800987552 800-987-5521 SD Card 1720 6.25
08/08 Card Purchase 08/04 Firstpremier800987552 800-987-5521 SD Card 1720 49.06
08/08 _ Card Purchase 08/05 Auto Notes Watauga TX Card 0135 420.00
08/08 Card Purchase 08/05 Auto Notes Watauga TX Card 0135 395,00
08/08: Card Purchase 08/05 Baker Distributing #670 Fort Worth TX Card 0135 743.53
08/08 Card Purchase 08/05 Baker Distributing #670 Fort Worth TX Card 0135 598.10
08/08 Card Purchase 08/05 Goodman Distribution Fort Worth TX Card 0135 61.70
os/o8 Card Purchase 08/05 Ce Haltom City 817-8384300 TX Card 0135 53.00
08/08 Card Purchase 08/05 Baker Distributing #670 Fort Worth TX Card 01 35 483.58
os/08 Card Purchase 08/05 Paypal ‘Tile Inc 402-935-7733 CA Card 0135 130.00
08/08 Card Purchase 08/05 Baker Distributing #670 Fort Worth TX Card 0135 633.15
08/08 Card Purchase 08/05 Baker Distributing #670 Fort Worth TX Card 0135 267.18
08/08 Gard Purchase 08/06 Staples Direct 800-3333330 MA Card 0135 110.50
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CHASE oj July 30, 2016 through August 31, 2016
Account Number: 5528
[ATM & DEBIT CARD WITHDRAWALS] ©ortinves)
DATE DESCRIPTION AMOUNT
08/08 Card Purchase 08/05 Goodman Distribution Fort Worth TX Card 0542 1,083.34
08/08 Card Purchase 08/05 The UPS Store #6734 Fort Worth TX Card 1720 38.45
08/08 Card Purchase 08/06 Baker Distributing #670 Fort Worth TX Card 0135 8.45
08/08 Card Purchase 08/06 Baker Distributing #670 Fort Worth TX Card 0135 4114
08/08 Card Purchase 08/06 Baker Distributing #670 Fort Worth TX Card 0135 1,081.23
08/08 Card Purchase 08/06 Baker Distributing #670 Fort Worth TX Card 0135 4,008.01
08/08 Card Purchase 08/06 Baker Distributing #670 Fort Worth TX Card 0135 240.44
08/08 Card Purchase 08/07 G&B Financing 817-367-6702 TX Card 0135 432.27
08/08 __ Recurring Gard Purchase 08/08 Charter Comm 888-438-2427 TX Card 0135 666.33
08/09 Card Purchase 08/08 Baker Distributing #670 Fort Worth TX Card 0135 773.27
08/09 Card Purchase 08/08 Baker Distributing #670 Fort Worth TX Card 0135 2,791.94
08/09 Card Purchase 08/08 Baker Distributing #670 Fort Worth TX Card 0135 740.11
08/09 Card Purchase 08/08 Baker Distributing #670 Fort Worth TX Card 0542 481.13
08/09 Card Purchase 08/08 Paypal ‘Airstar 402-935-7733 CA Card 0135 490.00
08/10 Card Purchase 08/10 Arlington Permits-Cp&D 888-8868869 TX Card 0135 30.00
08/10 Card Purchase 08/08 Haltom City-Permits Haltorn City TX Card 0135 42.30
08/10 Card Purchase 08/08 Ac Supply #3 Arlington TX Card 0135 77.53
08/10 Card Purchase 08/08 Haltom City-Permits 817-2227704 TX Card 0135 100.00
08/10 Card Purchase 08/09 Baker Distributing #670 Fort Worth TX Card 0135 522.82
08/10 Card Purchase 08/09 Baker Distributing #670 Fort Worth TX Card 0135 694.93
08/10 Card Purchase 08/08 Ce Haltom City Fort Worth TX Card 0542 482.68
08/10 Card Purchase 08/09 Baker Distributing #670 Fort Worth TX Card 0135 654,44
08/10 Card Purchase 08/09 Radioshack Cor00183392 Fort Worth TX Card 1720 43,29
08/10 Card Purchase 08/10 Amazon Mktplace Pmts Amzn.Com/Bill WA Card 0135 83.00
08/11 Card Purchase 08/11 Aca Care Financial 877-228-8773 OR Card 0542 38.39
08/11 Card Purchase 08/10 Baker Distributing #670 Fort Worth TX Card 0135 233 07
08/14 Card Purchase 08/10 Baker Distributing #670 Fort Worth TX Card 0135 1,061.56
O8/it Card Purchase 08/10 Baker Distriouting #670 Fort Worth TX Card 0135 17-44
08/11 Card Purchase 08/10 Baker Distributing #570 Fort Worth TX Card 0135 730.514
08/11 Card Purchase 08/10 Baker Distributing #670 Fort Worth TX Card 0135 786.29
08/11 Card Purchase 08/10 Century A/C Supply 281-776-1925 TX Card 0135 179.70
08/11 Card Purchase 08/10 Baker Distributing #670 Fort Worlh TX Card 0135 101.88
08/11 Recurring Card Purchase 08/10 ATA&T*Bill Payment 800-331-0500 TX Card 0135 1,090.53
08/12 Card Purchase 08/11 Lennox Industries 972-497-6730 TX Card 0135 9376
08/12 Card Purchase 08/11 Baker Distributing #670 Fort Worth TX Card 0135 648.29
08/12 Card Purchase 08/11 Baker Distributing #670 Fort Worth TX Card 0185 804.39
08/12 Card Purchase 08/11 Baker Distributing #670 Fort Worth TX Card 0135 14.57
08/12 Card Purchase 08/11 Goodman Distribution Fort Worth TX Card 0542 445.34
08/12 Card Purchase 08/11 Baker Distributing #223 Lewisville TX Card 0135 260.80
og/i2 Card Purchase 08/12 Nita Cust Sve Online 972-818-6882 TX Card 0135 26.72
08/12 Card Purchase 08/12 Ntta Cust Sve Online 972-818-6882 TX Card 0135 104,17
08/12 Card Purchase 08/12 Nitta Cust Sve Online 972-818-6882 TX Card 0135 16,94
08/12 Card Purchase 08/12 Ntta Cus! Sve Online 972-818-6882 TX Card 0135 26.15
og/i2 Card Purchase 08/11 Sheffield Financia! LI 336-7661388 NC Card 0135 385.14
08/12 Card Purchase 08/11 Boatus Online 703-823-9550 VA Card 0135 33.00
08/12 Card Purchase With Pin 08/12 The Home Depol #6814 FT Worth TX Card 0542 7.55
08/15 Card Purchase 08/13 Arlington Permits-Cp&D 888-8868869 TX Card 0135 105.00
08/15 Card Purchase 08/13 Arlington Permits-Cp&D 888-8868869 TX Card 0135 99.00
08/15 Card Purchase 08/11 Lapc Services Fort Worth TX Card 1720 129.90
08/15 Card Purchase 08/12 Auto Notes Watauga TX Card 0135 275.00
08/15 Card Purchase 08/12 Aulo Notes Watauga TX Card 0135 275.00
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Account Number:

July 30, 2016 through August 31, 2016
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[ATM & DEBIT CARD WITHDRAWALS] (continues)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
08/15 Card Purchase 08/12 Auto Notes Watauga TX Card 0135 275.00
08/15 Card Purchase 08/12 Baker Distributing #670 Fort Worth TX Card 0135 626.59
08/15 Card Purchase 08/12 Baker Distributing #670 Fon Worth TX Card 0135 359,13
08/15 Card Purchase 08/12 Nest Labs 855-469-6378 CA Card 0135 39.62
08/15 Card Purchase 08/12 Baker Distributing #670 Fort Worth TX Card 0135 565.57
08/15 Card Purchase 08/12 City of Colleyville (B Colleyville TX Card 0135 104.00
08/15 Card Purchase 08/12 Goodman Distribution Fort Worth TX Card 0135 305,17
08/15 Card Purchase 08/12 Baker Distributing #670 Fort Worth TX Card 0135 964.39
08/15 Card Purchase 08/12 Baker Distributing #670 Fort Worth TX Card 0135 469.13
08/15 Card Purchase 08/12 Russell Feed-Sagin FT. Worth TX Card 1720 114.99
08/15 Card Purchase 08/12 Creilly Auto 00010660 Saginaw TX Card 0542 7.62
O85 Card Purchase 08/12 Avi*Colleyville Permi 817-503-1014 TX Card 0135 55.12
08/15 Card Purchase 08/12 Mary M Hudsens Pllc 817-788-4930 TX Card 0135 2,000.00
08/15 Card Purchase 08/13 Ce Haltom City Fort Worth TX Card 0135 273.09
08/15 Card Purchase With Pin 08/13 O'Reilly Auto Parts 10 Saginaw TX Card 0135 172.44
08/15 Card Purchase 08/13 Boon-Docks At Eagl Fort Worth TX Card 0542 244.19
08/15 Card Purchase 08/14 Taco Casa #008 Saginaw TX Gard 0135 26.37
08/16 Card Purchase 08/45 Tricolor Auto Acceptance 2142697777 TX Card 0135 387.00
08/16 Card Purchase 08/15 Baker Distributing #670 Fort Worth TX Card 0135 57.46
08/16 Card Purchase 08/15 Conns.Com 800-280-1514 TX Card 0135 110.74
08/16 Card Purchase 08/15 Conns.Com 800-280-1514 TX Card 0135 487.16
08/16 Card Purchase 08/15 Conns.Com 800-280-1514 TX Card 0135 52.30
08/16 Card Purchase 08/15 Conns.Com 800-280-1514 TX Card 0135 312.94
08/16 Card Putchase 08/15 Baker Distributing #670 Fort Worth TX Card 0135 18.03
08/16 Card Purchase 08/15 Shell Oil 57545757809 Haslet TX Card 0135 1,58
O8/16 Card Purchase 08/16 Nita Cust Sve Online 972-818-6882 TX Card 1720 55.38
O8/16 Card Purchase 08/15 Wendys #5497 Fort Worth TX Card 0135 6.90
08/16 Card Purchase 08/15 Baker Distributing #670 Fort Worth TX Card 0135 2,500.00
08/16 Card Purchase 08/16 My Plaies 888-769-7528 TX Card 0135 435,00
08/16 Card Purchase With Pin 08/16 Wal-Mart Super Center Saginaw TX Card 0135 234.59
08/17 _ Card Purchase 08/15 Reni To Own Container | Denton TX Card 0135 225.52
08/17 Card Purchase 08/15 S & S Flower Mound TX Card 0135 5.07
O8/17 Card Purchase 08/15 The Home Depot #6814 FT Worth TX Card 0135 38.21
08/17 Card Purchase 08/15 The Home Depot #8521 White Settlem TX Card 0135 31.06
08/17 Card Purchase 08/16 Baker Distributing #670 Fort Worth TX Card 0135 29.14
08/17 Card Purchase 08/16 Baker Distributing #670 Fort Worth TX Card 0135 804.38
08/17 Card Purchase 08/16 Baker Distributing #670 Fort Worth TX Card 0135 454.70
08/17 Card Purchase 08/16 Baker Distributing #670 Fort Worth TX Card 0135 31.83
08/17 Card Purchase 08/17 Ntta Cust Sve Online 972-818-6882 TX Card 0185 28.80
08/17 Card Purchase 08/16 Goodman Distribution Fort Worth TX Card 0135 388.62
08/17 Card Purchase 08/16 K-N-D Automotive & Weld Haslet TX Card 0135 100,36
08/17 Card Purchase 08/16 Baker Distributing #670 Fort Worth TX Card 0135 99.99
08/17 Card Purchase With Pin 08/17 Tarrant County Motor Fort Worth TX Card 0135 809.38
08/17 Card Purchase With Pin 08/17 Tarrant Cnty Motor Fee Fort Worth TX Card 0135 2.50
O8/17 Card Purchase With Pin 08/17 Westlake Hardware Colleyville TX Card 0135 73.55
O8/17 Recurring Card Purchase 08/15 Desco, LLC 800-226-7528 FL Card 0135 150.00
O8/i7 Recurring Card Purchase 08/17 Sxm*Siriusxm. Com/Acct 888-635-5144 NY Card 0135 19,48
08/18 Card Purchase 08/16 The Home Depot #6814 FT Worth TX Card 0135 217.24 f
08/18 Card Purchase 08/16 Carnival Cruise Tkt/Res Miami FL Card 0135 2,240.08
08/18 Card Purchase 08/17 Baker Distributing #670 Fort Worth TX Card 0135 30.47
08/18 Card Purchase 08/17 Baker Distributing #670 Fort Worth TX Card 0135 411.35
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Account Number: 28
[ATM & DEBIT CARD WITHDRAWALS] “ot?
DATE DESCRIPTION AMOUNT
08/18 Card Purchase 08/17 Ge Haltom City Fort Worth TX Card 0135 166.42
08/18 Recurring Gard Purchase 08/17 Paypal *Mydario 402-935-7733 MA Card 0135 120.50
08/192 Card Purchase 08/18 Auto Notes Watauga TX Card 0135 495.00
08/19 Card Purchase 08/18 Auto Notes Watauga TX Card 0135 500.00
08/19 Card Purchase 08/18 Cintas 492 800-2468271 TX Card 0135 156,35
08/19 Card Purchase 08/18 Cintas 492 800-2468271 TX Card 0135 129.02
os/i9 Card Purchase 08/18 Baker Distributing #670 Fort Worth TX Card 0135 548.85
08/19 Card Purchase 08/18 Republic Services Tra 866-576-5548 AZ Card 0135 211.19
08/19 Card Purchase 08/18 Baker Distributing #670 Fort Worth TX Card 0135 29.14
08/19 Card Purchase 08/19 Nitta Cust Svc Online 972-818-6882 TX Card 0135 52.08
08/19 Card Purchase 08/18 Baker Distributing #670 Fon Worth TX Card 0135 601.99
0o8/i9 Card Purchase 08/18 Baker Distributing #670 Fort Worth TX Card 0135 931.18
08/22 Card Purchase 08/19 Ac Supply #3 Arlinglon TX Card 0542 32.95
08/22 Card Purchase 08/19 Baker Distributing #670 Fort Worth TX Card 0135 29.14
08/22 Card Purchase 08/12 Baker Distributing #670 Fort Worth TX Card 0135 825.72
08/22 Card Purchase 08/19 Baker Distributing #670 For Worth TX Card 0135 41.55
08/22 Card Purchase 08/19 Baker Distributing #670 Fort Worth TX Card 0135 37.81
08/22 Card Purchase 08/19 Elkins Hardware Saginaw TX Card 01 35 13.83
08/22 Card Purchase 08/19 Baker Distributing #670 Fort Worth TX Card 0135 382.90
08/22 Recurring Card Purchase 08/22 Txu'Bill Payment 800-242-9113 TX Catd 0135 412.60
08/23 Card Purchase 08/22 Baker Distributing #670 Fort Worth TX Card 0135 45.55
08/23. Card Purchase 08/22 Baker Distributing #670 Fort Worth TX Card 0135 102.43
08/23 Card Purchase 08/22 Baker Distributing #670 Fort Worth TX Card 0135 569.20
08/23 Card Purchase 08/23 Lea*Labcorp Phone 800-845-6167 NC Card 1720 49.59
08/23 Card Purchase 08/22 Ac Supply Fort Worth TX Card 0542 161.30
08/23 Card Purchase 08/22 Baker Distributing #670 Fort Worth TX Card 0135 112.21
08/23. Card Purchase 08/22 Baker Distributing #670 Fort Worth TX Card 0135 5,000.00
08/23 Card Purchase 08/23 Ntta Cust Svc Online 972-818-6882 TX Card 1720 12.58
08/23 Card Purchase 08/22 Baker Distributing #670 Fort Worth TX Card 0542 5.76
08/24 Card Purchase 08/22 The Home Depot #6814 FT Worth TX Card 0135 119.09
08/24 Card Purchase 08/23 Baker Distributing #870 Fort Worth TX Card 0135 35.59
08/24 Card Purchase 08/23 Goodman 338 FT. Worth TX Card 0135 374.49
08/24 Card Purchase 08/23 Baker Distributing #670 Fort Worth TX Card 0542 623.97
08/24 Card Purchase 08/28 Wm Supercenter #5316 Saginaw TX Card 1720 154.77
08/24 Card Purchase 08/23 Baker Distributing #670 Fort Worth TX Card 0135 577.39
08/24 Card Purchase 08/23 Baker Distributing #670 Fort Worth TX Card 0135 9.28
08/25 Card Purchase 08/23 Haltom City-Permits 817-2227704 TX Card 0135 47,50
08/25 Card Purchase 08/23 The Home Depot #6814 FT Worth TX Card 0135 11.40
08/25 Card Purchase 08/25 Nita Cust Svc Online 972-818-6882 TX Card 1720 11.74
08/25 Card Purchase 08/24 Baker Distributing #670 Fort Worth TX Card 0135 51.45
08/25 Card Purchase 08/24 Goodman Distribution Fort Worth TX Card 0135 1,683.70
08/25 Card Purchase 08/24 Baker Distributing #670 Fort Worth TX Card 0135 511.75
08/25 Card Purchase 08/25 Att"Bill Payment 800-288-2020 TX Card 1720 199.50
08/26 Card Purchase 08/24 The Home Depot 46814 FT Worth TX Card 0542 59.56
08/26 Card Purchase 08/24 Paypal * Addington! 9 402-935-7733 CA Card 0135 140.00
08/26 Card Purchase 08/25 Baker Distributing #670 Fort Worth TX Card 0135 721.95
08/26 _Card Purchase 08/25 Baker Distributing #670 For Worth TX Card 0135 804.39
08/26 Card Purchase 08/25 Baker Distributing #670 Fort Worth TX Card 0735 804.39
08/26 Card Purchase 08/25 Baker Distributing #670 Fort Worth TX Card 0135 662.54
08/26 Card Purchase 08/25 Goodman 328 Richlandhilis TX Card 0135 363.55
08/26 Card Purchase 08/25 Baker Distributing #670 Fort Worth TX Card 0135 477.26

 

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DATE DESCRIPTION AMOUNT
08/26 Card Purchase 08/25 Baker Distributing #670 Fort Worth TX Card 04 35 613.99
08/26 Card Purchase 08/25 Baker Distributing #670 Fort Worth TX Card 0135 849.25
08/26 Card Purchase 08/25 Baker Distributing #670 Fort Worth TX Card 0135 27.30
08/29 Card Purchase 08/25 Paypal *Teachip 402-935-7733 CA Card 0135 27.94
08/29 Card Purchase 08/26 Auto Notes Watauga TX Card 0135 275.00
08/29 Card Purchase 08/26 Auto Notes Watauga TX Card 0135 275.00
08/29 Card Purchase 08/26 Auto Notes Watauga TX Card 0135 275.00
08/29 Card Purchase 08/26 Baker Distributing #670 Fort Worth TX Card 0135 20.15
08/29 Card Purchase 08/26 The Home Depot #6549 Lakeworth TX Card 0135 201.04
08/29 Card Purchase 08/26 Goodman Distribution Fort Worth TX Card 01 35 405.13
08/29 Card Purchase 08/26 Baker Distributing #670 Fort Worth TX Card 0135 41.84
08/29 Card Purchase 08/26 Baker Distributing #670 Fort Worth TX Card 0135 799.37
08/380 Card Purchase 08/29 Paypal *Personalcre P 402-935-7733 CA Card 0135 62.96
08/30 Card Purchase 08/29 Tricolor Auto Acceptance 2142697777 TX Card 0135 387.00.
08/30 Card Purchase 08/29 Baker Distributing #670 Fort Worth TX Card 0135 522.40
08/30 Card Purchase 08/29 Baker Distributing 4670 Fort Worth TX Card 0135 385.95
08/80 Card Purchase 08/29 Baker Distributing #570 Fort Worth TX Card 0135 853.47
08/380 Card Purchase 08/29 Baker Distributing #670 Fort Worth TX Card 0135 65.87
08/30 Card Purchase With Pin 08/30 Harbor Freight Tools North Richlan TX Card 0135 28.63
08/31 Card Purchase 08/30 Baker Distributing #670 Fort Worth TX Card 0135 654.86
08/31 Card Purchase 08/30 Baker Distributing #670 Fort Worth TX Card 0195 135.31
08/31 Card Purchase 08/30 Goodman 332 Grand Prairie TX Card 0135 6.91
08/31 Card Purchase 08/30 Baker Distributing #670 Fort Worth TX Card 0135 105.05
08/31 _ Card Purchase 08/30 Baker Distributing #670 Fort Worth TX Card 0135 213.77
Total ATM & Debit Card Withdrawals $99,285.33
| ATM & DEBIT CARD SUMMARY E
Dwayne P Bridges Card 0135

Total ATM Withdrawals & Debits $0.00

Total Card Purchases $87,868.86

Total Card Deposits & Credits $11,458.07
Travis L Humphrey Card 0542

Total ATM Withdrawals & Debits $0.00

Total Card Purchases $10,423.79

Total Card Deposits & Credits $9,518.00
Dana M Bridges Card 1720

Total ATM Withdrawals & Debits $0.00

Total Card Purchases $992.68

Total Gard Deposits & Credits $0.00
ATM & Debit Card Totals

Total ATM Withdrawals & Debits $0.00

Total Card Purchases $99,285.33

Total Card Deposits & Credits $20,976.07

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DATE DESCRIPTION AMOUNT
08/01 Tw Capital Tvt Capita B308731 CCD ID: 1010855279 $829.00
08/01 Forward Financin Ff 888-244-9099#14 CCD 1D: Rpp2952677 392.71
08/01 Privatepmisvcing Ppdpayment PPD ID: 6273471385 155.82
08/01 _ Privatepmisveing Ppdpayment PPD ID: 6273471385 44.18
08/02 _08/02 Online Transfer To Chk ...1863 Transaction#: 5567340360 1,000.00
08/02 _ 08/02 Payment To Chase Card Ending IN 6611 418.93
08/02 08/02 Payment To Chase Card Ending IN 4179 111.00
08/02 08/02 Online Transfer To Chk ...0598 Transaction#: 5567367885 2,000.00
08/02 Ally Ally Paymt 005924462446011 Web ID: 9833122002 2,000.00
08/02 _Nationstar _Nationsiar PPD ID: 8200503036 1,597.39
08/02. TwtCapital  Tvt Capita 8308731 CCD ID: 1010855279 829.00
08/02 Forward Financin Ff 888-244-9099#14 CCD 1D: Rpp2952677 392.71
08/02 CapitalOne Phone Pymt 621439879134481 CCD ID: 9541719987 317.46
08/02 _ Privatepmtsvcing Podnayment PPD ID: 6273471385 155.82
08/02 Bankcard Service Agent Pmi_000000735067231 Tel ID: 5650230001 80.00
08/02 _Privatepmtsvcing Ppdpayment PPD ID, 6273471385 44.18
08/03 _ 08/03 Online Transfer To Chk ...1363 Transaction#: 5571993694 4,000.00
08/03 Republic Underwr Ins Prem PPD ID: 1751221537 3,040.54
08/03  Tvt Capital  Tvt Capita 8308731 CCD |D; 1010855279 829.00
08/03 Forward Financin Fi 8388-244-9099#14 CCD 1D: Rpp2952677 392.71
08/03 Privatepmtsvcing Podpayment PPD 1D: 6273471385 155.82
08/03 Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
08/04 ADP Eepay/Garnwe Eepay/Garn 72104241711139U CCD ID: 9833006057 12,494.02
08/04. ADP Tax/401K  Tax/401K Rn39U 080532A01 CCD |D: 1223006057 4,794.65
08/04 Tvi Capital Tv Capita B308731 CCD ID: 1010855279 829.00
08/04 ADP Eenay/Garnwe Eepay/Garn 7210424171 1239U CCD |D: 9333006057 552.44
08/04 Forward Financin Ff 888-244-9099#14 CCD ID: Rpp2952677 392.71
08/04 ADP Eopay/Garnwe Eepay/Garn 66704819222739U CCD ID: 9555555505 309.47
08/04 __~ Privatepmtsvcing Ppdpayment PPD ID: 6273471385 165.82
08/04 _Privatepmtsvcing Ppdpayment PPD ID: 6273471385 44.18
08/05  TviCapital Tvi Capita B308731 CCD ID; 1010855279 829.00
08/05 Forward Financin Ff 888-244-9099#14 CCD ID: Rpp2952677 392.71
08/05 _ Privatepmisvcing Ppdpayment PPD 1D; 6273471385 155,82
08/05 ADP Payroll Fees ADP - Fees 2R39U 1291150 CCD ID: 9659605001 153.30
08/05 First Savings Payment 5439601 19055303 Tel ID: 1470535472 64.00
08/05 _Fsb Blaze Payment 518213000559014 Tel ID: 3420747944 §2.00
08/05 _Privatepmtsvcing Podpayment PPD ID: 6273471385 44.18
08/05 Discover Phone Pay PPD ID: 6510020270 35.00
08/08 08/06 Online Transfer To Chk ...1863 Transaction#: 5577931705 3,500.00
08/08 08/06 Online Transfer To Chk ...1363 Transaction#: 5577933389 300.00
08/08 _08/06 Online Transfer To Chk ...0598 Transaction#: 5577954304 1,000.00
08/08 08/07 Online Transfer To Chk ,,.0598 Transaction#: 5579316993 1,000.00
08/08 Barclaycard US Creditcard 391405462 Web ID: 2510407970 2,081.10
08/08 Discover E-Payment 1743 Web ID: 2510020270 1,145.98
08/08 Tvi Capital Tv! Capita B308731 CCD ID: 1010855279 829.00
08/08 Forward Financin Ff 888-244-9099#14 CCD 1D: Rpp2952677 392.71
08/08 Bankcard Service Agent Pmt_000000736829163 Te! ID: 5650230001 162.76
08/08 Direct Capital EDI Pymnts 001-0057687-000 CCD ID: 1020468001 149.60
08/08 CapitalOne — Phone Pymt 621839869019258 CCD ID: 9541719986 136.30
08/08 Legacy Visa Pymt Payment 4239801 10676094 Tel ID: 1470535472 64.00
08/09 08/09 Online Transfer To Chk ...0598 Transaction#: 5583691 466 2,000.00
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[ELECTRONIC WITHDRAWALS| (commer)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
08/09 Small Business _Icpaymeni PPD ID: 1131414876 2,114.49
08/09 TviCapital Tvt Capita B308731 CCD ID: 1010855279 829.00
08/09 Comeniiy Pay Sm Web Pymt P16220029945584 Web ID: 1133163498 303.00
08/08 Bankcard Service Agent Pmt 000000737405085 Web |D: 5650230001 203.42
08/09  Privalepmtsveing Ppdpayment PPD ID; 6273471385 200.00
08/08 Cabelas Visa__ Payments Web ID: 2470839081 194.00
08/09 Forward Financin Ff 888-244-9099 CCD ID: Rpp2952677 93.56
08/09 Barclaycard US Creditcard 391920281 Web ID: 2510407970 58.92
08/09 Bankcard Service Agent Pmt 000000737 407036 Tel ID: 5650230001 35.00
08/09 Jcpenney Cc _Jeptelpay 1 120996164N Tel ID: 9069872103 25.55
08/10 08/10 Online Transfer To Chk ...0598 Transaction: 5585940614 1,000.00
08/10 vt Capital Tvt Capita B308731 CCD |D: 1010855279 829.00
08/10 Model Finance CO Loan Pmt PPD |D: 1952292743 411.25
08/10  Privatepmtsveing Padpayment PPD ID: 6273471385 200.00
98/10  Datcu ACH Trnstr PPD ID: 0750813379 173.72
08/10 Privatepmisvcing Pedpayment PPD ID: 6273471385 155.82
08/11. ADP Eepay/Gamwe Eepay/Garn 94090048 160038U CCD ID; 9333006057 12,840.50
08/11. ADP Tax401K  Tax/401K Rn39U 081233A01 CCD ID: 1223006057 5,039.04
o8/i1 Tvt Capital Tvt Capita B308731 CCD ID: 1010855279 829.00
08/11 ADP Eepay/Gamwe Eepay/Garn 94090048160139U CCD ID: 833006057 552.44
08/11 ADP Eepay/Garnwe Eepay/Garn 93430038955539U CCD ID: 9555555505 301.47
08/11 Privatepmisvcing Ppdpayment PPD iD: 6273471385 155.82
08/12 Tvt Capital Tvt Capita B308731 CCD ID: 1010855279 829.00
08/12 CapitalOne Phone Pymt 622439879069442 CCD ID; 9541719987 346.00
08/12 Privatopmtsvcing Pedpayment PPD ID: 6273471385 155.82
08/12 ADP Payroll Fees ADP - Fees 2R39U_ 1588987 CCD |D: 9659605001 148.06
08/12 Credit Systems | Stm 21329336 Tel ID: 1752435999 32.24
08/15 ‘Tvt Capital _Tvt Capita B308731 CCD ID: 1010855279 829.00
08/15 Its Usataxpymt PPD ID: 3387702000 350.00
08/15 Direct Capital EDI Pymnts-001-0057687-001 CCD ID; 102046800 | 335.00
08/15  Privatepmtsvcing Podpayment PPD ID: 62738471385 200.00
08/15 Privalepmtsvcing Pedpayment PPD ID: 6273471385 132.54
08/16 08/16 Online Transfer To Chk ,..0598 Transaction#: 5599660672 1,000.00
08/16  Comenity Pay Sm Web Pymt_P16227031217618 Web ID: 1183163498 1,500.00
08/16 Tvt Capital Tvt Capita 8308731 CCD ID: 1010855279 829.00
08/16 Privateomisvcing Ppdpayment PPD ID: 6273471385 200.00
08/16  Watersbend Hoa_1Hoa 8831386 Web ID: 1Hoa 183,81
08/17 Tvt Capital Tvt Capita B308731 CCD ID; 1010855279 829.00
08/17 Privatepmtsvcing Ppdpayment PPD ID: 6273471385 200.00
08/18 08/18 Online Transfer To Chk ...1863 Transactions: 5604002283 100,00
08/18 ADP Eepay/Garnwo Eepay/Gam 92560052161839U CCD |D: 9333006057 12,196.64
08/18 ADP Tax/401K Tax/401K Rn39U 081934A01 CCD |D: 1223006057 4,695.07
08/18 TvtCapital Tvt Capita B308731 CCD |D: 1010855279 829.00
08/18 ADP Espay/Garnwe Eepay/Gam 92560052161439U CCD ID: 9333006057 294.21
08/18 ADP Eepay/Garnwe Eepay/Gam 94090051532039U CCD ID: 9555555505 265.64
08/18  Privatepmtsvcing Ppdpayment PPD ID: 6273471385 200.00
08/49 Tvi Capital Tvi Capita B308731 CCD ID: 1010855279 829.00
08/19  Privatepmtsvcing Ppdpayment PPD ID: 6273471385 200.00
08/19 ADP Payroll Fees ADP - Fees 2A39U_ 1948851 CCD ID: 9659605001 153,30
08/22 08/21 Online Transfer To Chk ...0598 Transaction#: 5610081579 2,000.00
08/22 Utica National_Ins Prom PPD ID: 1150476880 2,058 00
Page 17 ot 14

Bridges 000519
KAPITUS EX. 12 - 033

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CHASES

July 30; 2016 through August 31, 2016
account Sumter RM 28

 

[ELECTRONIC WITHDRAWALS, (continues)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
08/22 Ally Ally Paymt 005924462446011 Web !D: 9833122002 2,000.00
08/22 TvtCapital Tvt Capita 8308731 CCD 1D: 1010855279 829,00
08/22  AFS Accepiance L Auto Loan PPD ID: 1743201007 528.81
08/22 _Privalepmisvcing Ppdpayment PPD ID: 6273471385 200.00
08/23 Tvt Capital _Tvt Capita B308731 CCD ID: 1010855273 629 00
08/23  CapitatOne Phone Pymt 623539879118077 CCD ID: 9541719987 322.15
08/23 Proteciionone Payment PPD ID: 3931064579 297.80
08/23 Privalepmtsvcing Pedpayment PPD ID: 6273471385 200.00
08/24  Wex Inc Fleet Debi 0453009114893 CCD ID: 0841425616 6,000.14
08/24 Tvt Capital Tvt Capita B308731 CCD ID: 1010855279 829.00
08/24 Nationwide P&C EDI Pymnts PPD ID: 1314177102 704.58
08/24 _ Privatepmtsvcing Ppdpayment PPD ID: 6273471385 200.00
08/25 08/25 Online Transfer To Chk ...1363 Transaction#: 5616139356 200,00
08/25 08/25 Online Transfer To Chk .,.0598 Transaction#: 5616139518 2,000.00
08/25 ADP Eepay/Garnwe Eepay/Garn 92630054643039U CCD ID: 9333006057 11,315.62
08/25 ADP Tax/401K  Tax/401K An39U 082635A01 CCD ID: 1223006057 4,073.44
03/25 Twt Capital Twi Capita B308731 CCD ID: 1010855279 829.00
08/25 ADP Eepay/Garnwe Eepay/Garn 92630054643139U CCD ID: 9333006057 294.21
08/25 ADP Eepay/Gamwe Eepay/Gam 92840047887439U CCD ID: 9555555505 220.22
08/25 _ Privatepmtsvcing Ppdpayment PPD ID: 6273471385 200.00
08/26 08/26 Online Transfer To Chk ...0598 Transaction#: 5620579199 100.00
08/26  CapitalOne — Phone Pymt 623839879024180 CCD ID; 9541719987 900.00
08/26 Tvt Capital Tvt Capita B308731 CCD ID; 1010855279 829.00
08/26 _Privatepmisvcing Pedpayment PPD ID: 6273471385 200.00
08/26 ADP Payroll Fees ADP - Fees 2R39U 3340408 CCD ID: 9659605001 148.06
08/26 Bankcard Service Agent Pmi G00000742042492 Tel ID: 5650230001 14.06
08/30 Suntrust Ln 656 Ic Payment PPD ID: 1592606930 1,204.95
Total Electronic Withdrawals $146,824.57
OTHER WITHDRAWALS
DATE DESCRIPTION AMOUNT
08/16 Deposited Item Returned NSF 1St 0990098726 # of $75.00

lternsO0001 Ck#:0000000001 Dep Amt0000309500 Dep

Date081116Ck Amt0000007500
08/22 Deposited Item Returned Account Closed 099008472 # of 75.00

ltams00001 Ck#:0000004043 Dep Amt0000192000 Dep

Date082516Ck Amt0000007500
08/30 Deposited Item Returned NSF 1St 089008551 # of 75.00

lterms00007 Ck#:0000004825 Dep Amt0000192000 Dep

Date082516Ck Amt0000007500
Total Other Withdrawals $225.00

FEES
DATE DESCRIPTION AMOUNT
08/03 Service Charges For The Month of July $301.80
Total Fees $301.80
Pags 12 af 14

Bridges _000520
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CHASE &

 

 

 

July 30, 2016 through August 31, 2016
account Number, [E652

 

 

 

 

 

 

 

 

 

 

DAILY ENDING BALANCE
_DATE AMOUNT DATE AMOUNT DATE _ AMOUNT
08/01 $66,170.86 08/114 20,435.40 08/23 47,948.89
08/02 63,056.32 08/12 47,831.43 08/24 43,671.57
08/03 60,186.34 08/15 42,502.75 08/25 27,077.38
08/04 41,689.91 08/18 40,391.62 08/26 25,580.90
08/05 58,364.32 08/17 40,581.63 08/29 26,482.97
08/08 44,304.99 08/18 20,506.98 08/30 24,219.24
08/09 40,772.08 08/19 59,882.68 08/31 23,509.71
08/10 39,653.09 08/22 54,588.91
| SERVICE CHARGE SUMMARY |

Monthly Service Fee $95.00

Other Sorvice Charges $50.00

Total Service Charges $145.00 Will be assessed on 9/6/16

You were assessed a monthly service fee on your Chase Platinum Business Checking account because you did not

maintain the required relationship balance.
| SERVICE CHARGE DETAIL|

DESCRIPTION VOLUME ALLOWED CHARGED PRICE/ UNIT TOTAL

Monthly Service Fee

Monthly Service Fee 4 $95.00 $95.00

No Hassle Fees

Stop Payments - Manual 2 Unlimited 0 $30.00 $0.00

Stop Payment - Online 1 Unlimited 0 $25.00 50.00

Return Item 3 Unlimited 0 $12.00 $0.00

Other Service Charges:

Electronic Credits

Electronic Items Deposited 442 Unlimited 0 30.40 $0.00

Electronic Credits 35 Unlimited 0 $0.40 §0.00

Credits

Non-Electronic Transactions 450 500 0 $0.40 $0.00

Branch Deposit - Immediate Verification $7 385 $25,000 So $0.0025 $0.00

Cash Management Services

Quick Deposit Multi Feed Maint 1 9 | $50,00 $50.00

Subtotal Other Service Charges (Will be assessed on 9/6/16) $145.00

ACCOUNT 000000565026528

Monthly Service Fee

Monthly Service Fee }
No Hassle Fees

Stop Payments - Manual 2
Stop Payment - Online 1
Return Iter 3

Other Service Charges:
Electronic Credits

Electronic Items Deposited 442
Electronic Credits 35
Credits

Non-Elestronic Transactions 450

Branch Deposit - Immediate Verification
Cash Management Services
Quick Deposit Multi Feed Maint \

$7,365

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CHASE &

July 30, 2016 thro t 31,2016
Account Number: 8

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Cell or write us at the phone number or address
on the front a! this statement (non-personal accoun!s contact Customer Service) if you think your statement or roceipt 1s incorrect or if you neced
more intormation about 2 transfer listed on jhe statement or receipt, We must hear from you no latar than 60 days after We sent you the FIRST
statornent on which the problem or error appeared. Be prepared to give us the following information:

« Your name-and account number

e The dollar amount of the suspected error a ;

8 _ Adesoription of the error of tansier you are unsure of, why you believe il is an error, oF why you need more informaton.

We will investigale your complaint and will cofrect any error promptly. If we take more than 10 business days (or 20 business days for new
accounts} to. do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
us fo complete our investigation

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Conlaci the bank immediately Iryour statement is
incorrect or II you need more information about any non-electronic transactions (checks or deposits) on this statement, |i any such ertor appears,
you must notify the bank in writing no later ihan 30 days after the statemenl was mace available to you. For more complate details, see thes
Account Rules and Regulations or other applicable account agreement that governs your account.

t= JPMorgan Chase Bank, N.A. Member FDIC
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JPMorgan Ghase Bank, N.A.
P O Box 659754
San Antonio, TX 78265 - 9754

WavelabbseUbvccelabesebebecdDatesbeclDicebeledsleedlballl
00005228 DRE 201 210 27916 NNNNNNNNNNN = 1000000000 D2 0000
LICENSE TO CHILL HEATING AND AIR INC.

DBA JUST CHILLIN HEATING AND AIR

1150 BLUE MOUND RD W STE 201

HASLET TX 76052-3865

We're making changes to our ATMs

Here's whal you can expect:

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September 01, 2016 through September 30, 2016
conn Number 28

 

CUSTOMER SERVICE INFORMATION

 

Web site:
Service Center:

Deaf and Hard of Hearing:

Para Espanok
International Calls:

= Weill not charge you a fee when you make a cash deposit at an ATV. This means:
0 Wewill not include cash deposits made ai our ATMs to the total cash you can deposit before you are

charged a fee for cash deposits, and

www.Chase.com
4-877-425-8100
1-800-242-7383
1-888-622-4273
1-713-262-1679

o Even after you exceed the total, we will not charge you a fee for cash deposited at an ATM.

* We're updating our ATMs and when you use one that’s updated:
0 It will give you access to all of your linked business checking and savings accounts.
o If acardholder within your business has more than one Chase business debit or ATM card, they'll have a
daily cardholder withdrawal limit that applies across all cards held by that cardholder. The maximum daily
cardholder withdrawal limit is equal to the highest daily card withdrawal limit of any card tne cardholder has
with us, Withdrawals you make at any ATM other than a Staffed ATM count toward your daily cardholder
withdrawal limit, regardless of the card you are using,

Also, starting November 21, 2016, you'll no longer be able to use personal identification to get a code from a branch

employee so you Can access your accounts at an ATM in @ branch,

We've revised the Deposit Account Agreement to reflect these changes. You can gei the latest Deposit Account Agreement
on chase.com, al a branch or by request wnen you call us. The parts of the Deposit Account Agreement that are changing

will be in the Change in Terms section

We continue to look for ways to give you more flexibility at the ATM, so you may be hearing from us again about additional
changes. If you have questions, please call the number on your statement.

 

 

 

 

CHECKING SUMMARY Chase Platinum Business Checking

 

INSTANCES AMOUNT
Beginning Balance $23,508.71
Deposits and Additions 73 210,602.74
Checks Paid 34 -293,503.59 _
ATM & Debit Card Withdrawals 176 - 61,643.24
Electronic Withdrawals 63 - 107,548.47
Other Withdrawals 1 - 10,000.00
Fees 1 - 145.00
Ending Balance 348 $25,272.15

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CHASE &

September 01, 2016 through September 30, 2016

Account Number: [S528

Your Chase Platinum Business Checking account provides:

No transaction fees for unlimited olectronic deposits (including ACH, ATM, wire, Chase Quick Deposit)

e 500 debits and non-slectronic deposits (those made via check or cash in branches) per siatement cyclo
« §25,000 In cash deposits per stalement cycle
e Unlimited return deposited items with no fee

There are add

Agreement for more information.

 

 

 

itional fee waivers and benefits associated with your account — please refer to your Deposit Account

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DEPOSITS AND ADDITIONS

DATE DESCRIPTION AMOUNT
09/01 Deposit 854855715 $7,445.00
09/01 Square Inc 460901S2 204135242223 OCD ID: Wimsguaret 2,548.29
09/02 Gard Purchase Return 09/01 Baker Distributing #670 Fort Worth TX Card 0135 273.78
09/02 Remote Online Deposit 4 2,375.00
09/02 Remoie Online Deposit 4 205.00
09/02 Servicemaster Payables 02059364 CCD |\D: 9071644000 25,981.84
09/02 Square Inc 760902S2 1204185570802 CCDID: Wimsquare! 351.43
09/06 Gard Purchase Return 09/02 Amazon Mkiplace Pmts Amzn.Com/Bill WA Card 0135 70.50
09/06 Remote Online Deposit 4 4,925.00
09/06 Square Inc 16020582 1204136214977. CCD ID: Wimsquaret 502.36
09/06 Square |nce 16090382 L204135886003 CCD ID; Wimsquare| 209.18
09/06 Square |nc 160906S2 1204136380096 CCD ID; Wimsquarel 83.70
09/07 Card Purchase Return 09/06 Baker Distributing #670 Fort Worth TX Card 0135 570.38
09/07 Remote Online Deposit 4 4,600.00
09/07 Square Inc 16090782 1204136680524 CCD ID: Wimsquarei 792,69
09/08 Remote Online Deposit 4 700.00
09/08 Deposit 854855853 212.00
09/08 Square {nc 16090882 1204136999543 CCD ID: Wimsquarel 440.37
og/09 Remote Online Deposit 4 5,480.00
ag/og Servicemaster Payables 02063693 CCD |D: 8071644000 23,987.74
o9/0g Square Inc 160909S2 1204137380371 CCD ID: Wimsquarel 591.90
og/12 Remote Online Deposit 4 3,400.00
09/12 Remote Online Deposit 4 675.00
09/2 Online Transfer From Chk ...0598 Transaction#: 5658129845 2,000.00
09/12 Square Inc 160912S2 1204137988183 CCD ID: Wimsquarei 276.41
09/12 Square Inc 160910S2 1204137650949 CCD ID: Wimsauare} 250,96
09/13 Card Purchase Return 09/12 Baker Distributing #670 Fort Worth TX Card 0135 569.47
09/13 Remote Online Deposit 4 669.99
09/13 Square Inc 160913S2 1204138160792 CCDID: Wimsquaret 605.23
09/14 Remote Online Deposit 4 2,765.00
09/14 Deposit 829265290 515.00
09/14 Deposit 829265289 420.00
09/14 Square Inc 460914S2 1204138477615 CCDID: Wimsquarel 1,230.79
09/15 Card Purchase Return 09/14 Baker Distributing #670 Fort Worth TX Gard 0135 491.35
09/15 Remote Online Deposit 4 900.00
09/15 Square |nc 160915S2 1204138799583 CCDID: Wimsquaret 873.40
09/16 Deposit 810515316 1,365.00
09/16 Servicemaster Payables 02068946 CCD ID: 9071644000 22,596.06
09/16 Square Inc 160916S2 1204139131212 CCD ID: Wimsquarel 2,506.83
09/19 Card Purchase Return 09/16 Msc 57 Fort Worth Hvac Fort Worth TX Card 0135 227.36
09/19 Remote Online Deposit 4 7,345.00
09/13 Deposit 844048153 630.00
og/19 Square Inc 160917S2 1204139450636 CCD ID: Wimsquaret 5,112.32
o9/19 Square Inc 16091952 1204139786805 CCD ID: Wimsquaret 126.97

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DEPOSITS AND ADDITIONS| “ome?

 

 

September 01, 2016 th
Account Number:

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DATE DESCRIPTION AMOUNT
09/20 Deposit 844048172 1,920.00
09/20 Remote Online Deposit 4 850.00
09/20 Sguare Inc 460920S2 1204139961186 CCD 1D: Wimsquarel 633.82
09/21 Remote Online Deposit 4 915.00
09/21 Deposit 844168337 419,00
09/21 Square Inc 160921S2 1204140279200 CCD ID: Wimsquarei 562.00
09/22 Remote Online Deposit 4 1,970.00
09/22 Square Inc 160922S2 1204140596849 CCD 1D: Wimsquaret 210.88
09/23 Remote Online Deposit 4 1,995.00
09/23 Deposit 844048225 1,240.00
09/23 Servicemaster Payables 02073923 CCD |D: 9071644000 18,955.86
09/23 Square Inc 160923S2 1204140927146 CCD ID: Wimsquarel 781.17
09/26 Remote Online Deposit 4 2,870.00
09/26 Square |nc 160926S2 1204141584598 CCD ID: Wimsquarel 3,618.79
09/26 Square Inc 160924S2 1204141247118 CCD ID: Wimsquaret 663.63
09/27 Card Purchase Return 09/26 Baker Distributing #670 Fort Worth TX Card 0135 1,178.94
09/27 Remote Online Deposit 4 8,060.00
09/27 Remote Online Deposit 4 150.00
09/27 Square Inc 16092782 1204141757250 CCD ID: Wimsquaret 4,601.09
09/28 Remote Online Deposit 4 2,085.00
09/28 Remote Online Deposit 4 70.00
09/28 Square Inc 460928S2 1204142075406 CCD ID: Wimsquare1 347.53
09/29 Remote Online Deposit 4 980.00
09/29 Remote Online Deposit 4 75.00
o9/29 Square Inc 160929S2 1204142397545 CCD 1D: Wimsquare1 1,504.36
09/30 Deposit 843928460 3,775.00
09/30 Remote Online Deposit 4 300.00
09/30 Servicemaster Payables 02079225 CCD ID: 9071644000 21,990.38
09/30 Square Inc 160930S2 1204142727729 CCDID: Wtmsquare1 1,181.99
Total Deposits and Additions $210,602.74
CHECKS PAID
DATE
CHECK NO. DESCRIPTION PAID AMOUNT
6576 “ Teaat 45 aburges pausotl 09/01 $290.13
6578 ** Cas Mi £ TD “ = Record ing enAfend Be;' aye 09/13 80.00
6579 “ reavo Rendon —S u buwerk 09/02 1,425.00
6582 *A Revi Stuy Ozer, ~ K. e at™oot3o} Segt Len oe im 09/06 2,775.00
6584 ** joer Stuur hecn-Stere pater use T 09/06 197.52
6585 * AlRerily “~Aorlch — BASS oiat 09/08 203.03
6586 * Pedy Beucian — Lustalle 09/09 1,450.00
6587 _* Sand ued tar wet =~ A is pBy meet wn L au Shall o9/15 150.00
6588 * C Ma wr, (TO - Ladies 1) Veswttlo Kis nha 09/20 $50.00
6589 A Pedye Renton ~ Lacpalls 09/16 2,110.00
6590 * 0916 Cynthia Fs oma » o ~Pauh ote 09/16 96.00
6591_* |)ivers 3 Siew Pur Cher, R~ 9. Fred 09/30 5,000.00
6592 led r . Wendttrs ~ S45 F =i iS 09/23 1,509.09
6593_4 Yeden Kewhon— Lastal > 99/30 1,425.00
6595 * A 09/30 f Sralna Aeme@adari2 — Poodre Celine Koop’ 09/30 954.17
10453 ** Cuntus 3 Ssparze * g 09/06 502.87
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CHASE Go September 01, 2016 through September 30, 2016
Account Number: 52:
CHECKS PAID |_(omtinuec)
DATE

CHECK NO, DESCRIPTICN PAID AMOUNT
10454 A Thamas FE Sahn sen 09/02 530.27
10455 4 (Asbbie Ties eS 09/02 844.32
10456 A is)t] liom 2 OSter 09/06 556.95
10457 4 09/02 Vehn © Sten~< 09/02 518.19
10458 ACusathia § Feparxa 09/12 410.05
10459 4 Thoma S F Sohwiern 09/12 539.59
10460 “ [bebe D Sonea 09/12 858.94
10461 4 (aol saa Os fer o9/0g 435,98
10462 A 09/09 Sahu £) Stene 09/039 715.12
10463 “fun thio \$sfarzee 09/20 340.43
10464 4 Thamas E Soha son 09/16 443.28
10465 “lAabbic DS Joh es 09/16 738.89
10466 4 0917 Taha O Slane 09/19 681,46
10467 “lCunthee D Sanar ee 09/27 502.87
10468 “Tht win S & eshei Som 09/26 459.91
10469 4 Pwhhied Yenes 09/26 738.88
10470 _* 09/23 “bh 0 Sioned 09/23 715.12
10474 7A 09/30 “thw O Sfemne 09/30 664.62
Total Checks Paid $29,503.59

lf you see a description in the Checks Paid section, it means that we received only electronic information about the check,
not the original or an image of the check. As a result, we're not able to return the check to you or show you an image.

* All of your recent checks may not be on this statement, ellher because they haven't cleared yet or they were listed on
one of your previous statements.

4 An image of this check may be available for you to view on Chase.com.

 

[ATM & DEBIT CARD WITHDRAWALS|

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
09/01 Card Purchase 08/31 Craigslist.Org 415-399-5200 CA Card 0135 $45.00
09/01 Card Purchase 08/31 Goodman Distribution Fort Worth TX Card 0135 309.96
09/01 Card Purchase 08/31 Paypal *Canvus,Com 4029357733 BC Card 0135 25.98
09/01 _ Card Purchase 08/31 Bcs*Town of Trophy Clu Trophy Club TX Card 0135 125.00
09/01 _ Card Purchase 08/31 Bes*Town of Trophy Clu Trophy Club TX Card 0135 75.00
09/01 Card Purchase 08/31 Baker Distributing #670 Fort Worth TX Card 0135 10.56
09/01 Card Purchase 08/31. Baker Distributing #670 Fort Worth TX Card 0135 1,266 16
09/01 _ Card Purchase 08/31 Baker Distributing #670 Fort Worth TX Card 0135 864.63
09/01 Card Purchase 08/31 Baker Distributing #670 Fort Worth TX Card 0135 406.93
09/01 Card Purchase With Pin 09/01 The Home Depot #6814 FT Worth TX Gard 0135 8.62
09/01 __ Card Purchase With Pin 09/01 The Home Depot #6549 Lakeworth TX Card 0135 80.90
09/02 Card Purchase 09/01 Health Grp 855-7070651 FL Card 0542 39,97
09/02 Card Purchase 09/01 Health Grp 855-7070651 FL Card 0542 41.97
09/02 Card Purchase 09/01 Baker Distributing #670 Fort Worth TX Card 0135 694,93
09/02 Card Purchase 09/01 Baker Distributing #670 Fort Worth TX Card 0135 241.83
09/02 Card Purchase 09/01 Baker Distributing #670 Fort Worth TX Card 0135 585,59
09/02 _ Card Purchase 09/01 Goodman Distribution Fort Worth TX Card 0135 531.18
09/02 Card Purchase 09/01 Baker Distributing #670 Fort Worth TX Card 0135 622.88
09/02 Card Purchase 09/01 Baker Distributing #670 Fort Worth TX Card 0135 664.63
09/02 Card Purchase 09/01 Health Care Horizons 855-5565052 NY Card 0542 484.76
09/02 Card Purchase With Pin 09/02 Tne Home Depot #0537 Euless TX Card 0135 45.70
09/06 Card Purchase 09/02 Trane Supply-1 15728 817-831-4291 TX Card 0135 708,58

 

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CHASE &

September 01, 2016 through Se ember 30, 2016
Account Number: a

 

[ATM & DEBIT CARD WITHDRAWALS] (connec)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
09/06 Card Purchase 09/01 The Home Depot #0542 FT Worth TX Card 0135 38.09
09/06 Gard Purchase 09/02 Firstpremier800987552 800-987-5521 SD Card 1720 51.00
os/06 — Card Purchase 09/08 Att* Bill Payment 800-288-2020 TX Card 1720 199.51
og/06 Card Purchase 09/02 Clw Water Ivr 817-392-8230 TX Card 1720 177.79
09/06 Card Purcnase 08/02 Baker Distributing #670 Fort Worth TX Card 0135 33.03
09/06 Card Purchase 09/02 Sheffield Financial Ll 336-766 1388 NC Card 1720 385.14
09/06 Card Purchase 09/02 Goodman Distribution Fort Worth TX Card 0135 541,36
09/06 Card Purchase 09/02 Baker Distributing #670 Fort Worth TX Card 0135 572,74
09/06 Card Purchase 09/02 Baker Distributing #670 Fort Worth TX Card 0135 604.43
09/06 Card Purchase 09/02 Fleetmatics USA, LLC 781-5774642 MA Card 0135 746.20
09/06 Card Purchase 09/02 Baker Distributing #670 Fort Worth TX Card 0135 196.58
09/06 Card Purchase 09/02 Eagle Mountain Marina 817-237-5588 TX Card 0135 734.72
o9/06 Card Purchase 09/05 Auto Notes Watauga TX Card 0135 420.00
09/06 Card Purchase 09/05 Auto Notes Watauga TX Card 0185 395.00
09/06 Card Purchase 09/05 Paypal *Eqp575 402-935-7733 CA Card 0135 209.96
09/05 Card Purchase With Pin 09/08 The Home Depot #6814 FT Wonh TX Card 0135 152.33
09/07. Card Purchase 09/06 Carnival Cruise Tkt/Res Miami FL Card 0542 2,763.44
09/07 Card Purchase 09/06 Baker Distributing #670 Fort Worth TX Card 0135 26.55
og9/07__ Card Purchase 09/06 Baker Distributing #670 Fort Worth TX Card 0135 186.96
09/07. Card Purchase 09/06 Baker Distributing #670 Fort Worth TX Gard 0135 741.09
09/07 ‘Card Purchase OS/06 Baker Distributing #670 Fort Worth TX Card 0135 228.58
09/07 _ Card Purchase 09/06 Baker Distributing #670 Fort Worth TX Card 0135 59.54
09/07 _ Card Purchase 09/06 Baker Distributing #670 Fort Worth TX Card 0135 1,214.54
09/07. Card Purchase With Pin 09/07 The Home Depot #0587 Euless TX Card 0135 14.77
09/08 Card Purchase 09/06 The Home Depot #6814 FT Worth TX Card 0135 186.17
09/08 Card Purchase 09/07 Samantha Springs Bott 817-379-9949 TX Card 0135 41.21
09/08 Card Purchase 09/06 Kid Care Pediatrics 817-3375503 TX Card 1720 36.00
09/08 Card Purchase 09/07 G&B Financing 817-367-6702 TX Card 0135 432.27
09/08 Card Purchase 09/07 Baker Distributing #670 Fort Worth TX Card 01 35 270.65
09/08 Card Purchase 09/07 Baker Distributing #670 Fon Worth TX Gard 0135 544.09
09/08 Card Purchase 09/07 Baker Distributing #670 Fort Worth TX Card 0135 613.99
09/08 Card Purchase 09/07 Goodman Distribution Fort Worth TX Card 0135 455.43
09/08 Recurring Card Purchase 09/08 Charter Gomm 888-438-2427 TX Card 0135 666.33
09/09 Card Purchase 09/08 Trane Supply-115728 817-831-4291 TX Card 0135 178,26
09/09 Card Purchase 09/08 Craigslist.Org 415-399-5200 CA Card 0135 45.00
09/08 Card Purchase 09/07 Haltom City-Permits 817-2227704 TX Card 0135 47.50
09/09 Card Purchase 09/08 Cintas 492 800-2468271 TX Card 0135 217.62
09/09 Card Purchase 09/08 Cintas 492 800-2468271 TX Card 0135 429.02
09/09 Card Purchase 09/08 Baker Distributing #670 Fort Worth TX Card 0135 1,920.24
o9/09 Card Purchase 09/08 Baker Distributing #670 Fort Worth TX Card 0135 54.49
og/09 Card Purchase 09/08 Baker Distributing #670 Fort Worth TX Card 0135 763.39
og/og Card Purchase 09/08 Baker Distributing #670 Fort Worth TX Card 0542 505.47
og/og Card Purchase 09/08 Baker Distribuling #670 Fort Worth TX Card 0135 185.65
09/12 Card Purchase 09/09 Auto Notes Watauga TX Card 0135 275,00
09/12 Card Purchase 09/09 Auto Notes Walauga TX Card 0135 275,00
09/12 Card Purchase 09/09 Auto Notes Watauga TX Card 0135 275.00
os/i2 Card Purchase 09/09 Baker Distributing #670 Fort Worth TX Card 0135 872.82
09/12 Card Purchase 09/08 Baker Distributing #670 Fort Worth TX Card 0135 705.51
09/12 Card Purchase 09/09 Baker Distributing #670 Fort Worth TX Card 0135 528.06
ogs/i2 Card Purchase 09/09 Baker Distributing #670 Fort Worth TX Card 0135 627.36
09/12 Card Purchase 09/09 Msc 57 Fort Worth Hvac Fort Worth TX Card 0135 227,36
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CHASE &

September 01, 2016 through September 30, 2016
Account Number: 28

 

[ATM & DEBIT CARD WITHDRAWALS} “ontinuec)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
09/12 Card Purchase 09/11 Aca Cars Financial 800-462-2123 OR Card 0542 38,39
09/12 Card Purchase 09/10 Paypal *Kentvu2178 402-935-7733 CA Card 0135 150.00
09/12 Recurring Card Purchase 09/10 AT&T“Bill Payment 800-331-0500 TX Card 0135 1,106.33
09/13 Card Purchase 09/12 Tricolor Auto Acceptance 2142697777 TX Card 0135 387.00
09/13 Card Purchase 09/12 Baker Distributing #670 Fon Worth TX Card 0135 773,22
09/13 Card Purchase 09/12 Baker Distributing #670 Fort Worth TX Card 0135 110.65
09/13 Card Purchase 09/12 Baker Distributing #670 Fort Worth TX Card 0135 698.42
09/13 Card Purchase 09/12 Baker Distributing #670 Fort Worth TX Card 0542 258.17
09/13 Card Purchase 09/12 Nest Labs 855-469-6378 CA Card 0135 37.31
09/13 Card Purchase 09/13 Nita Cust Svc Online 972-818-6882 TX Card 0135 1.58
09/13. Card Purchase 09/13 Ntta Cust Sve Online 972-818-6882 TX Card 0135 20.65
09/13 Card Purchase 09/13 Ntta Cust Svc Online 972-818-6882 TX Card 0135 3.38
09/13 Card Purchase 09/13 Ntta Cust Sve Online 972-818-6882 TX Card 0135 73.08
09/13 Card Purchase 09/13 Nita Cust Sve Online 972-818-6882 TX Card 0135 25.62
09/14 Card Purchase 09/12 The Home Depot #6814 FT Worth TX Card 0135 41.93
09/14 Card Purchase 09/13 Baker Distributing #670 Fort Worth TX Card 0135 1,163.40
09/14 Card Purchase 09/13 Conns.Com 800-280-1514 TX Card 0135 110.74
09/14 Card Purchase 09/13 Baker Distributing #670 Fort Worth TX Card 0135 614.97
09/14 Card Purchase 09/13 Baker Distributing #670 Fort Worth TX Card 0135 487.79
09/14 Card Purchase 09/13 Baker Distribuling #670 Fort Worth TX Card 0135 641.88
09/14 Card Purchase 09/13 Baker Distributing #670 Fort Worth TX Card 0542 30.55
09/14 Card Purchase 09/13 Baker Distributing #670 Fort Worth TX Card 0135 176.21
09/15 Card Purchase 09/14 Staples Direct 800-8333330 MA Card 0135 61.10
09/15 Card Purchase 09/14 Baker Distributing #670 For Worth TX Card 0135 583.44
09/15 Card Purchase 09/14 Baker Distributing #670 Fort Worth TX Card 0135 987.89
09/16 Card Purchase 09/14 The Home Depot #6814 FT Worth TX Card 0135 25.36
O96 Card Purchase 09/15 Rent Ta Own Container L Denton TX Card 0135 225.52
09/16 Card Purchase 09/16 Ciw Development Dept 817-392-2522 TX Card 0135 37.44
09/6 Card Purchase 09/15 Goodman Distribution Fort Worth TX Card 0135 700,67
o9/16 Card Purchase 09/15 Goodman Distribution Fort Worth TX Card 0135 46.01
09/16 Card Purchase 09/15 Baker Distributing #670 Fort Worth TX Card 0135 119.58
O9/16__ Card Purchase 09/15 Baker Distributing #670 Fort Worth TX Card 0135 788.28
O9/16 Card Purchase 09/15 Baker Distributing #670 Fort Worth TX Card 0135 864.08
09/16 Card Purchase 09/15 Txu*Bill Payment 800-242-9113 TX Card 0135 871.33
09/16 Card Purchase 09/15 Ntta Cust Svc Online 972-818-6882 TX Card 0135 32.78
09/16 Card Purchase 09/15 Baker Distributing #670 Fort Worth TX Card 0542 100.79
09/19 Card Purchase 09/15 The Home Depot #6814 FT Worth TX Card 0135 15.84
023/19 Card Purchase 09/16 Goodman Distribution Fort Worth TX Card 0135 391.64
09/18 Card Purchase 09/18 Baker Distributing #670 Fon Worth TX Card 0135 361.70
09/19 Card Purchase 09/16 Goodman Distribution Fort Worth TX Card 0135 1,323.64
09/19 Card Purchase 09/16 Conns.Com 800-280-1514 TX Card 0135 312.94
09/19 Card Purchase 09/16 Conns.GCom 800-280-1514 TX Card 0135 487.16
O9/19 Card Purchase 09/16 Goodman Distribution Fort Worth TX Card 0135 425.42
09/19 Card Purchase 09/16 Johnson Supply N Be 817-834-9675 TX Card 0135 1,708.39
09/19 Card Purchase 09/16 Paypal *Luke4816 402-935-7733 CA Card 0135 69.95
09/19 Card Purchase 09/18 Auto Notes Watauga TX Card 0135 495.00
039/19 Card Purchase 09/18 Auto Notes Waiauga TX Card 0135 500.00
09/18 Card Purchase With Pin 09/18 The Home Depot #6814 FT Worth TX Card 0135 58.03
09/19 Recurring Card Purchase 09/17 Sxm*Siriusxm.Com/Acct 888-635-5144 NY Card 0135 165.56
09/19 Recurring Card Purchase 09/15 Desco. LLC 800-226-7529 FL Card 0135 150,00
09/20 Card Purchase 09/19 1317 Insco Fort Worth 817-8345542 TX Card 0542 170.20
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CHASE &

September 01, 2016 through September 30, 2016

Account Number: SS

 

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DATE DESCRIPTION AMOUNT
09/20 Card Purchase Os/19 Paypal *Northwaysma 402-935-7733 CA Card 0135 111.60
09/21 Card Purchase 08/19 The Home Depot #6814 FT Worth TX Card 0135 22.19
09/21 Card Purchase 09/20 Conns.Com 800-280-1514 TX Card 0135 §2.30
09/21 Gard Purchase 09/20 Baker Distributing #670 Fort Worth TX Card 0135 134.44
09/21 Card Purchase With Pin 09/21 The Home Depot #6814 FT Wonh TX Card 0135 156.61
09/22 Card Purchase 09/21 Baker Distributing #670 Fort Worth TX Card 0135 813.67
09/22 Card Purchase 09/21 Ge Haltom City 817-8384300 TX Card 0135 491.30
09/22 Card Purchase 09/22 Nita Cust Sve Online 972-818-6882 TX Card 0135 24.25
09/22 Card Purchase With Pin 09/22 The Home Depot #6814 FT Worth TX Card 0135 22.17
09/23 Card Purchase 09/21 Firstpremier800987552 800-987-5521 SD Card 1720 8.25
09/23 Card Purchase 09/22 Baker Distributing #670 Fort Worth TX Card 0135 210,93
09/23 Card Purchase 09/22 Sq “Kwik Locksmith Fort Worth TX Card 0135 134,38
09/26 Card Purchase 09/22 The Home Depot #6814 FT Worth TX Card 0135 21.13
09/26 Card Purchase 09/22 The Home Depot #8521 White Settlem TX Card 0135 234.88
09/26 Card Purchase 09/22 1317 Insco Fort Worth 817-8345542 TX Card 0135 65.07
09/26 Card Purchase 09/22 The Home Depot #6814 FT Worth TX Card 0135 22.10
09/26 Card Purchase 09/22 Auto Notes Walauga TX Card 0135 275.00
09/26 Card Purchase 09/23 Auto Notes Walauga TX Card 0135 275.00
09/26 Card Purchase 09/23 Auto Notes Walauga TX Card 0135 275,00
09/26 Card Purchase 09/23 The Home Depot #6814 FT Worth TX Card 0135 33.54
09/26 Card Purchase 09/23 Goodman Distribution Fort Worth TX Card 0135 667.30
09/26 Card Purchase 09/23 Baker Distributing #670 Fort Worth TX Card 0135 1,356.72
09/26 Card Purchase 09/23 Baker Distributing #670 Fort Worth TX Card 0135 223,67
09/26 Card Purchase 09/23 Keller Bldg Inspecti Keller TX Card 0135 50.00
o9/26 Card Purchase 09/24 Nita Cust Svc Online 972-818-6882 TX Card 0135 10.26
09/26 Card Purchase 09/23 Keller Bldg Inspecti Keller TX Card 01 35 50.00
09/26 Card Purchase 09/23 Baker Distributing #670 Fort Worth TX Card 0135 306.67
09/26 Card Purchase With Pin 09/24 Autozone 4510 208 W P Hurst TX Card 0135 70.35
09/26 Card Purchase With Pin 09/24 Harbor Freight Tools North Richian TX Card 0135 66.01
og/27 Gard Purchase 09/26 Tricolor Auto Accaptane 2142697777 TX Card 0135 387.00
09/27 Card Purchase 09/26 Baker Distributing #670 Fort Worth TX Card 0135 91,63
09/27 Card Purchase 09/26 Paypal *Ledanielhun 402-935-7733 CA Card 0135 26.45
09/27 Card Purchase 09/26 Paypal “Ledanielhun 402-935-7733 CA Card 0135 36.45
09/28 Card Purchase 09/26 My Detail Guys 817-7899272 TX Card 1720 160.00
09/28 Card Purchase 09/27 Goodman Distrioution Fort Worth TX Card 0135 940.69
09/28 Card Purchase 09/27 Baker Distributing #670 Fort Worth TX Card 0135 640.49
09/28 Card Purchase 09/27 Goodman Distribution Fort Worth TX Card 0135 60.84
09/28 Card Purchase 09/27 Baker Distributing #670 Fort Worth TX Card 0135 165.82
09/28 Card Purchase 09/27 Goodman 328 Richlandhills TX Card 0135 1,129.32
09/28 Card Purchase 09/27 Baker Distributing #670 Fort Worth TX Card 0135 495.40
09/28 Card Purchase 09/27 Baker Distributing #670 Fort Worth TX Card 0542 25.86
09/28 Card Purchase 09/27 Baker Distributing #670 Fort Worth TX Gard 0135 13.95
og/29 Card Purchase 09/29 Ariinglon Permits-Cp&D 888-8868869 TX Card 0135 100,00
o9/29 Card Purchase 09/27 The Home Depot #6814 FT Worth TX Card 01 35 127.69
o9/29 Card Purchase 09/27 Corner Store 2412 Saginaw TX Card 1720 4.20
09/29 _ Card Purchase 09/27 Eagles Point Bar Grill Fort Worth TX Card 1720 48.26
09/29 Card Purchase 09/27 Mary M Hudsens Pllc Hurst TX Card 0135 1,000.00
03/29 Card Purchase 09/28 Baker Distributing #670 Fort Worth TX Card 0135 648.53
09/29 Card Purchase 09/28 Goodman 328 Richlandhills TX Card 0135 340.79
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CHASES

September 01, 2016 through September 30, 2016
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[ATM & DEBIT CARD WITHDRAWALS] (continues)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
09/30 Card Purchase 09/28 The Home Depot #6814 FT Worth TX Card 0135 192.97
09/30 Card Purchase 09/29 Goodman Distribution Fort Worth TX Card 0135 416.64
09/30 Card Purchase 09/23 Baker Distributing #670 Fort Worth TX Card 0135 120.54
Total ATM & Debit Card Withdrawals $61,643.24
ATM & DEBIT CARD SUMMARY
Dwayne P Bridges Card 0135
Total ATM Withdrawals & Debits $0.00
Total Card Purchases $56,114.52
Total Card Deposits & Credits $3,381.78
Travis L Hurnphrey Card 0542
Total ATM Withdrawals & Debits $0.00
Total Card Purchases $4,459.57
Toial Card Deposits & Credits $0.00
Dana M Bridges Card 1720
Total ATM Withdrawals & Debits $0,00
Total Card Purchases $1,069.15
Total Card Deposits & Credits $0.00
ATM & Debit Card Totals
Total ATM Withdrawals & Debits $0.00
Total Card Purchases $61,643.24
Total Card Deposits & Credits $3,381.78
[ELECTRONIC WITHDRAWALS|
DATE DESCRIPTION AMOUNT
09/04 08/31 Online Transier To Chk ...1363 Transaction#: 5631500391 $1,000.00
09/01 _ADP Eepay/Garnwe Eepay/Garn 94310069590739U CCD ID: 9833006057 14,123.00
09/02 09/02 Payment To Chase Card Ending IN 4179 112.00
09/02 ADP Tax/401K Tax/40i1K Rn39U 090236A01 CCD ID: 1223006057 4,313.84
o0s/02 _ ADP Eepay/Garnwe Eepay/Garn 94310069590839U CCD ID: 9333006057 552.44
09/02 ADP Eepay/Garnwe Eepay/Garn 9267006 1362539U CCD ID: 9555555505 249.30
09/06 _Nationstar Nationstar PPD ID: 9200503036 1,597.39
09/06 ADP Payroll Fees ADP - Fees 2R39U 3670593 CCD ID: 9659605001 148.06
09/07 _ Republic Underwr Ins Prem PPD ID: 1751221537 3,040,44
08/07 _Nationstar Nationstar 0607335940 Tel ID: 9200503036 1,597.39
09/07 Merrick Bank Cor Phone Pmt PPD ID: 00002 47.00
09/08 _Direct Capital ED! Pymnis 001-0057687-000 CCD ID: 1020468001 163.55
09/08 Barclaycard US Creditcard 398067110 Web ID: 2510407970 400.00
09/08 ADP Eepay/Garnwe Eepay/Garn 68203385166839U CCD ID: 9333006057 10,862.22
09/09 09/09 Online Payment 5652422316 To Bus Rev Crdt 5004 2,114.49
o9/09 ADP Tax/401K_ _Tax/401K_ Rn39U 090937A01 CCD ID: 1223006057 3,849.20
og/og _ ADP Eepay/Garmwe Eepay/Garn 68203385166939U CCD ID: 9333006057 552.44
O9/09__ CapitalOne — Phone Pymt 625139879073091 CCD ID: 9541719987 250.00
09/09 _ ADP Eepay/Garnwe Eepay/Garn 65904031068439U CCD ID: 9555555505 246.44
09/09 __Privatepmisvcing Ppdpaym ent PPD ID: 6273471385 200.00
O3/0S__ Bankeard Service Agent Pmt 000000746145708 Tel ID: 5650230001 $.99
09/12 09/12 Payment To Chase Card Endina IN 4179 300.00
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Account Number: a

 

[ELECTRONIC WITHDRAWALS) "mee

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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DATE DESCRIPTION AMOUNT
09/42 09/12 Paymeni To Ghase Card Ending IN 6611 100.00
09/12 Small Business lcpayment! PPD ID: 1131414876 2,114.49
09/12  Gcs 800-398-7191 Deposititn 00000002971 4224 CCD 1D: 5200781415 1,239.95
09/12 ADP Payroll Fees ADP - Fees 2R39U 4586824 CCD ID: 9659605001 145.43
09/13 Model Finance CO Loan Pmt PPD ID: 1952292743 411.25
09/13 Datcu ACH Trnsfr PPD ID: 0750813379 173,72
09/15 ADP Eepay/Gamwe Eepay/Gam 77506305376939U CCD 1D: 9333006057 {0,337.23
09/16 09/16 Online Transfer To Chk 1363 Transaction#: 5666342342 100.00
09/16 ADP Tax/40iK  Tax/401K Rn39U 091 638A01 CCD ID: 1223006057 3,478.35
09/16 ADP Eepay/Garnwe Eepay/Garn 775063053877039U CCD |D: 9333006057 412.59
og/i6 irs Usataxpymt PPD |D: 3387702000 350.00
09/16 Direct Capital ED) Pymnts 001 -0057687-001 CCD ID: 1020463001 335.00
09/16 ADP Eepay/Gamwe Eepay/Garn 94210075342439U CCD ID: 9555555505 181.85
09/19 Gcs 800-398-7191 Deposittrn 000000029791330 CCD ID: 5200781415 1,289 95
09/19 Republicservices Asibillpay 307940068700 Tel ID: 7860843596 155.31
09/19 ADP Payroll Fees ADP - Fees 2R39U 4881281 CCD ID: 9659605001 145.43
09/20 Legacy Visa Pymt Payment 4239801 10676094 Tel ID: 1470535472 83.00
09/21 09/21 Online Transfer To Chk ...0598 Transaction#, 5677874242 1,000.00
09/21 AFS Acceptance L Auto Loan PPD ID: 1743201007 §28.81
09/22 09/22 Online Transfer To Chk ...1363 Transaction#: 5678505801 50.00
09/22 Utica National Ins Prem PPD ID: 1150476880 1,029.00
os/22 ADP Eepay/Gamwe Eepay/Garm 93740092349639U CCD ID: 9333006057 10,097.43
09/238. ADP Tax/401K Tax/401K_Rn39U 092339A01 CCD ID: 1223008057 3,401.80
09/23 ADP Eepay/Garnwe Eepay/Garn 937 40092349739U CCD ID: 9333006057 412.59
09/23 Comenity Pay Sm Web Pymt P16265038300610 Web ID: 1133163498 276.00
09/28 ADP Eepay/Garnwe Eepay/Garn 52806355674339U CCD ID: 9555555505 171.24
09/23 ‘First Savings _ Payment 5433601 19055303 Tel ID: 1470535472 63,00
09/23 ~Fsb Blaze Payment 518219000559014 Tel ID: 3420747941 51,00
09/26 Gcs 800-398-7191 Depositirn 000000029864093 CCD !D: 5200781415 1,239.95
09/26 Protectionone Payment PPD |D: 3931064579 297.80
09/26 ADP Payroll Fees ADP - Fees 2R39U 6938864 CCD ID: 9659605001 142.81
09/27 _ Wex Inc Fleet Debi 0453009114893 CCD ID: 0841425616 6,379.34
09/27 Nationwide P&C EDI Pymnts PPD ID: 1314177102 704.58
09/28 09/28 Online Transler To Chk ...0598 Transaction#: 5691856579 500.00
09/28 Suntrust Ln 656_Ic Paymeni PPD ID: 1592606930 1,204.95
09/29 09/29 Online Transfer To Chk ...0598 Transactions: 5693577091 1,000.00
09/29 09/29 Online Transfer To Chk ...0598 Transaction#: 5694922482 500.00
09/29 ADP Eepay/Garnwe Eepay/Gam §8504568171539U CCD ID: 9333006057 410,769.06
09/30 ADP Tax/40i1K Tax/401K_Rn39U 093040A01 CCD ID: 1228008057 3,697.33
09/30 ADP Eepay/Garnwe Eepay/Gam 68504568171639U CCD ID: 9333006057 412.59
09/30 ADP Eepay/Gamws Eepay/Garn 94330091 437339U CCD ID: 9555555505 206.45
Total Electronic Withdrawals $107,543.47
OTHER WITHDRAWALS

DATE DESCRIPTION AMOUNT
09/08 09/08 Withdrawal $10,000.00
Total Other Withdrawals $10,000.00

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CHASE &

 

FEES

 

 

Septernber 01, 2016

Account Number:

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through September 30, 2016

 

 

DATE
09/06

Total Fees

DAILY ENDING BALANCE

DESCRIPTION

 

Service Charges For The Month of August

AMOUNT
$145.00

$145.00

 

 

 

 

DATE.
99/01
09/02
Og/06
09/07
09/08
09/09
09/12

___ AMOUNT
$17,871.13
34,559.38
28,260.92
21,203.69
-2,017,88
14,171.46
9,984.55

DATE
08/13
09/14
038/15
o9/16
09/19
09/20
09/21

AMOUNT
8,773.19
10,436.51
581 60
15,491.69
20,245.92
22,314.51
22,316.16

 

| SERVICE CHARGE SUMMARY |

DATE

09/22
Qg/23
09/26
09/27
09/28
09/29
09/30

AMOUNT
41,969.22
27,996.94
28,067.31
25,929.02
23,094.23
11,115.06
25,272.15

 

 

Monthly Service Fee
Other Service Charges
Total Service Charges

$95.00
$118.00

$213.00 Will be assessed on 10/5/16

You were assessed a monthly service fee on your Chase Platinum Business Checking account because you did not

maintain the required relationship balance.

| SERVICE CHARGE DETAIL|

DESCRIPTION

Monthly Service Fee

Monthly Service Fes
Accident Forgiveness
Insufficient Funds/Overdratt Item Paid
Other Service Charges:
Electronic Credits

Electronic liems Deposited
Electronic Crecits

Credits

Non-Elesctronic Transactions
Miscellaneous Fees

Jpm Cashed Checks

Cash Management Services
Quick Deposit Multi Feed Maint

 

 

VOLUME ALLOWED CHARGED
1

8 1 2

219 Unlimited 0

31 Unlimited 9

337 500 0

2 0 2

1 0 1

Subtotal Other Service Charges (Will be assessed on 10/5/16)

ACCOUNT 000000565026528
Monthly Service Fee

Monthly Service Fee

Accident Forgiveness

Insufficient Funds/Overdraft Item Paid
Other Service Charges:
Electronic Credits

KAPITUS EX. 12 - 046

PRICE/ UNIT

$95.00
$34.00
$0.40
30.40
$0.40
50.00

$50.00

TOTAL
$95,00
$88,00
$0.00
50,00.
$0.00
$0.00

00.
$213.00

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September 01, 2016 through Se tember 30, 2016
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[SERVICE CHARGE DETAIL| (connuse)

DESCRIPTION VOLUME ALLOWED CHARGED PRICE/ UNIT TOTAL
Electronic Items Deposited 219

Electronic Credits 31

Credits

Non-Electronic Transactions 3a7

Miscellaneous Fees

Jpm Cashed Checks 2

Cash Management Services
Quick Deposit Multi Feed Maint !

 

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS; Cuil or wile us al the phone number or ackress
on the frant of this statement (non-personal accounts contact Customer Service) if you think your statement or receipt is incorrect.or ifyou need
more infarmation about a transfer listed on the statement or receipt. We must hear from you no later than 60 days after we sent you the FIRST
slatement on which ihe problem or error appeared. Be prepared lo give us the following information:

« Your name and account| number

e Tre dollar amount of the suspected error

. A deseription of the error of vansfer youare unsure of, why you believe II is an error, or why yOu need more information,
We will investigate your complaint and will correct any error peampily. It we take more than 10 business days (or 20 business days lor new

ii

accounts) todo this, we will credit your acoount for {he amount you! think is in error so that you will have use of the maney during the time il takes
us to complete our investigation

it CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Coniact the bank immediately if your statement is
incorrect or If you need more informalion about any non-electronic transactions (checks or depasits) on this statement. If any such error appears,

you must notify the bank in writing no later (han 30 days alter lhe stalement was made available to you. For more complete details, see the

Account Rules and Regulations or other applicable account agreement that governs your account.

JPMorgan Chase Bank, N.A. Member FDIC
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KAPITUS EX. 12 - 047

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Case 20-04009-elm Doc 68-5 Filed 09/21/21 Entered 09/21/21 23:36:41 Page 48 of 61

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Account Number: =.

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Bridges _000534
KAPITUS EX. 12 - 048
Case 20-04009-elm Doc 68-5 Filed 09/21/21

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JPMorgan Chase Bank, N.A.
P O Box 659754
San Antonio, TX 78265 -9754

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00006417 DRE 201 210 30816 NNNNNNNNNNN = 1000000000 D2 0000
LICENSE TO CHILL HEATING AND AIR INC.

DBA JUST CHILLIN HEATING AND AIR

1150 BLUE MOUND RD W STE 201

HASLET TX 76052-3865

 

 

 

 

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October 01, 2016 through October 31, 2016
Accaunt Number: as:

 

CUSTOMER SERVICE INFORMATION

Web site: www.Chase.com
Service Center: 1-877-425-8100
Deaf and Hard of Hearing: 1-800-242-7383
Para Espanol: {-888-622-4273
International Calls: 1-718-262-1679

 

CHECKING SUMMARY Chase Platinum Business Checking

 

INSTANCES AMOUNT
Beginning Balance $25,272.15
Deposits and Additions 66 138,715.33"
Checks Paid 70 - 47,259.79
ATM & Debit Card Withdrawals 168 - 48,459.53 *
Electronic Withdrawals 70 - §8,808.92
Other Withdrawals | ~75.00
Foes 1 - 213.00
Ending Balance 376 $9,171.24

Your Chase Platinum Business Checking accouint provides:

e No transaction fees for unlimited electranic deposits (including ACH, ATM, wire, Chase Quick Deposit)
500 debits and non-electronic deposts (those made Via check or cash in branches) per statement cycle

.
¢ $25,000 in cash deposits per statement cycle
« Unlimited return deposited items with no fes

There are additional fee waivers and benefits associated with your account — please refer to your Deposit Account

Agreement for more information.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DEPOSITS AND ADDITIONS

DATE DESCRIPTION AMOUNT
10/03 Card Purchase Return 09/30 Baker Distributing #670 Fort Worth TX Card 0542 $379.67
10/03 Remote Online Deposit 4 1,965.00
10/03 Square Inc 161001S2 1204143046705 CCD ID: Wimsquare1 1,278.56
40/04 Card Purchase Return 10/03 Johnson Supply _N Beac Fort Worth TX Card 0135 1,605.54
10/04 Remote Online Deposit 4 2,665.00
10/04 Deposit 844288164 780.00
10/04 Remote Online Deposit 4 455.00
10/04 Remote Online Deposit 4 175.00
410/04 Square Inc 161004S2 1204143690231 CCD ID: Wimsquarel 1,933.50
10/05 Remote Online Deposit 4 3,190.00
10/05 Deposit 844288169 75.00
10/05 Square Inc 161005S2 1204144011063 CCD ID: Wimsquare1 1,018.33
10/06 Deposit 844288202 795.00
10/06 Square Inc 161006S2 1204144332013 CCD ID: Wimsquarel 2,242.99

 

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Bridges_000535

KAPITUS EX. 12 - 049

 

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CHASE oO October 01, 2016 through October 31, 2076
Account Number: ——

DEPOSITS AND ADDITIONS| “77s?

DATE DESCRIPTION AMOUNT
10/07 Remote Online Deposit 4 1,590.00
10/07 Remote Online Deposit of 1,291.00
10/07 Remote Cnline Deposit 2 475,00
10/07 Remote Online Deposit 4 125.00
10/07 Servicemaster Payables 02084848 CCD ID: 9071644000 18,639.64
10/07 Square Inc 161007S2 1204144663752 CCD ID: Wimsquarel 817.70
10/11 Card Purchase Retum 10/10 Goodman Distribution Fort Worth TX Card 0135 10.58
10/11 Remote Cnline Deposit 4 5,500.00
10/41 Remote Online Deposit 4 1,030.00
10/44 Remote Online Deposit 4 650.00
10/14 Square Inc 161008S2 L204144984151 CCDID: Wimsquarel 5,609.10
10/12 Deposit 851526513 275.00
10/12 Remote Online Deposit 4 225.00
10/12 Square Inc 161012S2 1204145804089 CCDID: Wimsquare’ 372.83
10/13 Remote Online Deposit 4 1,775.00
10/14 Deposit 850691344 1,480.00
10/14 Remote Online Deposit 4 1,080.00
10/44 Servicemaster Payables 02090292 CCD ID: 9071644000 18,305.32
10/14 Square Inc 16101452 1204146456849 CCD ID: Wimsquaret 1,198.46
10/17 Card Purchase Return 10/14 Goodman Distribution Fort Worth TX Card 0135 435.17
10/17 Remote Online Deposit 4 1,215.00
10/17 Square Inc 161015S2 1204146776974 CCDID: Wimsquaret 1,169.25
10/18 Remote Online Deposit 4 5,315.00
10/18 Square Inc 161018S2 1204147291468 CCDID; Wimsquare1 125.48
10/19 Card Purchase Return 10/18 Baker Distributing #670 Fort Worth TX Card 0135 27.30
10/19 Remote Online Deposit 4 425,00
10/19 Square Inc 16101982 1204147612108 CCDID: Wimsquarei 1,215,538
10/20 Card Purchase Return 10/19 My Plates 888-769-7528 TX Card 0435 495,00
10/20 Deposit 851526584 435,00
40/20 Remote Online Deposit 4 250,00
10/20 Square Inc 161020S2 1204147933606 CCDID: Wfmsquare1 1,299.22
10/24 Remote Online Deposit 4 1,640.00
10/21 Servicemaster Payables 02095700 CCD ID: 9071644000 13,746.18
10/21 Square Inc 161021S2 1204148265719 CCD ID: Wimsquarei 650.31
10/24 Deposit 833853903 7,130.00
10/24 Remote Online Deposit 4 1,094.97
10/24 Square Inc 161022S2 1204148585467 CCD ID: Wimsquarei 900.64
10/25 Remote Online Deposit 4 1,260.00
10/25 Square Inc 161025S2 1204149098843 CCD ID: Wimsguarel 62.74
10/26 Card Purchase Return 10/25 Goodman Distribution Fort Worth TX Card 0135 330.16
10/26 Remote Online Deposit 4 925.00
10/26 Square Inc 161026S2 1204149418693 CCD 1D: Wimsaduaret 691.32
10/27 Remote Online Deposit 4 630.00
10/27 Square Inc 161027S2_ 1204149741473 CCD ID: Wimsquarei 976.70
10/28 Card Purchase Return 10/27 Johnstone Supply FT W Fort Worth TX Card 0542 376.16
10/28 Remote Online Deposit 4 1,830.00
10/28 Remote Online Deposit 4 175.00
10/28 Servicemaster Payables 02100711 CCD |D: 9071644000 12,854.40
10/28 Square Inc 161028S2 1204150072354 CCDID: Wimsquare 188.36

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DEPOSITS AND ADDITIONS|_o7tinue#)

 

 

 

 

 

 

 

 

 

 

 

 

   

        

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
10/31 Remote Online Deposit 4 1,850.00
10/31 Square Inc 161029S2 1204150392789 CCD ID: Wimsquare1 125.48
10/31 Square Inc 161031S2 204150725647 CCD 1D: Wimsquaret 62.74
Total Deposits and Additions $138,715.33
CHECKS PAID
DATE
CHECK NO. DESCRIPTION : PAID AMOUNT
6504 4 David © Stephen Son — Seandan — PauAaee 10/05 $184.70
6580 *A Daye — fat ars [2a _{ 10/05 137.71
6594 *A 10/03 140.42
6596 +40) Pent? = Truck Paris 10/04 38.04
6597 “CM SOM LTD. = te Daaselo Kengo 10/17 650.00
6598 “A CM OM. LTD. —fead Wain enance 10/17 100,00
6599 “Kon Stburalon — 26 Cr taloor 10/04 2,775.00
6600 4 Oren. Wu *-Wete 10/05 72.35
6601 “O' edly, — Wwans Fluid 10/05 25.29
6602 “Pedro Keuden — Lx Stalls 10/07 2,450.00
6603 A 10/07 Riewawt touck. 10/07 385.00
6604 AOWeidleu ~ lus it Parts 10/11 163.97
6605_ “Glenn Phigos = Be Cid 10/12 300.00
6606_“ Cont ai gee Ring —movines fartemear 10/18 450.00
6607_* Yedvo Hendon => tas 10/14 1,200.00
6608 4 Diversi Sied Pur Chem K-39 Freon 10/21 1,000.00
6609 4 f)*Aer) lu (9 bE —444 39! 10/25 59.68
6610 “ Divevsitied Pur Chem W-2a Yyeon 10/31 1,000.00
6611 AO Keeley be Lobb 4%4 783 10/26 21.64
6612 AO Keel ly FF JobL—-4 PH SIE 10/26 97.30
10471 ** Cuties ) Espars 2 10/03 502.87
10472 ” Thos EE Sol. tt 10/03 443.28
10473 4 [Sébobre D Dene S 10/03 714.16
10475 *4 Chad € Ken barst 10/07 930.63
10476 4 LJr/ iia HM Belhs 10/07 747,52
10477 “Cynthia 3 &s pareza 10/14 502,87
10478 A — Herus Dhow 10/07 1,074.74
10479 AT pais Eras olréy 10/07 1,125.74
10480 “|lLawas E Sohwsen 10/07 443,28
10481 “Psbbie 3 emnes 10/07 714.18
10482 ACryetay Pie Guire 10/07 404.17
10483 hire Yauleusky 10/11 890.42
10484 A 10/07 “niin  Steme 10/07 498.85
10485 ” 10/07 KusSel 4) Li Jl, aye 10/07 533.91
10486 4 Dong Marvdaes * 10/20 1,074.74
10487_* \waune PSrid ges 10/20 1,694.64
10488 4 (Lad ti Kew hers? 10/14 769.59
10489 “ 10/14 Le iiaues HES) Ss 10/14 902.22
10490 A = rz2 10/18 502.87
10401_* Camcly 66 0 wey 10/17 1,074.74
10492 4 \fat S Pheis phr ev 10/14 1,125.74
10493 4 Thomas F Soha ser 10/14 443.28
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CHASE CO October 01, 2016 through October 31, 2016
Account Number: Gs:
CHECKS PAID |_ Continued)
DATE

CHECK NO. DESCRIPTION PAID AMOUNT
10494 4 elie 3) Senses 10/14 714.18
10495 “ feyStealLWiGulre 10/14 398.37
10496 “(hers K Yavinusky 10/18 890.41
10497 A 10/14 Seki « © Stem oa 10/14 765.64
10498 “Kucewll LO wri \ame 10/14 451.56
10499 4 Denn fri s 410/20 1,074.74
10500 A \oaume © ia < 10/20 1,894.64
10501 “Landes Maridacc 10/21 715.13
10502 ACkhan Fienhor Sl 10/24 728.41
10503 ALdilifam H El/ie 164 E Plas Bd Hurst, Te 2LAG3 10/20 747.52
10504 4 Cuwdluas Ss Psnarsva : 10/24 502.87
10505 4 (‘winchy Progen Oe 10/24 1,074.74
10506 “ \rauis humphrey 10/21 1,125.74
10507 “Thamas EF Dehn com 10/21 533.84
10508 4 ehbie 5 seneS 10/21 546.85
10509 “Cristea Me Guire 10/21 427.38
10510 ACheis B® Pau bmusfy 10/25 44.24
40511 4 10/21 Wahea O Stene 10/21 595.53
10512 A Russet ti) Wriliau © 10/24 451,56
10515 *4 Lamtlon Br (does 10/28 715.12
10516 * (had Es Remora¥ -)105 Charles Westherford ‘te 2 605 € 10/31 851.94
10517 A William HE/s-IGYE. Plaza Blut Aursé Tn Those 10/28 374.50
10519 *4 Thawas F Soha tord 10/28 321.38
10520 “l\Aabbie od s\eme< 10/28 110.82
10521 Aleystal 1S Giee ~118 Contyval Ave Newevk Mreotl 10/28 334.56
10522 9 Chia K Yavious Ky 10/31 913.50
10523 4 10/28 Sehn © Stme 10/28 587.52
105244 Kussll W Wrilvaers 10/28 451.56
Total Checks Paid $47,259.79

lf you see a descrip’
not the original or an image o

tion in the Checks Paid section, it means that we received only electronic information about the check,
f the check. As a result, we're not able to return the check to you or show you an image.

* Allof your recent checks may not be on this statement, either because they haven't cleared yet or they were listed on
one of your previous statements.

A An image of this check may be available for you to view on Chase.com.

 

[ATM & DEBIT CARD WITHDRAWALS|

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
10/03. Card Purchase 10/02 AT&T Df Zdi7N 47421 800-331-0500 TX Card 0135 $80.02
10/03. Card Purchase 10/02 AT&T Df Zd17N 47421 800-331-0500 TX Card 0135 80.02
10/038 Card Purchase 10/02 AT&T Df Zd17N 47421 800-331-0500 TX Card 0135 80.02
10/03 Card Purchase 09/23 The Home Depot #6814 FT Worth TX Card 0135 25.52
10/03 Card Purchase 09/29 The Home Depot #6814 FT Worth TX Card 0135 130.98
10/03 Card Purchase 09/29 Firstpremier800987552 800-987-5521 SD Card 1720 51.00
10/03 Card Purchase 09/30 Paypal *Ledanielhun 402-935-7733 CA Card 0135 36.45
10/03 Card Purchase 09/30 Paypal *Ledanielhun 402-935-7733 CA Card 0135 31.45
10/03 Card Purchase 10/01 Cfw Water Ivr 817-392-8230 TX Card 0135 195.13
10/03 _ Card Purchase 09/30 The Home Depot #6814 FT Worth TX Card 0135 68.214
10/03 Card Purchase 09/80 Goodman Distribution Fort Worth TX Card 0135 322.26
10/03 Card Purchase 09/30 Baker Distriouting #870 Fort Worth TX Card 0135 95.96
Page 4 of 12

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October 01, 2016 through October 31, 2016
Acaount Number:

 

[ATM & DEBIT CARD WITHDRAWALS) (continues)

 

  

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DATE DESCRIPTION AMOUNT
10/03 Card Purchase 09/30 Baker Distributing #670 Fort Worth TX Card 0542 1,038.12
10/03 Card Purchase 09/30 The Home Depot #6814 FT Worth TX Card 0135 27 34
10/03 Card Purchase 09/30 Baker Distributing #670 For Worth TX Card 0135 467.75
{0/03 Card Purchase 10/01 Paypal *Alensegalo 402-935-7733 CA Card 0135 435.00
10/03 Card Purchase 10/01 Paypal *Alensegalo 402-935-7733 CA Card 0135 435,00
10/03 Card Purchase 10/01 Health Grp 855-7070651 FL Card 0542 39.97
10/08 Card Purchase 10/01 Health Grp 855-7070651 FL Card 0542 41.97
10/03. Card Purchase With Pin 10/01 Wal-Man Super Center Fort Worth TX Card 0135 31974
10/03 _ Card Purchase 10/01 Health Care Horizons 855-5565052 NY Card 0542 484.76
10/04 Card Purchase 10/03 AT&T Df Zd17N 47421 800-331-0500 TX Card 0135 80.02
10/04 _ Gard Purchase 10/03 Baker Distributing #670 For Worth TX Card 0135 795.70
10/04 Card Purchase 10/04 Ciw Dvip Velocity Hal 817-392-2522 TX Card 0135 6.24
10/04 Card Purchase 10/03 Baker Distributing #670 Fort Worth TX Card 0135 222.69
10/05 Card Purchase 10/08 Insco Distributing Cen 210-6908400 TX Card 0135 2,000.00
10/05 __ Card Purchase 10/03 Aarons Locksmith 817-300-3261 TX Card 0135 125.00
10/05 — Card Purchase 10/04 Baker Distributing #670 Fort Worth TX Card 0135 121.82
10/05 _ Card Purchase 10/04 Baker Distributing #670 Fort Worth TX Card 0135 44.91
10/05 Card Purchase 10/04 Goodman Distribution Fort Worth TX Card 0135 805.27
10/05 Card Purchase 10/05 Nita Cust Svc Online 972-818-6882 TX Card 0135 89.79
10/05 Card Purchase 10/05 Nita Cust Sve Online 972-818-6882 TX Card 0135 4.97
10/05 Card Purchase 10/04 Fleetmatics USA, LLCO 781-5774642 MA Card 0135 746.20
10/06 __ Card Purchase 10/05 Samantha Springs Bott 817-379-9949 TX Card 0135 14.31
10/06 Card Purchase 10/05 Auto Notes Watauga TX Card 0135 420.00
10/06 Card Purchase 10/05 Auto Notes Walauga TX Card 0135 395.00
10/06 Card Purchase 10/05 Baker Distributing #670 Fort Worlh TX Card 0135 320.94
10/06 Card Purchase 10/05 Baker Distributing #670 Fort Worth TX Card 0135 640.01
10/06 Card Purchase 10/05 Baker Distributing #670 Fon Worth TX Card 0135 512.56
10/06 _ Card Purchase 10/05 Baker Distributing #670 Fort Worth TX Card 0135 77.80
10/06 Card Purchase 10/05 Paypal *Homestuff4 402-935-7733 CA Card 0135 171.07
10/06 _ Card Purchase 10/05 Paypal "Great2Deal 402-935-7733 CA Card 0135 26.52
10/06 Card Purchase 10/05 Paypal *Cairong1980 402-935-7733 CA Card 0135 6.79
10/06 Card Purchase 10/05 Paypal *Carcasit6969 402-935-7733 CA Card 0135 9.77
10/06 Card Purchase 10/05 Paypal "Ilianpetkov 402-935-7733 CA Card 0135 28.37
10/07 Card Purchase 10/05 Haltom City-Permits 817-2227704 TX Card 0135 47.50
10/07 _ Card Purchase 10/07 Ntta Cust Sve Online 972-818-6882 TX Card 0135 15.55
10/07 Card Purchase 10/06 Baker Distributing #670 Fon Worth TX Card 0135 60.47
10/07 _ Card Purchase 10/06 Goodman Distribution Fort Worth TX Card 0135 1,455.38
10/07 __ Card Purchase 10/06 Baker Distributing #670 Fort Worth TX Card 0135 78.79
10/07 _ Card Purchase 10/06 Johnstone Supply FT W Fort Worth TX Card 0542 110.45
10/07 — Card Purchase 10/06 Baker Distributing #670 Fort Worth TX Card 0135 126.36
10/07 ___ Card Putchase With Pin 10/07 Harbor Freight Tools 4 FT Worth TX Card 0125 13.83
10/14 Card Purchase 10/07 Auto Notes Watauga TX Card 0135 275.00
10/11 Card Purchase 10/07 Auto Notes Watauga TX Card 0135 275.00
10/11 Card Purchase 10/07 Auto Notes Watauga TX Card 0135 275.00
10/11 Card Purchase 10/07 G&B Financing 817-367-6702 TX Card 0135 432.27
10/11 Card Purchase 10/07 Baker Distributing #670 Fort Worth TX Card 0135 56.79
10/11. Card Purchase 10/07 Goodman Distribution Fort Worth TX Card 0135 47.89
10/11 Card Purchase 10/07 Ge Haltom City Fort Worth TX Card 0135 43.03
10/11. Card Purchase 10/07 Baker Distriputing #670 Fon Worth TX Card 0135 87.68
10/11 Card Purchase 10/07 Baker Distributing #670 Fon Worth TX Card 0135 48.15
10/11. Card Purchase 10/07 The Home Depoi #6568 Mansfield TX Card 0135 12.11

 

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CHASE &

October 01, 2016
Account Number:

 

|ATM & DEBIT CARD WITHDRAWALS| (continued)

 

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DATE DESCRIPTION AMOUNT
10/11. Card Purchase 10/07 Goodman 328 Richlandhills TX Card 0135 62.48
10/11 Card Purchase 10/09 Arlington Permits-Cp&D 888-8858869 TX Card 0135 30.00
10/11 | Card Purchase 10/08 Paypal *Customeasem 4029357733 Ab Card 0135 72,95
10/11 Card Purchase 10/08 1317 Insco Fort Worth 817-8345542 TX Card 0135 321.80
10/11 Card Purchase 10/08 1317 Insco Fort Worth 817-8345542 TX Card 0135 0.01
10/11. Card Purchase 10/10 Tricolor Auto Acceptanc 2142697777 TX Card 0135 387.00
10/11. Card Purchase 10/11 Aca Care Financial 800-462-2123 OR Card 0542 38.39
10/11 Card Purchase 10/10 Goodman Distribution Fort Worth TX Card 0135 503.96
10/11 Card Purchase 10/10 Gonns:Com 800-280-1514 TX Gard 0135 110,74
10/11 Card Purchase 10/10 Sheffield Financial Ll 335-766 1388 NC Card 0135 385,14
10/14 ___ Card Purchase With Pin 10/10 O'Reilly Auto Parts 10 Saginaw TX Card 0542 32.86
10/11 Card Purchase With Pin 10/11 Wal-Mart Super Center Saginaw TX Card 0135 29.98
10/11 Recurring Card Purchase 10/10 Geico *Aulo 800-841-8000 DC Card 0135 2,457.00
10/11. Recurring Card Purchase 10/10 AT&T*Bill Payment 800-331-0500 TX Card 0135 861.92
10/11 Recurring Card Purchase 10/09 Charter Comm 888-438-2427 MO Card 0135 666.33
10/12 Card Purchase 10/11 Goodman Distribution Fort Worth TX Card 0135 476 25
10/13 Card Purchase 10/12 Paypal *Reynoldssal 402-935-7733 CA Card 0135 100.00
10/13 Card Purchase 10/12 Baker Distributing #670 Fort Worth TX Card 0135 89.90
10/13 Card Purchase 10/12 Nest Labs 855-469-6378 CA Card 0135 37.31
10/13 Card Purchase 10/12 Goodman Distribution Fort Worth TX Card 0135 435.17
10/13 Card Purchase 10/12 Baker Distributing #670 Fort Worth TX Card 0135 224.59
10/14 Card Purchase 10/12 The Home Depot #6814 FT Worth TX Card 0135 83.35
10/14 | Card Purchase 10/13 Baker Distributing #670 Fort Worth TX Card 0135 365.43
10/14 Gard Purchase 10/13 Eagle Mountain Marina 817-237-5588 TX Card 0135 734.72
10/14 Card Purchase 10/13 K-N-D Automotive & Weld Haslet TX Card 0135 65,79
10/17 Card Purchase 10/14 Craigslist-Org 415-399-5200 CA Card 0135 45,00
10/17 Card Purchase 10/14 Ce Haltom City Fort Worth TX Card 0135 46.33
10/17 Card Purchase 10/15 Rent To Own Container L Denton TX Card 0135 225.52
10/17 Card Purchase 10/15 Paypal *Geckosgalor 402-935-7733 CA Card 0135 59.00
10/17 __ Recurring Card Purchase 10/17 Sxm’*Siriusxm.Com/Acct 888-635-5144 NY Card 0135 19.48
10/18 Card Purchase 10/17 Conns.Com 800-280-1514 TX Card 0135 312.94
10/18 Card Purchase 10/17 Conns.Com 800-280-1514 TX Card 0135 487.16
10/18 Card Purchase 10/17 Baker Distributing #670 For Worth TX Card 0135 102.42
10/18 | Card Purchase 10/17 Baker Distributing #670 Fort Worth TX Card 0135 147.41
10/18 Card Purchase 10/17 Baker Distributing #670 Fort Worth TX Card 0135 2,489.03
10/18 Card Purchase 10/17 Republic Services Tra 866-576-5548 AZ Card 0135 155,44
10/18 Card Purchase 10/17 Gonns.Com 800-280-1514 TX Card 0135 52.30
10/18 Card Purchase 10/17 Txu* Bill Payment 800-242-9113 TX Card 0135 302.38
10/18 Card Purchase 10/18 Nita Cust Sve Online 972-818-6882 TX Card 0135 7.29
10/18 Card Purchase 10/47 Baker Distributing #670 Fort Worth TX Card 0542 7.51
10/18 Card Purchase With Pin 10/18 AT&T D17N 7421 North Richlan TX Card 0185 199.99
10/19 Card Purchase 10/17 Insco Distributing Cen 210-6908400 TX Card 0135 5,000.00
10/19 Card Purchase 10/18 Auto Notes Watauga TX Card 0135 495.00
10/19 Card Purchase 10/18 Auto Notes Watauga TX Card 0135 500.00
10/19 Card Purchase 10/18 Paypal *Supplyhouse 402-935-7733 NY Card 0135 203.50
10/19 Card Purchase 10/18 Baker Distributing #670 Fort Worth TX Card 0135 191.42
10/19 Gard Purchase 10/18 Ce Haltom City 817-8384300 TX Card 0542 57.67
10/19 Gard Purchase 10/18 Baker Distriouting #670 Fort Worth TX Card 0135 679.65
i0/19 Card Purchase 10/18 Baker Distributing #670 Fort Worth TX Card 0135 539,78
10/49 Card Purchase 10/18 Baker Distributing #670 Fort Worth TX Card 0135 26.21
10/19 Card Purchase 10/19 Ntta Cust Sve Online 972-818-6882 TX Card 0135 104.58

 

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CHASE &

October 01, 2046 through October 31, 2016

Account Number: 2:

 

[ATM & DEBIT CARD WITHDRAWALS (ortinved)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
10/19 Card Purchase 10/19 Nita Cust Sve Online 972-818-6882 TX Card 0135 113.45
10/1S Card Purchase 10/19 Nita Cust Svc Online 972-818-6882 TX Card 0135 9.90
10/19 Card Purchase W/Cash 10/19 The Home Depot 8521 While Settlem TX Card 0135 31.80
Purchase $21.80 Cash Back 510.00
10/19 _ Reoutring Card Purchase 10/17 Desco. LLC 800-226-7529 FL Gard 0135 150.00
10/20 Card Purchase 10/18 The Home Depot #6814 FT Worth TX Card 0135 40.04
10/20 Card Purchase 10/19 Gexa Energy 713-961-9399 TX Card 0135 298,44
10/20 Card Purchase 10/19 Taco Ball #22741 Fort Worth TX Card 1720 18.39
10/20 Card Purchase 10/19 Paypal *Tile Inc 402-935-7733 CA Card 0135 130,00
10/20 Card Purchase With Pin 10/20 Wal-Mart Super Center Saginaw TX Card 0135 431.92
10/21 Card Purchase 10/19 Firstpremier800987552 800-987-5521 SD Card 0135 8.25
10/21 _ Card Purchase 10/20 Johnstone Supply FT 214-902-8372 TX Card 0135 694.98
10/21 Card Purchase 10/20 Paypal *Findcostume 402-935-7733 CA Card 0135 296,51
40/2; Card Purchase 10/20 Ace of Azle Azle TX Card 0135 149.31
10/21. Card Purchase With Pin 10/21 The Home Depot #6814 FT Worth TX Card 0135 102.84
10/24 Card Purchase 10/21 AT&T Df Zd17N 47421 800-331-0500 TX Card 0135 80.02
10/24 _ Card Purchase 10/21 Auto Notes Watauga TX Card 0135 275.00
10/24 Card Purchase 10/21 Auto Notes Watauga TX Card 0135 275,00
10/24 Card Purchase 10/21 Auto Notes Watauga TX Card 0135 275.00
10/24 Card Purchase 10/21 1317 Insco Fort Worth 817-8345542 TX Card 0135 147.93
10/24 Card Purchase 10/22 Paypal *Naturemedic 402-935-7733 CA Card 0135 810,00
10/24 _ Card Purchase 10/23 Paypal *Itarget 402-935-7733 CA Card 0135 99,00
10/25 _ Card Purchase 10/24 Tricolor Auto Acceptance 2142697777 TX Card 0135 387.00
10/25 Card Purchase 10/24 Goodman Distribution Fort Worth TX Card 0135 393,33
10/25 Card Purchase 10/24 Ce Haltom City Fort Worth TX Card 0135 56.01
10/25 Card Purchase 10/24 Aces Ac Supply North Richland Hill TX Card 0135 293.36
10/25 Card Purchase With Pin 10/25 Wal-Mart Super Center Saginaw TX Card 0135 264 40
10/25 _Non-Chase ATM Withdraw 10/25 Walmart 5316 1401 N Sag Saginaw TX Card 0135 603.50
10/26 Card Purchase 10/25 Verde Energy Pp Ecomm 713-255-2778 TX Card 0135 237.25
10/26 Card Purchase 10/26 Ciw Dvip Velocity Hal 817-392-2522 TX Card 0135 76.17
10/26 Card Purchase 10/25 Baker Distributing #670 Fort Worth TX Card 0136 552,68
10/26 Card Purchase 10/25 Baker Distributing #670 Fort Worth TX Card 0135 14.57
10/26 Card Purchase 10/26 Trane Supply-115724 817-524-4521 TX Card 0135 41.04
10/27 Card Purchase 10/27 Ctw Dvip Velocity Hal 817-392-2522 TX Card 0135 31.24
10/27 Card Purchase 10/27 Ntta Cust Sve Online 972-818-6882 TX Card 0135 478
10/27 _ Card Purchase 10/26 Johnstone Supply FT W Fert Worth TX Card 0542 1,215.63
10/27 _ Card Purchase 10/26 Baker Distriouting #670 Fort Worth TX Card 0135 107.90
10/27 Card Purchase 10/26 Johnstone Supply FT W Fort Worth TX Card 0542 108.24
10/27 Card Purchase 10/27 Nita Cust Sve Online 972-818-6882 TX Card 0135 7.06
10/27 Card Purchase 10/27 Ntta Cust Sve Online 972-818-6882 TX Card 0135 6.06
10/27 Card Purchase With Pin 10/27 The Home Depot #6814 FT Worth TX Card 0135 71.35
10/28 Card Purchase 10/28 Arlingion Permiis-Cp&D 888-8868869 TX Card 0135 105.00
10/28 Card Purchase 10/27 Craigslist.Org 415-399-5200 CA Card 0135 45.00
10/28 | Card Purchase 10/27 Baker Distributing #670 Fort Worth TX Card 0135 115.20
10/28 Card Purchase 10/27 Johnson Supply N Be 817-834-9675 TX Card 0135 250.48
10/28 _ Card Purchase 10/27 Johnstone Supply FT 214-902-8372 TX Card 0135. 615.77
10/28 Card Purchase 10/27 Paypal *Sixflagsent 402-935-7733 NY Card 0135 277.88
10/28 Card Purchase 10/27 Paypal *Sixflagsent 402-935-7733 NY Card 0135 120.00
10/28 Card Purchase 10/27 Paypal *Supplyhouse 4029357733 NY Card 0135 203.50
10/31 Card Purchase 10/27 The Home Depot #6814 FT Worth TX Card 0135 16.88
10/31 Card Purchase 10/28 Goodman Distribution Fort Worth TX Card 0135 839,12
Page 7 of 12

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CHASE &

 

[ATM & DEBIT CARD WITHDRAWALS| (continues)

 

October 01, 2016 through October 31, 2016

Account Number: St

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
10/31 Card Purchase 10/28 Firstpremler8009875S2 800-987-5521 SD Card 0135 50.00
10/81 Card Purchase 10/28 Goodman Distribution Fort Worth TX Card 0135 5.78
10/31 Card Purchase 10/28 Baker Distributing #670 Fort Worth TX Card 0135 178.12
10/31___ Card Purchase With Pin 10/31 Tractor Supply C 1701 Roanoke TX Card 0542 74.12
Total ATM & Debit Card Withdrawals $48,459.53
ATM & DEBIT CARD SUMMARY
Dwayne P Bridges Card 0185

Total ATM Withdrawals & Debits $603.50

Total Card Purchases $44,536.95

Total Gard Deposits & Credits $2,903.75
Travis L Humphrey Card 0542

Total ATM Withdrawals & Debits $0.00

Total Card Purchases $3,249.69

Total Card Deposits & Credits $755.83
Dana M Bridges Card 1720

Total ATM Withdrawals & Debits $0.00

Total Card Purchases $69.39

Total Card Deposits & Credits $0.00
ATM & Debit Card Totals

Total ATM Withdrawals & Debits $603.50

Total Card Purchases $47,856.03

Total Gard Deposits & Credits $3,659.58

[ELECTRONIC WITHDRAWALS|

DATE DESCRIPTION AMOUNT
10/03 _ Ges 800-398-7191 Deposittrn 000000029944241 CCD ID: 5200781415 $1,239.95
10/03 _CapitalOne _ Phone Pymt 627339879042332 CCD ID: 9541719987 250.00
10/03 ADP Payroll Fees ADP -Fees 2R89U 8047323 CCD ID: 9659605001 140.19
10/04 10/04 Online Transfer To Chk ...1363 Transaction#: 5706852585 100.00
10/04 Republic Underwr Ins Prem PPD ID: 1751221537 3,040.44
10/04 _Nationstar Nationstar PPD ID: 9200503036 1,597.39
10/04 _ Humana Insurance 8004581354 PPD ID: 2610647538 985.05
10/05 __ 10/05 Online Transfer To Chk ...0598 Transaction#: 5709762203 1,000.00
10/07 _ ADP Tax/401K_ _Tax/401K An39U 100741A01 CCD ID: 1223006057 2,101.06
10/07, ADP Eepay/Garnwe Eepay/Garn 93730097444039U CCD ID: 9333006057 412.59
10/07 _ ADP Eepay/Garnwe Eepay/Garn 65606125793239U CCD ID: 9555555505 139.50
10/11 10/07 Online Transfer To Chk _..0598 Transaction#: 5717065379 2,000.00
10/141 10/10 Payment To Chase Card Ending IN 4179 108.00
10/11 10/10 Online Transter To Chk ..0598 Transaction#: 5721168517 4,000.00
10/11 _ 10/10 Payment To Chase Card Ending IN 6611 25.00
10/11___ 10/11 Payment To Chase Card Ending IN 4179 200.00
10/11 Ges 800-398-7191 Deposittrn 000000030036895 CCD ID: 5200781415 1,239.95
10/11 _ Direct Capital ED! Pymnts 001-0057687-000 CCD ID: 1020468001 163.55
10/11__ ADP Payroll Fees ADP - Fees 2R39U 9297527 CCD ID: 9659605001 140,19
10/42 10/11 Online Transfer To Chk ...0598 Transaction#: 5723685478 1,000.00
10/12 _ Model Finance CO Loan Pmt PPD ID: 1952292743 411.25

 

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CHASE &

Account Number: 28

 

|ELECTRONIC WITHDRAWAL S| continues)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE DESCRIPTION AMOUNT
10/12 Cabelas Visa Payments Web |D: 2470839081 379.00
10/12 Barclaycard US Creditcard 405850211 Web ID: 2510407970 200,00
10/12 Datcu ACH Trnsfr PPD ID: 0750813379 173.72
10/13 Merrick Bank Cor Phone Pmt PPD ID: 00002 47.00
10/14 ADP Tax/40iK  Tax/401K Rn39U 101442401 CCD ID: 1223006057 2,917.81
10/14 ADP Eepay/Garmwe Eepay/Garn 84406079877239U CCD ID: 9333006057 491.28
10/14 ADP Eepay/Garnwe Eepay/Garn 62204060668739U CCD ID: 9555555505 152.52
10/17 10/16 Online Transfer To Chk ...0598 Transaction#: 5734150478 250.00
10/17 _ 10/17 Online Transter To Chk ...1863 Transaction#: 5735583382 100.00
10/17__ 10/17 Online Transfer To Chk ...0598 Transaction#: 5737018212 1,000.00
10/17 __ Geos 800-398-7191 Deposittrn 0000000300897 14 CCD ID: 5200781415 1,239.95
10/17___ Carrier Enterpri 0251428000 153878388 CCD ID: 2611608955 1,135, 50
10/17 ADP Payroll Fees ADP - Fees 2R39U 2636072 CCD ID: 9659805001 127.08
10/18 Irs Usataxpymt PPD ID: 3887702000 350.00
10/18 _ Direct Capital EDI Pymnts 001-0057687-001 CCD ID: 1020468001 335,00
10/18 _ Discover E-Payment 1748 Web ID: 2510020270 100.00
10/19 _ Legacy Visa Pymi Payment 423980110876094 Tel ID: 1470535472 62.00
10/20 Comenity Pay Sm Web Pymt P16292043492624 Web ID: 1133163498 256.00
10/21 ADP Tax/401K_ —Tax/401K An39U 102143A01 CCD ID: 1223006057 2,994, 98
10/21 AFS Acceptance L Auto Loan PPD ID: 1748201007 528.81
10/21 _ ADP Eepay/Garnwe Eenay/Garn 51506366133989U CCD ID: 9333006057 491.28
10/21 _ Bankcard Service Agent Pmt 000000758348054 Tel ID; 5650230001 255.23
10/21 _ ADP Eepay/Garnwe Eepay/Garn 377541 7S730839U CCD ID: 9555555505 137.63
10/21 First Savings Payment 543360119055303 Tel ID: 1470535472 62.00
10/24 10/22 Online Transfer To Chk ... 1863 Transaction#: 5746792541 100,00
10/24 10/23 Online Transfer To Chk ...0598 Transaction#: 5748544428 1,000_00
10/24 10/24 Online Transfer To Chk ...0598 Transaction#: 5749551210 1,000.00
10/24 Ges 800-398-7191 Deposittrn 000000080189577 CCD ID: 5200781415 1,239,95
10/24 Utica National Ins Prem PPD ID: 1150476880 1,029.00
10/24 _ ADP Payroll Fees ADP - Fees 2R39U 3079934 CCD ID: 9659605001 132.32
10/25 10/25 Online Transfer To Chk ...1363 Transaction#: 5752209913 100.00
10/25 Ally Ally Paymt 00592446244601| Web ID: 9883122002 672.12
10/25 __Protectionone Payment PPD ID: 3931064579 297.80
10/26 _ 10/25 Online Transfer To Chk ...0598 Transaction#: 5753717337 2,000.00
10/26 = 10/26 Online Wire Transfer Via: Community Longview/111914917 A'C; Tim Moore Longview 1,200.00
TX 75604 US Ref: Dacember Payment Imac: 1026B1Qgc07C003385 Tm: 3575700300Es
10/26 Wex Inc Fleet Debi 0453009114883 CCD ID: 0841425616 4,699.85
10/26 _ Nationwide P&C EDI Pymnts PPD ID: 1314177102 973.73
10/27 _ 10/27 Online Transfer To Chk ...0598 Transaction#: 5757226744 2,500.00
10/27 Fsb Blaze Payment _518213000559014 Tel 1D: 3420747941 30,00
10/28 ADP Tax/401K = Tax/401K Rn39U 102844401 CCD ID: 1223006057 2,730.98
10/28 _ ADP Eepay/Garnwc Eepay/Garn 65306021 289639U CCD ID: 9883006057 2,200,438
10/28 _Nationstar Nationstar 0607335940 ~=Tel ID: 9200503036 1,597.39
10/28 Suntrust Ln 656 Ic Payment PPD ID: 1592606930 1,204.95
10/28 _ ADP Eepay/Garnwe Eepay/Garn 65306021289739U CCD ID: 9333008057 491.28
10/28 _ ADP Eepay/Garnwe Eepay/Garn 56102744796539U CCD ID: 9555555505 126,88
10/31 _ Ges 800-398-7191 Deposittrn 000000030263284 CCD ID: 5200781415 1,239.95
10/31 Cabelas Visa Payments Web ID: 2470839081 500,00
10/31__ Barclaycard US Creditcard 409483653 Web ID: 2510407970 500.00
10/31___ ADP Payroll Fees ADP - Fees 2R39U 3964861 CCD ID: 9659605001 134.94
Toial Electronic Withdrawals $58,808.92
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KAPITUS EX. 12 - 057
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TEXAS SECRETARY of STATE
RUTH R. HUGHS

BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY

 

 

 

 

Filing Number: 801927468 Entity Type: Domestic For-Profit Corporation

Original Date of Filing: February 5, 2014 Entity Status: Forfeited existence

Formation Date: N/A

Tax ID: 32053118009 FEIN:

Duration: Perpetual

Name: License to Chill Heating and Air Inc.

Address: 920 LYNCH BEND RD

Springtown, TX 76082-2916 USA

—— ASSOCIATED
REGISTERED AGENT FILING HISTORY NAMES MANAGEMENT ASSUMED NAMES ENTITIES 4
Name Address Inactive Date

||| Dwayne Paul Bridges 1150 Blue Mound Rd. West, Suite #103

Haslet, TX 76052 USA

 

 

Instructions:

@ To place an order for additional information about a filing press the 'Order’ button.

KAPITUS EX. 12 - 058

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EXA RET. f STA
RUTH R. HUGHS
BUSINESS ORGANIZATIONS INQUIRY - VIEW ENTITY
Filing Number: 801927468 Entity Type: Domestic For-Profit Corporation
Original Date of Filing: February 5, 2014 Entity Status: Forfeited existence
Formation Date: N/A
Tax ID: 32053118009 FEIN;
Duration: Perpetual
Name: License to Chill Heating and Air Inc.
Address: 920 LYNCH BEND RD
Springtown, TX 76082-2916 USA
| ASSOCIATED |
_REGISTEREDAGENT _ FILING HISTORY NAMES_ MANAGEMENT ASSUMED NAMES_ ENTITIES
| View Document Eff. Page
Image Number Filing Type Filing Date Effective Date Cond Count
: 527968820002 Certificate of Formation February 5, 2014 February 5, 2014 No 2
| 649430590001 Public Information Report (PIR) December 31, 2015 January 7, 2016 No 1
730393110001 Public Information Report (PIR) December 31, 2016 April 22, 2017 No 1
780491270001 Public Information Report (PIR) December 31, 2017 December 11, 2017 No 2
| 904813748245 Tax Forfeiture August 2, 2019 August 2, 2019 No 1 |

 

 

 

| Order | | Return to Search |

 

2 To place an order for additional information about a filing press the ‘Order' button,

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tous iling Number;,801 2/468

To be filed by Corporations, Limited Liability Companies (LLC), Limited Partnerships (LP),
Professional Associations (PA) and Financial Institutions

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SPRY een (Rey.9-15/33}

@ Tcode 13196 Franchise

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

® Taxpayer number @ Report year You have certain rights under Chapter $52 and 559,
3/21/0/51/3/11/41/8|o0/o0|9 210/117 Se hone onieabean pom Candnct i ot 800-252 138
Toye = | icense to Chill Heating and Air Inc dba Just Chil w_ © Blacken circle if the matling address has changed.
Malingddless 4450 BLUE MOUND RD W STE 204 tunis
as Hastet teak TX ap code PIS 76052 0801927468

 

 

 

 

 

O Blacken clrcle if there are currently no changes from previous year; If no Information Is displayed, complete the applicable information In Sections A, B and C

Principal office
4150 BLUE MOUND RD W STE 2071, Haslet, TX, 76052

Principal place of business
4150 BLUE MOUND RD W STE 201, Haslet, TX, 7/6052

You must report officer, director, member, general partner and manager information as of the date you complete this report.

Please sign below! ris report must be signed to satisfy franchise tax requirements.

SECTION A Name, title and mailing address of each officer, director, member, general partner or manager.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Title Director mm d@edy_y
wayne Bridges expiration
Mailing address . City State ZIP Code
628 Destin Drive Fort Worth TX 76134
Name Title Director mm dd y_y
Term
O VES expiration
Mailing address City State ZIP Code
Name Title Director mim dad d y y
Cys. Pee | | |
expiration
Mailing address City State ZIP Code

 

 

 

 

SECTIONB Enter information for each corporation, LLC, LP, PA or financial institution, If any, In which this entity owns an Interest of 10 percent of more.
Name of owned (subsidiary) corporation, LLC, LP, PA or financial institution State of formation Texas SOS file number, if any Percentage of ownership

 

 

Name of owned (subsidiary) corporation, LLC, LP, PA or financial institution State of formation Texas SOS file number, if any Percentage of ownership

 

SECTION C Enter Information for each corporation , LLC, LP, PA or financial Institution, If any, that owns an interest of 10 percent or more in this entity.

 

 

 

 

 

 

 

Name of owned (parent) carporation, LLC, LP, PA or financial institution State of formation Texas SOS file number, ifany | Percentage of ownership
Registered agent and registered office cutrentiy on file (see Instructions if you need to make changes) You must make a filing with the Secretary of State ro change registered
Agent: Dwayne Paul Bridges agent, registered offce or general partner Information.

City State ZIP C
office, 1750 Blue Mound Rd W Ste 201 haslet T™X 6052

 

 

 

 

The information on this farm is required by Section 171.203 of the Tax Code for each corporation, LLC, LP; PA or financial institution that files a Texas Franchise Tax Report, Use additional
sheers for Sections A, Band C, Ifnecessary, The information will be available for public inspection,

\ declare that the information in this document and any attachments Is true and correct to the best of my knowledge and belief, as of the date below, and that @ copy of this report has
been mailed to each person named In this report who [san officer, director, member, general partner or manager and who Is not currently employed by this or a related corporation,

LLC, LP, PA or financial Institution.
sign Tile Date Area code and phone number

here Dwayne Bridges President 09/45/2017 { 817) 439-3599

Texas Comptroller Official Use Only

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TRANSMITTER 1B = CCHFFWSPROD
TLN = 000382471440

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KAPITUS EX. 12 - 061
